                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


In re:                                                           Chapter 11

REMINGTON OUTDOOR COMPANY, INC.,                                 Case No. 20-81688-CRJ11
et al.,1
                                                                 Jointly Administered
                               Debtors.


       DEBTORS’ LIMITED RESPONSE TO MOTION OF THE SANDY HOOK
         FAMILIES, PURSUANT TO 11 U.S.C. §§ 105(a) AND 1102(a)(4), TO
    RECONSTITUTE THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

         Remington Outdoor Company, Inc. and its affiliated debtors, as debtors and debtors in

possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases, hereby file

their limited response (this “Response”) to the Motion of the Sandy Hook Families, Pursuant to

11 U.S.C. §§ 105(a) and 1102(a)(4), to Reconstitute the Official Committee of Unsecured

Creditors (the “Motion to Reconstitute”) [Docket No. 311] filed by Donna L. Soto, Ian and

Nicole Hockley, David C. Wheeler, Mary A. D’Avino, Mark and Jacqueline Barden, William D.

Sherlach, Neil and Scarlett Lewis, Leonard Pozer, and Gilles J. Rousseau (collectively, the

“Sandy Hook Plaintiffs”).            In support of this Response, the Debtors respectfully state as

follows:

         1.       In the Motion to Reconstitute, the Sandy Hook Plaintiffs request that the Court

direct the United States Bankruptcy Administrator for the Northern District of Alabama (the


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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI,
Inc. (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC
(4655); Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and
Outdoor Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW,
Huntsville, AL 35824.


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“Bankruptcy Administrator”) to reconstitute the Official Committee of Unsecured Creditors of

the Debtors (the “Committee”) to include tort and/or wrongful death claimants like the Sandy

Hook Plaintiffs, or, in the alternative, to appoint an official committee of tort claimants.

         2.    The Debtors do not believe that appointment of an official committee of tort

claimants is necessary or appropriate in these chapter 11 cases.          Among other things, the

Committee, which has fiduciary duties to all of the Debtors’ unsecured creditors, is fully able to

address the interests of the Debtors’ unsecured creditors as a whole. Additionally, the budget for

the Debtors’ use of cash collateral, which was heavily negotiated between the Debtors and their

pre-petition senior secured lenders, is not sufficient to support another committee.

         3.    However, the Debtors take no position on the composition of the Committee

and/or whether the Sandy Hook Plaintiffs or any other tort or wrongful death claimants should be

included on the Committee. That issue is best addressed by the Court based upon input from the

Bankruptcy Administrator and the Committee.

         4.    The Debtors do dispute, however, the Sandy Hook Plaintiffs’ characterization in

the Motion to Reconstitute of their claims, the Debtors’ liability with respect to such claims, and

the Debtors’ intentions with respect to the Debtors’ list of creditors with the forty (40) largest

unsecured claims (the “Top 40 Largest Unsecured Claims”). The Debtors note that the Court

has already addressed the Sandy Hook Plaintiffs’ objection on the merits of the Top 40 Largest

Unsecured Claims, which objection was overruled. See Docket Nos. 192, 214.

         5.    Finally, this is not the time nor the process for addressing the merits of the Sandy

Hook Plaintiffs’ claims. The Debtors will leave that to the claims resolution process. However,

for the Court’s reference, attached are certain filings which more fully set forth the positions

regarding the Sandy Hook Plaintiffs’ claims (and the appellate record), including the following:



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                a.      The Connecticut Supreme Court’s decision on the Sandy Hook Plaintiffs’

         appeal of the dismissal of their first amended complaint, attached hereto as Exhibit 1;

                b.      Revised Second Amended Complaint, attached hereto as Exhibit 2;

                c.      Defendants’ Motion to Strike Revised Second Amended Complaint,

         attached hereto as Exhibit 3; and

                d.      Defendants’ Memorandum of Law in Support of Motion to Strike Revised

         Second Amended Complaint, attached hereto as Exhibit 4.

         6.     The Debtors reserve all of their rights and defenses with respect to the claims

asserted by the Sandy Hook Plaintiffs, both in these chapter 11 cases and otherwise.

Dated: August 14, 2020

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                                                                     [3] claim for wrongful death based on unfair trade practice
                                                                     arising out of sale of assault rifle was governed by three-year
      KeyCite Yellow Flag - Negative Treatment                       limitations period governing claims under CUTPA;
Distinguished by Phillips-Moldex Company v. Beaulieu Company, LLC,
Conn.Super., December 6, 2019
                                                                     [4] claim for wrongful death based on unfair trade practice
                     331 Conn. 53
                                                                     arising out of sale of rifle under CUTPA began to run on date
              Supreme Court of Connecticut.
                                                                     that rifle was sold to shooter's mother;
             Donna L. SOTO, Administratrix
             (Estate of Victoria L. Soto), et al.                    [5] claim for wrongful death based on unfair trade practice
                                                                     arising out of defendants marketing of assault rifle to civil
                        v.
                                                                     market was not time-barred under CUTPA;
               BUSHMASTER FIREARMS
              INTERNATIONAL, LLC, et al.
                                                                     [6] exclusivity of remedy for product defect under Product
                                                                     Liability Act did not apply to bar claim under CUTPA for
                    (SC 19832), (SC 19833)
                                                                     unfair trade practice based on alleged unlawful marketing of
                                |
                                                                     assault rifle;
                 Argued November 14, 2017
                                |
                                                                     [7] personal injuries sustained by students and faculty
              Officially released March 19, 2019
                                                                     that ultimately led to their deaths were “actual damages”
Synopsis                                                             cognizable under CUTPA;
Background: Administrators of estates of elementary
school students and faculty filed suit against manufacturers,        [8] CUTPA was “statute applicable to sale or marketing
distributors, and sellers of assault rifle used by shooter           of firearm,” within meaning of predicate exception to
to commit mass school shooting, seeking damages and                  defendants' immunity from civil liability under PLCAA;
injunctive relief based on claims for negligent entrustment
and wrongful death based on unfair trade practices in sale and       [9] alleged unfair trade practice based on unlawful marketing
marketing of assault rifle, in violation of Connecticut Unfair       of assault rifle came within predicate exception to immunity
Trade Practices Act (CUTPA). Defendants filed motion to              from civil liability for crimes committed by third person using
strike complaint. The Superior Court, Judicial District of           assault rifle, under PLCAA;
Fairfield, 2016 WL 8115354, granted motion in its entirety,
and administrators appealed.                                         [10] CUPTA claim did not implicate commercial speech
                                                                     protected under First Amendment; and

                                                                     [11] application of PLCAA's predicate exception to
Holdings: The Supreme Court, Palmer, J., held that:
                                                                     defendants' immunity from civil liability was not to be
                                                                     narrowly construed.
[1] administrators did not state claim for negligent
entrustment that would come within predicate exception
to defendants' immunity from civil liability for crimes              Affirmed in part; reversed in part; remanded.
committed by third person with firearm, under Protection of
Lawful Commerce in Arms Act (PLCAA);                                 Robinson, J., filed opinion dissenting in part, in which
                                                                     Vertefeuille and Elgo, JJ., joined.
[2] administrators did not lack standing to assert claim for
injuries and wrongful death as result of unfair trade practice,
under CUTPA, as would bring claim within predicate
exception to defendants' immunity from liability under                West Headnotes (53)
PLCAA;
                                                                      [1]    Products Liability        Defenses in general




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         Products Liability       Weapons and                         appellate review of the trial court's ruling on the
         Ammunition                                                   motion is plenary.
         With limited exceptions, the Protection of
         Lawful Commerce in Arms Act (PLCAA)
         immunizes firearms manufacturers, distributors,       [7]    Negligence        Negligent Entrustment
         and dealers from civil liability for crimes                  The cause of action for negligent entrustment
         committed by third parties using their weapons.              represents a departure from the general rule
         15 U.S.C.A. §§ 7902(a), 7903(5).                             that an individual cannot be held liable for the
                                                                      conduct of others.
         1 Cases that cite this headnote
                                                                      1 Cases that cite this headnote
 [2]     Pleading       Insufficient allegations or denials
         A motion to strike attacks the legal sufficiency of   [8]    Automobiles      Permitting operation by
         the allegations in a pleading.                               incompetent person
                                                                      Negligence        Knowledge of danger
         1 Cases that cite this headnote
                                                                      Weapons         Negligent entrustment
                                                                      The primary question that the court must resolve
 [3]     Pleading       Insufficient allegations or denials
                                                                      on a claim for negligent entrustment is whether
         Pleading       Application and proceedings                   the principle that a person in possession of
         thereon                                                      a dangerous instrument, such as a firearm or
         In reviewing the sufficiency of the allegations in           automobile, should bear the responsibility of
         a complaint on a motion to strike, courts are to             exercising care when entrusting that instrument
         assume the truth of the facts pleaded therein, and           to another, given the serious risk to society,
         to determine whether those facts establish a valid           applies only when the entrustor believes or has
         cause of action.                                             specific reason to believe that the direct entrustee
                                                                      is likely to use the item unsafely or, rather,
         1 Cases that cite this headnote                              whether it also applies when it is reasonably
                                                                      foreseeable that the entrustment ultimately will
 [4]     Pleading       Insufficient allegations or denials           lead to injurious use, whether by the direct
                                                                      entrustee or by some unknown third party; if the
         If facts provable in the complaint would support
                                                                      former, then the trial court should find for the
         a cause of action, a motion to strike must be
                                                                      entrustor as a matter of law, but if the latter, then
         denied.
                                                                      the plaintiff's claim presents an issue of fact to be
         1 Cases that cite this headnote                              decided by a jury.


 [5]     Pleading       Application and proceedings
                                                               [9]    Negligence        Elements in general
         thereon
                                                                      In order to prove negligent entrustment,
         On a motion to strike, the court assumes the truth
                                                                      a plaintiff must demonstrate that (1) the
         of both the specific factual allegations and any
                                                                      defendant has entrusted a potentially dangerous
         facts fairly provable thereunder.
                                                                      instrumentality to a third person (2) whom the
                                                                      entrustor knows or should know intends or is
                                                                      likely to use the instrumentality in a manner
 [6]     Appeal and Error         Striking out
                                                                      that involves unreasonable risk of physical harm,
         Because a motion to strike challenges the legal              and (3) such use does in fact cause harm to
         sufficiency of a pleading, and, consequently,                the entrustee or others. Restatement (Second), of
         requires no factual findings by the trial court,             Torts § 308.




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                                                                      applicable to sale or marketing of firearm,
        3 Cases that cite this headnote                               where cause of action under CUTPA for injuries
                                                                      sustained as result of unfair trade practice did
 [10]   Products Liability       Joint tortfeasors in                 not require proof of direct business or consumer
        general                                                       relationship with defendants, CUTPA conferred
                                                                      cause of action on “[a]ny person who suffer[ed]
        Products Liability       Weapons and
                                                                      any ascertainable loss or money or property ... as
        Ammunition
                                                                      a result of [prohibited practice],” administrators
        Weapons        Negligent entrustment
                                                                      alleged that defendants promoted use of assault
        Administrators of estates of elementary school                rifle by civilians for offensive, military style
        students and faculty who were victims of mass                 attack missions, and if administrators could
        school shooting did not allege tort of negligent              prove that such was case, and that defendants'
        entrustment against manufacturer, distributors,               marketing and advertising of assault rifle did in
        and retailer of assault rifle that shooter used               fact inspire or intensify massacre, then shooting
        to commit crimes, such that claim would                       victims were direct victims of unfair trade
        come within statutory exception to defendants'                practice. 15 U.S.C.A. § 7903(5) (A) (iii); Conn.
        immunity from civil liability, under Protection               Gen. Stat. Ann. § 42-110g(a).
        of Lawful Commerce in Arms Act (PLCAA),
        for crimes committed by third person using their              1 Cases that cite this headnote
        firearm, where negligent entrustment required
        proof that entrustor defendants knew or had          [12]     Death       Right of action of person injured
        reason to know that direct entrustee would likely
                                                                      In Connecticut, a wrongful death action will
        use dangerous instrumentality in unsafe manner,
                                                                      lie only when the deceased person could have
        and there was no allegation that defendants knew
                                                                      brought a valid claim for the injuries that resulted
        or had reason to know that direct entrustee
                                                                      in death if he or she had survived.
        to whom assault rifle was sold, specifically,
        shooter's mother, was likely to use it in
        unsafe manner. 15 U.S.C.A. § 7903(5) (A) (ii);
        Restatement (Second), of Torts § 308.                [13]     Antitrust and Trade
                                                                      Regulation     Advertising, marketing, and
        2 Cases that cite this headnote                               promotion
                                                                      Because the principal evils associated with
 [11]   Antitrust and Trade Regulation          Private               unscrupulous and illegal advertising are not
        entities or individuals                                       ones that necessarily arise from or infect
                                                                      the relationship between an advertiser and its
        Administrators of estates of elementary school
                                                                      customers, competitors, or business associates, a
        children and faculty did not lack standing to
                                                                      party directly injured by conduct resulting from
        assert claim for injuries and wrongful death as
                                                                      such advertising can bring an action pursuant
        result of unfair trade practice, under Connecticut
                                                                      to the Connecticut Unfair Trade Practices Act
        Unfair Trade Practices Act (CUTPA), against
                                                                      (CUTPA) even in the absence of a business
        manufacturers, distributors, and seller of assault
                                                                      relationship with the defendant. Conn. Gen. Stat.
        rifle ultimately used by shooter to commit mass
                                                                      Ann. § 42-110g(a).
        school shooting, due to administrators' lack of
        direct business or consumer relationship with
        defendants, as would bar CUTPA claim from
        coming within scope of statutory exception           [14]     Statutes  Plain Language; Plain, Ordinary,
        to immunity from civil liability for crimes                   or Common Meaning
        committed by third persons using firearm, under               When interpreting a statute, the plain meaning of
        Protection of Lawful Commerce in Arms Act                     the statutory text must be the lodestar.
        (PLCAA), for claims alleging violation of statute



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 [15]   Action       Statutory rights of action                 [19]   Antitrust and Trade
        Antitrust and Trade Regulation            Private              Regulation     Advertising, marketing, and
        entities or individuals                                        promotion
        The Connecticut Unfair Trade Practices Act                     The gravamen of a wrongful advertising claim
        (CUTPA) creates a private right of action                      under the Connecticut Unfair Trade Practices
        for persons injured by unfair trade practices;                 Act (CUTPA) is that an advertisement models
        it authorizes anyone who has suffered an                       or encourages illegal or unsafe behavior, and
        ascertainable financial loss as a result of an unfair          in such instances, the immediate victims are
        trade practice to bring an action. Conn. Gen. Stat.            just as likely to be third parties who are
        Ann. § 42-110ga et seq.                                        not customers, whether it be individuals who
                                                                       engage in inappropriate conduct inspired by
        4 Cases that cite this headnote                                the advertisements or the direct victims of that
                                                                       conduct. Conn. Gen. Stat. Ann. § 42-110a et seq.
 [16]   Action       Statutory rights of action
        Antitrust and Trade Regulation            Private
                                                                [20]   Death       Special limitations
        entities or individuals
                                                                       In the ordinary case, when an action for wrongful
        The right of action to recover for injuries
                                                                       death is predicated on an underlying theory of
        sustained as a result of an unfair trade practice
                                                                       liability, the wrongful death statute supplies the
        under the Connecticut Unfair Trade Practices
                                                                       controlling statute of limitations, regardless of
        Act (CUTPA) is not enjoyed only by persons
                                                                       the underlying theory of liability. Conn. Gen.
        who have done business of some sort with a
                                                                       Stat. Ann. § 52-555(a).
        defendant. Conn. Gen. Stat. Ann. § 42-110g(a).

        3 Cases that cite this headnote
                                                                [21]   Limitation of Actions      Construction of
                                                                       Limitation Laws in General
 [17]   Antitrust and Trade Regulation            Private
        entities or individuals                                        Limitation of Actions       Operation as to
                                                                       rights or remedies in general
        Standing to bring a claim under the Connecticut
        Unfair Trade Practices Act (CUTPA) will lie                    When a statute creates a cause of action that
        only when the purportedly unfair trade practice is             did not exist at common law, the liability and
        alleged to have directly and proximately caused                the remedy are created by the same statutes,
        the plaintiff's injuries. Conn. Gen. Stat. Ann. §              and the limitations of the remedy are, therefore,
        42-110g(a).                                                    to be treated as limitations of the right; it
                                                                       follows then that the statutory provision or
                                                                       provisions prescribing the limitation must be
                                                                       strictly observed if liability is to attach to the
 [18]   Action       Persons entitled to sue
                                                                       claimed offender, and a plaintiff's failure to show
        Standing to sue is a practical concept designed to
                                                                       such observance results in a failure to show the
        ensure that courts and parties are not vexed by
                                                                       existence of a good cause of action.
        suits brought to vindicate nonjusticiable interests
        and that judicial decisions that may affect the                1 Cases that cite this headnote
        rights of others are forged in hot controversy,
        with each view fairly and vigorously represented.
                                                                [22]   Death       Application of general statutes of
                                                                       limitations
                                                                       Claim by administrators of estates of elementary
                                                                       school students and faculty against manufacturer,
                                                                       distributor, and seller of assault rifle used



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        in school mass shooting for wrongful death                    Connecticut's wrongful death statute does not
        predicated on theory that sale to civilian market             create a new cause of action, independent of
        of military-style assault rifle for offensive use             any claims that the decedent might have had
        was inherently unreasonable and dangerous, and                during his or her life; rather, the wrongful death
        thus constituted unfair trade practice, in violation          statute merely allows the administrator of an
        of Connecticut Unfair Trade Practices Act                     estate to append to an already valid claim an
        (CUTPA), was governed by CUTPA three-year                     additional element of damages consisting of
        limitations period, for purposes of determination             costs associated with the decedent's death. Conn.
        whether alleged CUTPA violation came within                   Gen. Stat. Ann. § 52-555.
        statutory exception to immunity from civil
        liability accorded to defendants for crimes                   1 Cases that cite this headnote
        committed by third person using their firearms,
        under Protection of Lawful Commerce in Arms            [25]   Antitrust and Trade Regulation           Nature
        Act (PLCAA), for claims alleging violation of                 and Elements
        statute applicable to sale or marketing of firearm.
                                                                      Death       Grounds of Action
        15 U.S.C.A. § 7903(5) (A) (iii); Conn. Gen. Stat.
                                                                      A cause of action for wrongful death predicated
        Ann. §§ 42-110g(f), 52-555.
                                                                      on a violation of the Connecticut Unfair Trade
        1 Cases that cite this headnote                               Practices Act (CUTPA) will lie only insofar as
                                                                      the decedent, had he or she survived, could
                                                                      have satisfied all of the essential elements of the
 [23]   Death       Computation of period of limitation
                                                                      CUTPA claim. Conn. Gen. Stat. Ann. §§ 42-110a
        Limitation of Actions        Consumer                         et seq., 52-555.
        protection; unfair trade practices
        Three-year limitations period under Connecticut               1 Cases that cite this headnote
        Unfair Trade Practices Act (CUTPA) governing
        claim for wrongful death brought by                    [26]   Death       Computation of period of limitation
        administrators of estates of elementary school
                                                                      Limitation of Actions        Consumer
        students and faculty against manufacturer,
                                                                      protection; unfair trade practices
        distributor, and retailer of assault rifle used by
                                                                      Allegations by administrators of estates of
        shooter to commit mass shooting at school,
                                                                      elementary school students and faculty that
        predicated on theory that sale to civilian
                                                                      manufacturer, distributor, and retailer of assault
        market of military-style assault weapon was
                                                                      rifle used in mass school shooting advertised and
        inherently unreasonable and dangerous, and thus
                                                                      marketed rifle in unethical, oppressive, immoral,
        constituted unfair trade practice, began to run
                                                                      and unscrupulous manner by extolling rifle's
        from date that rifle was sold to shooter's mother,
                                                                      militaristic and assaultive qualities, specifically,
        for purposes of determining whether alleged
                                                                      its suitability for offensive combat and intent that
        CUTPA violation served as statutory exception
                                                                      rifle be used to kill, and that shooter specifically
        to immunity from civil liability accorded to
                                                                      used rifle to commit school mass shooting,
        defendants for crimes committed by third person
                                                                      as opposed to other weapons in his home,
        using their firearm, under Protection of Lawful
                                                                      because of rifle's “marketed association with
        Commerce in Arms Act (PLCAA), for claims
                                                                      the military,” could be understood to allege that
        alleging violation of statute applicable to sale or
                                                                      defendants’ marketing and advertising activities
        marketing of firearm. 15 U.S.C.A. § 7903(5) (A)
                                                                      remained in place on date that shooter used rifle
        (iii); Conn. Gen. Stat. Ann. § 42-110g(f).
                                                                      to commit mass school shooting, for purposes of
                                                                      three-year limitations period under Connecticut
                                                                      Unfair Trade Practices Act (CUTPA) governing
 [24]   Death       Creation of new cause of action
                                                                      claim for wrongful death predicated on unfair
        Death       Elements of Compensation                          trade practice, as required for CUTPA violation



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        to serve as statutory exception to immunity
        from liability accorded to defendants for crimes      [28]    Products Liability       Nature and form of
        committed by third person with their firearm,                 remedy
        under Protection of Lawful Commerce in Arms                   Although a product liability claim includes all
        Act (PLCAA), for claims alleging violation of                 claims or actions brought for personal injury,
        statute applicable to sale or marketing of firearm.           death or property damage caused by, among
        15 U.S.C.A. § 7903(5) (A) (iii); Conn. Gen. Stat.             other things, the marketing of any product, the
        Ann. § 42-110g(f).                                            exclusivity provision of the Product Liability Act
                                                                      applies only to those claims seeking to recover
        1 Cases that cite this headnote                               damages caused by a defective product. Conn.
                                                                      Gen. Stat. Ann. § 52-572n(a).
 [27]   Antitrust and Trade Regulation           Persons
                                                                      2 Cases that cite this headnote
        liable
        Products Liability       Weapons and
        Ammunition                                            [29]    Antitrust and Trade
                                                                      Regulation     Particular cases
        Products Liability       Nature and form of
        remedy                                                        Personal injuries sustained by elementary school
                                                                      students and faculty in mass shooting that
        Exclusivity of remedy for product defect under
                                                                      ultimately resulted in their deaths were “actual
        Product Liability Act did not apply to bar
                                                                      damages” cognizable under Connecticut Unfair
        claim for wrongful death by administrators of
                                                                      Trade Practices Act (CUTPA), based on claim by
        estates of elementary school students and faculty
                                                                      administrators of estates of students and faculty
        against manufacturer, distributor, and retailer
                                                                      for alleged unfair trade practice, predicated on
        of assault rifle used in mass school shooting,
                                                                      alleged advertising and marketing of assault rifle
        predicated on theory that defendants committed
                                                                      by manufacturer, distributor, and retailer of rifle
        unfair trade practice, in violation of Connecticut
                                                                      to civilian market in manner that was unethical,
        Unfair Trade Practices Act (CUTPA), by
                                                                      oppressive, immoral, and unscrupulous, thus
        advertising and marketing rifle to civilian
                                                                      rendering rifle inherently and unreasonably
        market in unethical, oppressive, immoral,
                                                                      dangerous, for purposes of determining whether
        and unscrupulous manner, for purposes of
                                                                      CUTPA claim served as statutory exception
        determining whether alleged CUTPA violation
                                                                      to immunity from civil liability accorded to
        served as statutory exception to immunity from
                                                                      defendants for crimes committed by third person
        liability accorded to defendants for crimes
                                                                      using their firearm, under Protection of Lawful
        committed by third person using their firearm,
                                                                      Commerce in Arms Act (PLCAA), for claims
        under Protection of Lawful Commerce in Arms
                                                                      alleging violation of statute applicable to sale or
        Act (PLCAA), for claims alleging violation
                                                                      marketing of firearm. 15 U.S.C.A. § 7903(5) (A)
        of statute applicable to sale or marketing
                                                                      (iii); Conn. Gen. Stat. Ann. § 42-110g(a).
        of firearm; defendants offered no explanation
        as to why allegation that they wrongfully                     2 Cases that cite this headnote
        marketed rifle by promoting its use for illegal
        purposes, i.e., offensive, military style assault
        mission constituted product defect or that rifle      [30]    Antitrust and Trade Regulation           Private
        contained inadequate warnings that made it                    entities or individuals
        unreasonably dangerous. 15 U.S.C.A. § 7903(5)                 The Connecticut Unfair Trade Practices Act
        (A) (iii); Conn. Gen. Stat. Ann. §§ 42-110g(a),               (CUTPA) permits the recovery of damages for
        52-572n(a).                                                   personal injuries sustained as a direct result of
                                                                      wrongful advertising practices. Conn. Gen. Stat.
        2 Cases that cite this headnote                               Ann. § 42-110g(a).




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                                                                      the advertisements. Conn. Gen. Stat. Ann. §
 [31]   Death       Nature and form of remedy                         42-110g(a).
        Death and its direct consequences can constitute
        recoverable elements of damages only if, and to
        the extent that, they are made so by statute.        [36]     Antitrust and Trade
                                                                      Regulation     Advertising, marketing, and
                                                                      promotion
 [32]   Death       Nature and form of remedy                         Wrongful advertising that poses a genuine risk
        The wrongful death statute is the sole basis on               of physical harm falls under the broad purview
        which an action that includes as an element of                of the Federal Trade Commission (FTC) Act
        damages a person's death or its consequences can              and, by incorporation, the Connecticut Unfair
        be brought. Conn. Gen. Stat. Ann. § 52-555.                   Trade Practices Act (CUTPA). Federal Trade
                                                                      Commission Act § 1, 15 U.S.C.A. § 41 et seq.;
                                                                      Conn. Gen. Stat. Ann. § 42-110a et seq.
 [33]   Statutes      Purpose and intent; determination
        thereof
        Statutes      Extrinsic Aids to Construction         [37]     Antitrust and Trade Regulation           Persons
                                                                      liable
        When a statute is ambiguous, the court may
        properly look to extratextual sources to ascertain            Connecticut Unfair Trade Practices Act
        the intent of the legislature.                                (CUTPA), which made it unfair trade practice
                                                                      to engage in wrongful marketing or advertising
                                                                      of dangerous product, was “statute applicable to
 [34]   Antitrust and Trade Regulation          Measure               sale or marketing of firearm,” within meaning
        and amount                                                    of predicate exception to immunity from liability
                                                                      accorded to manufacturers, distributors, and
        The right of action under the Connecticut Unfair
                                                                      sellers of firearms arising out of criminal or
        Trade Practices Act (CUTPA) for the recovery
                                                                      unlawful use of firearm by third party, under
        of “any ascertainable loss of money or property,
                                                                      Protection of Lawful Commerce in Arms Act
        real or personal,” as a result of an unfair trade
                                                                      (PLCAA), when manufacturer, distributor, and/
        practice in no way restricts the damages that are
                                                                      or seller “knowingly violates a State or federal
        available to plaintiffs who have been directly and
                                                                      statute applicable to the sale or marketing of”
        personally injured by an unfair trade practice.
                                                                      firearm, and violation was proximate cause of
        Conn. Gen. Stat. Ann. § 42-110g(a).
                                                                      harm for which relief was sought. 15 U.S.C.A.
        4 Cases that cite this headnote                               §§ 7902(a), 7903(5) (A) (iii); Conn. Gen. Stat.
                                                                      Ann. § 42-110a et seq.

 [35]   Antitrust and Trade
        Regulation     Advertising, marketing, and
                                                             [38]     Statutes      Federal and state law
        promotion
                                                                      With respect to the construction and application
        Whereas unfair trade practices under the
                                                                      of federal statutes, principles of comity and
        Connecticut Unfair Trade Practices Act
                                                                      consistency require Connecticut courts to follow
        (CUTPA) such as false advertising and other
                                                                      the federal “plain meaning” rule, which provides
        forms of commercial deception tend to result
                                                                      that a federal statute's legislative history and
        primarily in financial harm, a principal evil
                                                                      other tools of interpretation may be relied on only
        associated with unethical and unscrupulous
                                                                      if the terms of the statute are ambiguous.
        advertising is that viewers or innocent third
        parties will be physically injured as a result
        of dangerous or illegal conduct depicted in



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                                                                      firearm that encouraged egregious criminal use
 [39]   Statutes      Clarity and Ambiguity; Multiple                 of firearms. 15 U.S.C.A. § 7903(5) (A); Conn.
        Meanings                                                      Gen. Stat. Ann. § 42-110a et seq.
        Statutes      Purpose and intent; determination
        thereof
        Under the federal “plain meaning” rule, if the        [42]    Statutes      Undefined terms
        text of a federal statute is ambiguous, then the              Statutes      Dictionaries
        court must construct an interpretation consistent
                                                                      When construing a federal law in which key
        with the primary purpose of the statute as a
                                                                      terms are undefined, under the “plain meaning”
        whole; thus, the interpretive process will begin
                                                                      rule, the court begins with the ordinary,
        by inquiring whether the plain language of
                                                                      dictionary meaning of the statutory language.
        the statute, when given its ordinary, common
        meaning, is ambiguous.

                                                              [43]    Statutes      Language

 [40]   Statutes      What constitutes ambiguity; how                 Statutes    Plain language; plain, ordinary,
        determined                                                    common, or literal meaning

        Statutes      Context                                         When construing a federal statute, under the
                                                                      “plain meaning” rule, the court must assume
        In assessing ambiguity of a federal statute, for
                                                                      that the drafters selected their language with
        the purposes of interpreting the statute under the
                                                                      conscious intent and that the use of a specific
        “plain meaning” rule, the meaning of the statute
                                                                      term is meant to import a distinct meaning.
        must be evaluated not only by reference to the
        language itself but also in the specific context
        in which that language is used, as well as in the
        broader context of the statute as a whole.            [44]    Antitrust and Trade
                                                                      Regulation     Advertising, marketing, and
                                                                      promotion

 [41]   Antitrust and Trade Regulation           Persons              Constitutional Law        Unfair trade practices
        liable                                                        Claim by administrators of estate for elementary
        Claim by administrators of estates of elementary              school students and faculty that manufacturer,
        school students and faculty that manufacturer,                distributor, and retailer of assault rifle
        distributor, and retailer of assault rifle used               used by shooter to commit mass school
        by shooter to commit mass school shooting                     shooting committed unfair trade practice,
        committed unfair trade practice, in violation                 under Connecticut Unfair Trade Practices Act
        of Connecticut Unfair Trade Practices Act                     (CUTPA), by illegally marketing assault rifle
        (CUTPA), by illegally marketing assault rifle                 to civilian markets by promoting use of assault
        to civilian markets by promoting use of assault               rifle for illegal offensive civilian assaults did
        rifle for illegal offensive civilian assaults, came           not implicate commercial speech protected under
        within predicate exception to immunity from                   First Amendment. U.S. Const. Amend. 1; Conn.
        civil liability for crimes committed by third                 Gen. Stat. Ann. § 42-110a et seq.
        person using assault rifle, under Protection of
                                                                      1 Cases that cite this headnote
        Lawful Commerce in Arms Act (PLCAA), when
        defendants “knowingly violate a state or federal
        statute applicable to the sale or marketing of”       [45]    Constitutional Law        What is "commercial
        firearm, and violation was proximate cause of                 speech"
        harm suffered; nothing in PLCAA indicated clear               Constitutional Law        Unlawful speech or
        intent of Congress to restrict power of states to             activities
        regulate wrongful marketing or advertising of



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        Advertisement and marketing of goods is                       narrow construction. Therefore, under doctrine
        a quintessential form of commercial speech;                   of ejusdem generis, only similar types of
        however, commercial speech that proposes an                   firearms statutes would qualify, such that claim
        illegal transaction or that promotes or encourages            for unfair trade practices under Connecticut
        an unlawful activity does not enjoy the protection            Unfair Trade practices Act (CUTPA) brought
        of the First Amendment. U.S. Const. Amend. 1.                 by administrators of estates of elementary
                                                                      school students and faculty based on unlawful
                                                                      marketing and advertising of assault rifle used
 [46]   Statutes       In general; factors considered                 in school mass shooting would not come
                                                                      within exception to immunity, in action against
        Statutes       Plain, literal, or clear meaning;
                                                                      manufacturer, distributor, and seller of assault
        ambiguity
                                                                      rifle, even if PLCAA cited examples of two
        Under the law of the Second Circuit, if the plain
                                                                      statutes regulating sale and use of firearms
        language of a federal statute is ambiguous, the
                                                                      that would qualify for exception. Statutes cited
        court then considers whether any ambiguities
                                                                      by Congress that would come within predicate
        may be resolved by the application of canons of
                                                                      exception were not meant to define, clarify,
        statutory construction and, failing that, through
                                                                      or narrow universe of laws that qualified as
        review of the legislative history.
                                                                      predicate statutes, but rather were included to
                                                                      emphasize Congress's response to another high-
                                                                      profile shooting, and to demonstrate how those
 [47]   States       State police power                               statutes would have barred snipers in that case
        A federal law is not to be construed to have                  from obtaining weapons used in that shooting.
        superseded the historic police powers of the                  15 U.S.C.A. § 7903(5) (A) (iii); Conn. Gen. Stat.
        States unless that was the clearly expressed and              Ann. § 42-110a et seq.
        manifest purpose of Congress.
                                                                      1 Cases that cite this headnote


 [48]   States       Police power                            [51]     Statutes      General and specific terms and
        The regulation of advertising that threatens the              provisions; ejusdem generis
        public health, safety, and morals is a core                   The canon of statutory construction “ejusdem
        exercise of the states' police powers.                        generis” applies when a statute sets forth a
                                                                      general category of persons or things and then
                                                                      enumerates specific examples thereof.
 [49]   States       Preemption in general
        It is presumed that federal statutes do not
        preempt state law.                                   [52]     Statutes      General and specific terms and
                                                                      provisions; ejusdem generis
                                                                      The canon “ejusdem generis,” like other canons
 [50]   Antitrust and Trade Regulation           Persons              of construction, is merely a tool to assist the court
        liable                                                        in gleaning the legislative intent; it should not be
                                                                      applied in the face of a contrary manifestation of
        Predicate exception to immunity from civil
                                                                      legislative intent.
        liability accorded to manufacturers, distributors,
        and sellers of firearms for criminal use of
        firearm by third party, under Protection of
        Lawful Commerce in Arms Act (PLCAA), when            [53]     Products Liability        Defenses in general
        manufacturer, distributor, or seller knowingly                Products Liability        Weapons and
        violates state or federal law applicable to sale              Ammunition
        or marketing of firearm, was not subject to



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         It is not the primary purpose of the federal
         Protection of Lawful Commerce in Arms Act                 David N. Rosen and Alexander Taubes, New Haven, filed a
         (PLCAA), which immunizes a seller of a firearm            brief for Newtown Action Alliance et al. as amici curiae.
         from liability for the criminal use of a firearm
                                                                   Kenneth R. Slater Jr., Hartford, David H. Thompson, pro hac
         by third persons, to shield firearms sellers from
                                                                   vice, Peter A. Patterson, pro hac vice, and John D. Ohlendorf,
         liability for wrongful or illegal conduct. 15
                                                                   pro hac vice, filed a brief for the Connecticut Citizens Defense
         U.S.C.A. § 7903(5) (A).
                                                                   League, Inc., as amicus curiae.

                                                                   Lawrence G. Keane, Newtown, and Victor E. Schwartz,
                                                                   pro hac vice, filed a brief for the National Shooting Sports
                                                                   Foundation as amicus curiae.
Attorneys and Law Firms
                                                                   Robert J. Chomiak, Hartford, filed a brief for the Connecticut
 **270 Joshua D. Koskoff, with whom were Alinor C.                 Defense Lawyers Association as amicus curiae.
Sterling and Katherine Mesner-Hage, Bridgeport, for the
appellants (plaintiffs).                                           Kenneth R. Slater, Jr., Hartford, Paul D. Clement, pro hac
                                                                   vice, and Erin E. Murphy, pro hac vice, filed a brief for the
James Vogts, pro hac vice, and Christopher Renzulli, with          National Rifle Association of America, Inc., as amicus curiae.
whom were Scott M. Harrington, Stamford, and, on the brief,
Andrew A. Lothson, pro hac vice, Scott C. Allan, Hartford,         Joseph P. Secola, Brookfield, filed a brief for Gun Owners of
Jonathan P. Whitcomb, Stamford, and Peter M. Berry, for the        America, Inc., et al. as amici curiae.
appellees (defendants').
                                                                   Palmer, McDonald, Robinson, Vertefeuille, Mullins, Kahn
Howard Zelbo, Evan A. Davis, pro hac vice, and Elizabeth           and Elgo, Js. *
Vicens, pro hac vice, filed a brief for Trinity Church Wall
Street as amicus curiae.

James J. Healy, Hartford, filed a brief for Nora Freeman                                      Opinion
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                                                                  the defendants' that most of the plaintiffs' claims and legal
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                                                                  or PLCAA. For example, we expressly reject the plaintiffs'
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                                                                  defendants' became responsible for any crimes committed
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                                                                  that is recognized under established Connecticut law.
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                                                                  Specifically, they allege that the defendants' knowingly
  1. Canons of Statutory Construction...312                       marketed, advertised, and promoted the XM15-E2S for
                                                                  civilians to use to carry out offensive, *66 military style
     a. Clear Statement Requirement...312                         combat missions against their perceived enemies. Such use
                                                                  of the XM15-E2S, or any weapon for that matter, would be
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                                                                  illegal, and Connecticut law does not permit advertisements
     c. Statutory Exceptions To Be Construed Narrowly...317       that promote or encourage violent, criminal behavior.
                                                                  Following a scrupulous review of the text and legislative
  2. Related Legislation......317                                 history of PLCAA, we also conclude that Congress has
                                                                  not clearly manifested an intent to extinguish the traditional
  3. The Legislative History of PLCAA... 318                      authority of our legislature and our courts to protect the
                                                                  people of Connecticut from the pernicious practices alleged
                                                                  in the present case. The **273 regulation of advertising
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                                                                  that threatens the public's health, safety, and morals has
 [1] On December 14, 2012, twenty year old Adam Lanza
                                                                  long been considered a core exercise of the states' police
forced his way into Sandy Hook Elementary School in
                                                                  powers. Accordingly, on the basis of that limited theory, we
Newtown and, during the course of 264 seconds, fatally
                                                                  conclude that the plaintiffs have pleaded allegations sufficient
shot twenty first grade children and six staff members, and
                                                                  to survive a motion to strike and are entitled to have the
wounded two other staff members. *65 Lanza carried out
                                                                  opportunity to prove their wrongful marketing allegations.
this massacre using a Bushmaster XM15-E2S semiautomatic
                                                                  We affirm the trial court's judgment insofar as that court struck
rifle that was allegedly manufactured, distributed, and
                                                                  the plaintiffs' claims predicated on all other legal theories.
ultimately sold to Lanza's mother by the various defendants'
in this case. There is no doubt that Lanza was directly and
primarily responsible for this appalling series of crimes. In
this action, however, the plaintiffs—administrators of the                                        I
estates of nine of the decedents—contend that the defendants'
also bear some of the blame. The plaintiffs assert a number
                                                                                   PROCEDURAL HISTORY
of different legal theories as to why the defendants' should
be held partly responsible for the tragedy. The defendants'       The plaintiffs brought the present action in 2014,
counter that all of the plaintiffs' legal theories are not only
                                                                  seeking damages and unspecified injunctive relief. 2
barred under Connecticut law, but also precluded by a federal
                                                                  The    *67   defendants' include the Bushmaster
statute, the Protection of Lawful Commerce in Arms Act


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defendants' (Remington), 3 one or more of which is                 Although the trial court rejected most of the defendants'
alleged to have manufactured the Bushmaster XM15-E2S               arguments, the court concluded that (1) the plaintiffs'
semiautomatic rifle that was used in the crimes; the Camfour       allegations do not fit within the common-law tort of negligent
                                                                   entrustment, (2) PLCAA bars the plaintiffs' claims insofar as
defendants', 4 distributors that allegedly purchased the rifle
                                                                   those claims sound in negligent *69 entrustment, and (3)
from Remington and resold it to the Riverview defendants';
                                                                   the plaintiffs lack standing to bring wrongful death claims
and the Riverview defendants', 5 retailers that allegedly          predicated on CUTPA violations because they never entered
sold the rifle to Adam Lanza's mother, Nancy Lanza, in             into a business relationship with the defendants'. Accordingly,
March, 2010. 6 The gravamen of the plaintiffs' claims, which       the court granted in their entirety the defendants' motions to
are brought pursuant to this state's wrongful death statute,       strike the plaintiffs' amended complaint.
General Statutes § 52-555, 7 is that the defendants' (1)
negligently entrusted to civilian consumers an AR-15 style         On appeal, the plaintiffs challenge each of those
assault rifle 8 that is suitable **274 for use only by             conclusions. 13 For their part, the **275 defendants'
military and law enforcement personnel, and (2) violated the       contend, as alternative grounds for affirmance, that the trial
Connecticut Unfair Trade Practices Act (CUTPA), General            court improperly rejected their other CUTPA arguments. We
                                                                   conclude that the majority of the plaintiffs' claims were
Statutes § 42-110a et seq., 9 through the sale or wrongful
                                                                   properly struck insofar as those claims are predicated on the
marketing of the rifle.
                                                                   theory that the sale of the XM15-E2S rifle to Lanza's mother
                                                                   or to the civilian market generally constituted either negligent
The defendants' moved to strike the plaintiffs' complaint,
                                                                   entrustment; see part III of this opinion; or an unfair trade
contending that all of the plaintiffs' claims are *68 barred
                                                                   practice. See part IV B of this opinion. We also conclude,
by PLCAA. The defendants' also argued that, to the extent
                                                                   however, that the plaintiffs have standing to prosecute their
that the plaintiffs' claims sound in negligent entrustment, the
                                                                   CUTPA claims under *70 Connecticut law. See part IV
plaintiffs failed to state a legally valid negligent entrustment
                                                                   A of this opinion. We further conclude that PLCAA does
claim under Connecticut common law, and, to the extent that
                                                                   not bar the plaintiffs from proceeding on the single, limited
their claims are predicated on alleged CUTPA violations,
                                                                   theory that the defendants' violated CUTPA by marketing the
they are legally insufficient because, among other things, (1)
                                                                   XM15-E2S to civilians for criminal purposes, and that those
the plaintiffs lack standing to bring a CUTPA action, (2)
                                                                   wrongful marketing tactics caused or contributed to the Sandy
the plaintiffs' claims are time barred by CUTPA's three year
statute of limitations; see General Statutes § 42-110g (f);        Hook massacre. 14 See part V of this opinion. Accordingly,
(3) personal injuries and death are not cognizable CUTPA           we affirm in part and reverse in part the judgment of the trial
damages, and (4) the plaintiffs' CUTPA claims are simply           court and remand the case for further proceedings.
veiled product liability claims and, therefore, are barred by
General Statutes § 52-572n (a), the exclusivity provision
of the Connecticut Product Liability Act (Product Liability                                       II
Act). 10

                                                                                        ALLEGED FACTS
In response, the plaintiffs argued that PLCAA does not
confer immunity on the defendants' for purposes of this case        [2]  [3]     [4]     [5]    [6] Because we are reviewing the
because two statutory exceptions to PLCAA immunity—for             judgment of the trial court rendered on a motion to strike,
claims alleging negligent entrustment (negligent entrustment       we must assume the truth of the following facts, as alleged
exception) 11 and for claims alleging a violation of a             by the plaintiffs. 15 Lanza carried out the Sandy Hook
statute applicable to the sale or marketing of firearms            massacre using a Bushmaster XM15-E2S rifle. That rifle
(predicate exception) 12 —apply to their claims. The plaintiffs    is Remington's version of the AR-15 assault rifle, which
further argued that, for various reasons, the defendants' state    is substantially similar to the standard issue M16 military
law negligent entrustment and CUTPA arguments were ill             service rifle used by the United States Army and other nations'
founded.                                                           armed forces, but fires only in semiautomatic mode.




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 **276 *71 The AR-15 and M16 are highly lethal weapons              Just before 9:30 a.m., Lanza shot his way into the locked
that are engineered to deliver maximum carnage with extreme         school using the XM15-E2S. He immediately shot and killed
efficiency. Several features make these rifles especially well      Mary Joy Sherlach as well as the school's principal. He
suited for combat and enable a shooter to inflict unparalleled      subsequently shot and wounded two staff members.
carnage. Rapid semiautomatic fire “unleashes a torrent of
bullets in a matter of seconds.” The ability to accommodate         Lanza next entered Classroom 8, where he used the rifle to
large capacity magazines allows for prolonged assaults.             kill two adults and fifteen first grade children, including five
Exceptional muzzle velocity makes each hit catastrophic.            of the plaintiffs. Finally, he entered Classroom 10, where
Indeed, the plaintiffs contend, bullets fired from these rifles     he used the rifle to kill two adults and five first grade
travel at such a high velocity that they cause a shockwave to       children, including three of the plaintiffs. Nine children from
pass through the body upon impact, resulting in catastrophic        Classroom 10 were able to escape when Lanza paused to
injuries even in areas remote to the direct wound. Finally, the     reload with another magazine.
fact that the AR-15 and M16 are lightweight, air-cooled, gas-
operated, and magazine fed, enabling rapid fire with limited        In total, the attack lasted less than four and one-half minutes,
recoil, means that their lethality is not dependent on good aim     during which Lanza fired at least 154 rounds from the XM15-
or ideal combat conditions.                                         E2S, killing twenty-six and wounding two others. 16

These features endow the AR-15 with a lethality that                 **277 The plaintiffs filed the present action in 2014 seeking
surpasses even that of other semiautomatic weapons. “The net        damages and injunctive relief. Each of the counts in *73
effect is more wounds, of greater severity, in more victims, in     the operative first amended complaint is predicated on two
less time.” That lethality, combined with the ease with which       distinct theories of liability. First, the plaintiffs contend that
criminals and mentally unstable individuals can acquire an          the AR-15 is a military grade weapon that is “grossly ill-
AR-15, has made the rifle the weapon of choice for mass             suited” for legitimate civilian purposes such as self-defense
shootings, including school shootings.                              and recreation. They also allege that the AR-15 has become
                                                                    the weapon of choice for mass shootings and, therefore,
The particular weapon at issue in this case was manufactured        that the risks associated with selling the weapon to the
and sold by the Bushmaster defendants'. Sometime prior to           civilian market far outweigh any potential benefits. The
March, 2010, the Bushmaster defendants' sold the rifle to the       defendants' continued to sell the XM15-E2S despite their
Camfour defendants'. The Camfour defendants' subsequently           knowledge of these facts. Therefore, the plaintiffs contend, it
sold the rifle to the Riverview defendants', who operate a retail   was both negligent and an unfair trade practice for each of
gun store located in the town of East Windsor.                      the defendants' to sell the weapon, knowing that it eventually
                                                                    would be purchased by a civilian customer who might share
In March, 2010, Lanza's mother purchased the rifle from the         it with other civilian users.
Riverview defendants'. Lanza, who was seventeen years old at
the time, had expressed a desire to join the elite United States    The plaintiffs' second theory of liability is that the defendants'
Army Rangers unit. His mother *72 bought the rifle to give          advertised and marketed the XM15-E2S in an unethical,
to or share with him in order to connect with him. However,         oppressive, immoral and unscrupulous manner. They contend
when Lanza turned eighteen on April 22, 2010, he did not            that the defendants' have sought to grow the AR-15 market
enlist in the military. Still, he gained unfettered access to a     by extolling the militaristic and assaultive qualities of their
military style assault rifle.                                       AR-15 rifles and, specifically, the weapon's suitability for
                                                                    offensive combat missions. The plaintiffs argue that the
Eight months later, on the morning of December 14, 2012,            defendants' militaristic marketing reinforces the image of
Lanza retrieved the rifle and ten 30 round magazines. Using         the AR-15 as a combat weapon that is intended to be used
a technique taught in the first person shooter video games          for the purposes of waging war and killing human beings.
that he played, he taped several of those magazines together        Consistent with that image, the defendants' further promoted
to allow for faster reloading. He then drove to Sandy Hook          the XM15-E2S as a combat weapon system by designating in
Elementary School.                                                  their product catalogues that the rifle comes “standard” with
                                                                    a 30 round magazine which, the plaintiffs allege, differs from




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how the defendants' promote and sell rifles for legal civilian     to kill with it most efficiently. Additional facts and procedural
purposes such as hunting and sport shooting.   17                  history will be set forth as necessary.


 *74 The plaintiffs further contend that the defendants'
unethically promoted their assault weapons for offensive,                                         III
military style missions by publishing advertisements and
distributing product catalogs that (1) promote the AR-15
as “the uncompromising choice when you demand a rifle                            NEGLIGENT ENTRUSTMENT
as mission adaptable as you are,” (2) depict soldiers
                                                                   In opposition to the defendants' motions to strike, the
moving on patrol through jungles, armed with Bushmaster
                                                                   plaintiffs argued that their claims were not barred by PLCAA
rifles, (3) feature the slogan “[w]hen you need to perform
                                                                   because the claims are predicated on allegations of negligent
under pressure, Bushmaster delivers,” superimposed over
                                                                   entrustment and CUTPA violations, both of which satisfy
the silhouette of a soldier holding his helmet against the
                                                                   statutory exceptions to PLCAA immunity. In this part of
backdrop of an American flag, (4) tout the “military proven
                                                                   the opinion, we consider whether the trial court correctly
performance” of firearms like the XM15-E2S, (5) promote
                                                                   concluded that the plaintiffs' claims were legally insufficient
civilian rifles as “the ultimate combat weapons system,” (6)
                                                                   to the extent that those claims are predicated on a theory
invoke the unparalleled destructive power of their AR-15
                                                                   of negligent entrustment. The trial court concluded both that
rifles, (7) claim that the most elite branches of the United
                                                                   the *76 plaintiffs had not sufficiently pleaded a cause of
States military, including the United States Navy **278
                                                                   action in negligent entrustment under Connecticut common
SEALs, the United States Army Green Berets and Army
                                                                   law and, in the alternative, that the plaintiffs' allegations
Rangers, and other special forces, have used the AR-15, and
                                                                   did not satisfy PLCAA's statutory definition of negligent
(8) depict a close-up of an AR-15 with the following slogan:
                                                                   entrustment. See 15 U.S.C. § 7903 (5) (B) (2012). 19 The
“Forces of opposition, bow down. You are single-handedly
                                                                   plaintiffs challenge both conclusions on appeal. Because we
outnumbered.”
                                                                   agree with the trial court that the plaintiffs have not pleaded
                                                                   a legally sufficient cause of action in negligent entrustment
Finally, with respect to this second, wrongful marketing
                                                                   under our state's common law, we need not consider whether
theory of liability, the plaintiffs contend that the defendants'
                                                                   negligent entrustment claims must meet stricter requirements
marketing of the XM15-E2S to civilians for offensive assault
                                                                   in **279 order to satisfy the federal statutory exception.
missions was a substantial factor in causing the plaintiffs'
injuries. Specifically, they contend that Lanza had dreamed
                                                                   The following additional procedural history is relevant to
as a child of joining the elite Army Rangers unit of the
                                                                   this issue. In response to the defendants' motions to strike,
United States Army and was, therefore, especially susceptible
                                                                   the plaintiffs argued that their claims are not precluded by
to militaristic marketing. They further contend that he
                                                                   PLCAA because each of their claims is predicated in part
selected the *75 XM15-E2S for his assault from among
                                                                   on a theory of negligent entrustment and PLCAA does not
an arsenal that included various less lethal arms—at least
                                                                   confer immunity on sellers of firearms in actions for negligent
three handguns, one shotgun, two bolt action rifles, and
three samurai swords—and that he specifically chose the            entrustment. See 15 U.S.C. § 7903 (5) (A) (ii) (2012). 20 In
XM15-E2S not only for its functional capabilities, including       its decision granting the defendants' motions to strike, the
its assaultive qualities and efficiency in inflicting mass         trial court concluded that an action for negligent entrustment
casualties, but also because of its marketed association with      will lie only when the supplier of a dangerous instrumentality
                                                                   such as a firearm knows or has reason to know that the
the military. 18 Finally, they contend that Lanza was a devoted
player of first person shooter games featuring variants of         direct entrustee is likely to use the item unsafely. Because
the XM15-E2S and that he employed techniques taught in             the plaintiffs did not allege that there was any specific reason
those games to enhance the lethality of his assault on the         to believe that the Camfour *77 defendants' (as direct
school. In other words, the plaintiffs allege that the attack,     entrustees of the Remington defendants'), the Riverview
had it occurred at all, would have been less lethal and the        defendants' (as direct entrustees of the Camfour defendants'),
carnage less grievous if Lanza had not been encouraged by the      or Lanza's mother (as a direct entrustee of the Riverview
defendants' marketing campaign to select the XM15-E2S as           defendants') was incompetent to operate the XM15-E2S or
his weapon of choice and taught by violent video games how         had a propensity to use the weapon in an unsafe manner, the



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court granted all of the defendants' motions to strike with          cause of action in Turner v. American District Telegraph &
respect to the plaintiffs' negligent entrustment theories of         Messenger Co., 94 Conn. 707, 110 A. 540 (1920). In that case,
liability.                                                           the defendant security company entrusted a loaded pistol to
                                                                     an employee who later instigated a fight with and ultimately
 [7]     [8] We commence our review of this issue with a shot the plaintiff, a customer's night watchman. Id., at 708–
brief discussion of the history of and principles that animate       11, 110 A. 540 (preliminary statement of facts). This court
the tort of negligent entrustment. The cause of action for           held that there was insufficient evidence to support a verdict
negligent entrustment represents a departure from the general        for the plaintiff on his negligent entrustment claim because
rule that an individual cannot be held liable for the conduct        there was not “even a scintilla of evidence that the defendant
of others. It reflects a legitimate societal concern that a          had or *79 ought to have had knowledge or even suspicion
person in possession of a dangerous instrument should bear           that [its employee] possessed any of the traits ... attributed to
the responsibility of exercising care when entrusting that           him by the plaintiff,” including that “he was a reckless person,
instrument to another, given the serious risk to society if          liable to fall into a passion, and unfit to be [e]ntrusted with
items like firearms or automobiles should fall into unfit hands.     a deadly weapon ....” Id., at 716, 110 A. 540. “Without this
See J. Fisher, Comment, “So How Do You Hold This Thing               vitally important fact,” the court concluded, “the plaintiff's
Again?: Why the Texas Supreme Court Should Turn the                  claim falls to the ground ....” Id.
Safety off the Negligent Entrustment of a Firearm Cause
of Action,” 46 Tex. Tech. L. Rev. 489, 495, 501 (2014).              Other Connecticut cases decided in the early twentieth
The primary question that we must resolve is whether these           century, although not always expressly resolved under the
principles apply only when the entrustor believes or has             rubric of negligent entrustment, also suggested that a person
specific reason to believe that the direct entrustee is likely to    can be held liable for third-party injuries resulting from
use the item unsafely or, rather, whether they also apply when       another's use of a dangerous item only if the entrustment of
it is reasonably foreseeable that the entrustment ultimately         that item was made with actual or constructive knowledge that
will lead to injurious use, whether by the direct entrustee or       misuse by the entrustee was foreseeable. In Wood v. O'Neil, 90
by some unknown third party. 21 If the former, then the trial        Conn. 497, 97 A. 753 (1916), for example, this court held that
court properly *78 found for the defendants' on this issue as        no cause of action in negligence could be maintained against
a matter of law; if the latter, then the plaintiffs are correct that the parents of a fifteen year old boy who accidentally shot a
the plaintiffs' claim presents an issue of fact to be decided by     companion with a shotgun because the parents, in permitting
a jury.                                                              the boy to use the gun, had no specific knowledge that he “was
                                                                     possessed of a marked careless disposition.” Id., at 500, 97
Although the idea that it may be wrong to entrust a weapon           A. 753.
or other dangerous item to one likely to misuse it is as old
                                                                     Subsequently, in Greeley v. Cunningham, 116 Conn. 515, 165
as civilization, 22 the common-law tort of negligent **280
                                                                     A. 678 (1933), we articulated the standards that govern a
entrustment traces its origins to Dixon v. Bell, 105 Eng. Rep.
                                                                     negligent entrustment action in the context of automobiles,
1023 (K.B. 1816). See B. Todd, “Negligent Entrustment of
                                                                     which since has become the primary context in which such
Firearms,” 6 Hamline L. Rev. 467, 467 and n.1 (1983). In
                                                                     claims have arisen. See generally J. Fisher, supra, 46 Tex.
Dixon, the defendant sent a preadolescent girl to retrieve
                                                                     Tech. L. Rev. 489. In Greeley, the plaintiff alleged that
a loaded gun, resulting in the accidental shooting of the
                                                                     the defendant had been negligent in entrusting his car to
plaintiff's son. See Dixon v. Bell, supra, 1023. In upholding
                                                                     an unlicensed driver, who subsequently caused an accident
a verdict for the plaintiff that the defendant was liable for
                                                                     while attempting to pass the plaintiff's vehicle. See Greeley
entrusting the girl with the care and custody of the weapon,
                                                                     v. Cunningham, supra, at 517–18, 165 A. 678. “[Although]
the court recognized that “he well [knew] that the said [girl]
                                                                     liability cannot be imposed [on] an owner merely because
was too young, and an unfit and improper person to be sent
                                                                     he [e]ntrusts [his automobile] to another to drive [on] the
for the gun ....” Id.
                                                                     highways,” the court explained, “[i]t is ... coming to be
                                                                     generally held that *80 the owner may be liable for injury
American courts began applying the doctrine of negligent
                                                                     resulting from the operation of an automobile **281 he
entrustment in the 1920s, following the advent of the mass
                                                                     loans to another when he knows or ought reasonably to know
produced automobile; see J. Fisher, supra, 46 Tex. Tech. L.
                                                                     that the one to whom he [e ]ntrusts it is so incompetent to
Rev. 493; and Connecticut first recognized the common-law


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operate it, by reason of inexperience or other cause, that
the owner ought reasonably to anticipate the likelihood that        [10] The rule that a cause of action for negligent entrustment
in its operation injury will be done to others.” (Emphasis         will lie only when the entrustor knows or has reason to
added.) Id., at 518, 165 A. 678. This court proceeded to set       know that the direct entrustee is likely to use a dangerous
forth the elements of a cause of action sounding in negligent      instrumentality in an unsafe manner would bar the plaintiffs'
entrustment of an automobile: (1) the owner of an automobile       negligent entrustment claims. Specifically, there is no
entrusts it to another person (2) whom the owner knows or          allegation in this case that there was any reason to expect
should reasonably know is so incompetent to operate it that        that Lanza's mother was likely to use the rifle in an unsafe
injury to others should reasonably be anticipated, and (3) such    manner. 23
incompetence results in injury. Id., at 520, 165 A. 678.
                                                                   The plaintiffs, recognizing that they cannot prevail under
Since this court decided Wood, Turner, and Greeley, it             this rule, invite us to adopt a different framework, one “that
never has suggested that a cause of action for negligent           focuses on the existence of a nexus between the defendant
entrustment—whether involving a vehicle, a weapon, or some         and the dangerous **282 user—rather than the number
other dangerous item—will lie in the absence of evidence           of steps between them ....” In other words, their proposal
that the direct entrustee is likely to use the item unsafely.      is that a party alleging negligent entrustment need prove
Most jurisdictions that have recognized a cause of action in       only that it was reasonably foreseeable that, following the
negligent entrustment likewise require that the actor have         initial entrustment of a *82 dangerous instrumentality, that
actual or constructive knowledge that the specific person          instrumentality ultimately would come into the possession of
to whom a dangerous instrumentality is directly entrusted          someone who would use it in an unsafe manner. A jury could
is unfit to use it properly. See, e.g., J. Fisher, supra, 46       find that standard satisfied in this case, they contend, because
Tex. Tech. L. Rev. 496; B. Todd, supra, 6 Hamline L. Rev.          (1) Remington allegedly marketed its assault rifles to young
467; S. Beal, “Saving Negligent Entrustment Claims,” Trial,        men who play violent, first person shooter video games and
February, 2007, p. 35.                                             who, as a class, have a history of using such rifles in real
                                                                   mass shootings, and (2) there is evidence that individuals who
 [9] In accordance with the majority view, this also is the rule   legally purchase weapons such as the AR-15 often share the
set forth in the Restatement (Second) of Torts. Section 308        weapons with family members, including young men.
of the Restatement (Second) provides that “[i]t is negligence
to permit a third person to use a thing ... [that] is under        We decline the plaintiffs' invitation to stretch the doctrine of
the control of the actor, if the actor knows or should know        negligent entrustment so far beyond its historical moorings.
that such person intends or is likely to use the thing ... in      We recognize that some of our sister state courts have
such a manner as to create an unreasonable risk of harm to         permitted negligent entrustment actions to proceed when,
others.” (Emphasis *81 added.) 2 Restatement (Second),             although there was no indication that the direct entrustee was
Torts § 308, p. 100 (1965). Section 390, which further defines     incompetent to use a dangerous item, there was reason to
the tort of negligent entrustment, provides that “[o]ne who        believe that the entrustee would in turn share the item with a
supplies ... a chattel for the use of another whom the supplier    specific third party who would misuse it. This has been the
knows or has reason to know to be likely because of his youth,     case, for example, when a parent or other agent purchased a
inexperience, or otherwise, to use it in a manner involving        weapon or vehicle for a child who was present at the place
unreasonable risk of physical harm to himself and others ...
                                                                   and time of sale. 24 We need not decide whether and to what
is subject to liability for physical harm resulting to them.”
                                                                   extent Connecticut would recognize a cause of action for
2 id., § 390, p. 314; see also B. Todd, supra, 6 Hamline
                                                                   negligent entrustment under such circumstances, however,
L. Rev. 467 and n.5. We take it as well established, then,
                                                                   because, in the present case, the plaintiffs do not allege that
that, in order to prove negligent entrustment, a plaintiff must
                                                                   any of the defendants' possessed any knowledge or had any
demonstrate that (1) the defendant has entrusted a potentially
                                                                   specific reason to believe either that Lanza's mother would
dangerous instrumentality to a third person (2) whom the
                                                                   share the XM15-E2S with her son or that he was especially
entrustor knows or should know intends or is likely to use the
                                                                   likely to operate it unsafely or illegally. In any event, the
instrumentality in a manner that involves unreasonable risk
                                                                   plaintiffs have failed to cite to a single case, from any *83
of physical harm, and (3) such use does in fact cause harm to
                                                                   jurisdiction, that allowed an action for negligent entrustment
the entrustee or others.
                                                                   to proceed when the nexus between a manufacturer of a


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product and the person who ultimately used that product in an        subset of buyers will share weapons with their young adult
unsafe manner was as attenuated as it is in the present case.   25   sons and some much smaller subset of young adult males will
                                                                     use those weapons to commit terrible, random crimes. The
We also recognize that there is authority for the proposition        only plausible way to construe that claim—and we do not
that entrustment may be deemed negligent when the entrustor          understand the plaintiffs to deny this—is that any commercial
has no specific knowledge regarding the entrustee's personal         sale of assault weapons to civilian users constitutes negligent
competence or character but knows that the entrustee is a            entrustment because the social costs of such sales outweigh
member of a class that is notoriously unfit to safely utilize        the perceived benefits. Other courts have rejected such a
the entrusted item. See 2 Restatement (Second), supra, §              *85 theory, as do we. See, e.g., McCarthy v. Sturm, Ruger
308, comment **283 (b), p. 100. The plaintiffs argue that            & Co., 916 F.Supp. 366, 370 (S.D.N.Y. 1996), aff'd sub
we should apply that principle in this case because (1) gun          nom. McCarthy v. Olin Corp., 119 F.3d 148 (2d Cir. 1997);
buyers as a class are known to sometimes share their weapons         Merrill v. Navegar, Inc., 26 Cal. 4th 465, 483–84, 110
with family members, including young males, and (2) young            Cal.Rptr.2d 370, 28 P.3d 116 (2001); see also Phillips v.
males, in turn, are known to sometimes use assault weapons to        Lucky Gunner, LLC, 84 F.Supp.3d 1216, 1226 (D. Colo. 2015)
commit mass shootings. Once again, we decline the invitation         (rejecting theory that unmediated online sales of hazardous
to so dramatically expand the scope of negligent entrustment         items represent negligent entrustment), appeal dismissed,
liability.                                                           United States Circuit Court of Appeals, Docket No. 15-1153
                                                                     (10th Cir. July 21, 2015). Accordingly, the plaintiffs' action
As we noted, the tort of negligent entrustment saw its               cannot proceed under the negligent entrustment exception to
florescence, if not its modern genesis, in the advent of the         immunity under PLCAA.
mass produced automobile. See B. Todd, supra, 6 Hamline
L. Rev. 467; A. Cholodofsky, Note, “ *84 Torts: Does the
Negligent Entrustment Doctrine Apply to Sellers?” 39 U. Fla.                                        IV
L. Rev. 925, 928 (1987). In some instances, a person may
be unsuited to drive an automobile because he is reckless,
or inebriated, or otherwise distinctly unfit to drive safely                        WRONGFUL DEATH AND
on the public roads. See A. Cholodofsky, supra, 926 and                           CUTPA: ISSUES OF STATE LAW
nn. 5–6. It also is a matter of common sense and common
                                                                     We turn next to the question of whether the trial court
knowledge, however, that certain classes of people—e.g.,
                                                                     properly granted the defendants' motion to strike the plaintiffs'
young children and blind persons—are inherently unfit to
                                                                     wrongful death claims insofar as those claims are predicated
drive. Our laws recognize as much. See General Statutes §
                                                                     on alleged CUTPA violations. Because we have concluded
14-36 (c) and (e) (establishing, among other things, age and
                                                                     that **284 the plaintiffs have not pleaded a legally sufficient
vision screening requirements for motor vehicle operator's
                                                                     negligent entrustment claim under Connecticut common law,
permit or license). Accordingly, one may be negligent for
                                                                     PLCAA will bar the present action unless (1) the plaintiffs
entrusting an automobile to such users even in the absence
                                                                     have pleaded a cognizable CUTPA violation, and (2) CUTPA
of any particular knowledge about their individual driving
                                                                     constitutes a predicate statute for purposes of 15 U.S.C. §
skills, experience, or temperament. A jury reasonably might
                                                                     7903 (5) (A) (iii).
conclude that the same is true with respect to firearms and
other weapons and dangerous equipment. See B. Todd, supra,
                                                                     In their motions to strike, the defendants' argued, among other
468–69.
                                                                     things, that (1) the plaintiffs' claims were barred by CUTPA's
                                                                     three year statute of limitations, (2) damages for personal
The plaintiffs' theory, however, is fundamentally different.
                                                                     injuries and death resulting therefrom are not cognizable
They do not contend that all gun buyers such as Lanza's
                                                                     under CUTPA, (3) the plaintiffs' CUTPA claims are precluded
mother, or young men such as Lanza, are incapable of safely
                                                                     by the Product Liability Act; see General Statutes § 52-572n
operating an AR-15. The plaintiffs do not even contend that
                                                                     (a); and (4) CUTPA is not a valid predicate statute for
such users usually or even frequently operate such weapons
                                                                     purposes of PLCAA. The trial court rejected each of these
unsafely or unlawfully. Rather, the plaintiffs contend that it
                                                                     arguments. The court agreed with the defendants', however,
is objectively unreasonable to legally sell an assault weapon
                                                                      *86 that CUTPA does not afford protection to persons who
to an adult buyer, for no other reason than that some small
                                                                     do not have a consumer or other commercial relationship with


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the alleged wrongdoer. Accordingly, the court concluded that          For the reasons that follow, we conclude that the trial court
the plaintiffs lacked standing to pursue wrongful death claims        improperly granted the defendants' motion to strike these
predicated on CUTPA violations.                                       allegations in their entirety. We agree with the plaintiffs
                                                                      that the trial court improperly concluded that they lack
On appeal, the plaintiffs contend that the trial court                standing to pursue **285 any of their CUTPA claims
improperly struck their claims for lack of standing to pursue         against the defendants'. With respect to the plaintiffs' first
them under CUTPA. For their part, the defendants' claim that          theory of CUTPA liability—that the sale of AR-15s to the
the trial court's judgment can be affirmed on the alternative         civilian population is ipso facto unfair—we agree with the
ground that the court's other determinations were improper.           defendants' that the trial court's judgment can be affirmed on
                                                                      the alternative ground that the plaintiffs' claim is time barred
As an initial matter, we reiterate that the plaintiffs' CUTPA         under the CUTPA statute of limitations. Cf. footnote 14 of this
based wrongful death claims are predicated on at least two            opinion. However, with respect to the plaintiffs' second theory
fundamentally distinct theories of liability. First, the plaintiffs   of liability—that the defendants' wrongful marketing of the
contend that the defendants' violated CUTPA by selling the            XM15-E2S for illegal, offensive purposes was a causal factor
XM15-E2S to the civilian market despite their knowledge               in increasing the casualties of the Sandy Hook massacre—we
that there is no legitimate civilian use for such a weapon,           find the defendants' various alternative bases for affirmance
that assault weapons such as the AR-15 pose unreasonable              unpersuasive.
risks when used by civilians, and that individuals unfit to
operate such weapons likely would gain access to them. In
other words, the plaintiffs allege, in essence, that any sale of
                                                                                                  *88 A
any assault weapon to any civilian purchaser in Connecticut
is, ipso facto, an unfair trade practice under CUTPA.
                                                                                            CUTPA Standing
Second, the plaintiffs contend that the defendants' violated
                                                                       [11] [12] [13] Although the plaintiffs brought their claims
CUTPA by advertising and marketing the XM15-E2S in an
                                                                      pursuant to the wrongful death statute; General Statutes §
unethical, oppressive, immoral, and unscrupulous manner
                                                                      52-555; a wrongful death action will lie only when the
that promoted illegal offensive use of the rifle. Specifically,
                                                                      deceased person could have brought a valid claim for the
they allege that the defendants':
                                                                      injuries that resulted in death if he or she had survived. See
  • promoted use of the XM15-E2S for offensive, assaultive            part IV B of this opinion. Accordingly, to survive a motion
     purposes—specifically, for “waging war and killing               to strike, the plaintiffs must be able to establish that they
     human beings”—and not solely for self-defense,                   have standing to pursue a CUTPA claim for their injuries.
     hunting, target practice, collection, or other legitimate        We first consider whether the trial court properly concluded
     civilian firearm uses                                            that the plaintiffs lacked standing to bring the present action
                                                                      under CUTPA because they were third-party victims who
   *87 • extolled the militaristic qualities of the XM15-E2S          did not have a direct consumer, commercial, or competitor
                                                                      relationship (business relationship or privity requirement)
  • advertised the XM15-E2S as a weapon that allows a
                                                                      with the defendants'. Because the principal evils associated
    single individual to force his multiple opponents to “bow
                                                                      with unscrupulous and illegal advertising are not ones that
    down”
                                                                      necessarily arise from or infect the relationship between
  • marketed and promoted the sale of the XM15-E2S with               an advertiser and its customers, competitors, or business
    the expectation and intent that it would be transferred to        associates, we hold that a party directly injured by conduct
    family members and other unscreened, unsafe users after           resulting from such advertising can bring an action pursuant
    its purchase.                                                     to CUTPA even in the absence of a business relationship with
                                                                      the defendant. Accordingly, we agree with the plaintiffs that
The plaintiffs further allege in this regard that such                the trial court improperly struck their CUTPA based wrongful
promotional tactics were causally related to some or all of the       death claims.
injuries that were inflicted during the Sandy Hook massacre.
                                                                       [14] Whether one must have entered into a consumer or
                                                                      commercial relationship with an alleged wrongdoer in order


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to have standing to bring a CUTPA action presents a question       category of plaintiffs, namely, those whose injuries were
of statutory interpretation. The plain meaning of the statutory    not the result of a direct consumer purchase or lease of
text must be our lodestar. See General Statutes § 1-2z.            goods or services. Presumably recognizing that the original
                                                                   category of CUTPA plaintiffs (consumer direct purchasers
 [15] [16] General Statutes § 42-110g (a) creates a private and lessors) had become redundant insofar as it was merely
right of action for persons injured by unfair trade practices and  a subset of the new, broader category that had been added
provides in relevant part: “Any person who suffers *89 any         in the 1975 amendments—i.e., any person who suffers an
ascertainable loss of money or property, real or personal, as a    injury as a result of a prohibited practice—the legislature
result of the use or employment of a method, act or practice       amended the statute again in 1979 to eliminate the reference
prohibited by section 42-110b, may bring an action ... to          to direct purchasers. See Public Acts 1979, No. 79-210, § 1,
recover actual damages....” (Emphasis added.) On its face, the     codified at General Statutes (Rev. to 1981) § 42-110g (a).
statute plainly and unambiguously authorizes anyone who has        As we previously have explained; see Vacco v. Microsoft
suffered an ascertainable financial loss as a result of an unfair  Corp., 260 Conn. 59, 86–87 and n.30, 793 A.2d 1048
trade practice to bring a CUTPA action. Nothing in the text of     (2002); it is clear from this history that, although a business
the statute indicates that the right afforded by § 42-110g (a)     relationship initially was required to bring a CUTPA action,
is enjoyed only by persons who have done business of some          the legislature chose to eliminate that privity requirement and
sort with a defendant.                                             instead conferred standing on any person who could establish
                                                                   an ascertainable loss as a result of an unfair trade practice.
Even if we were to conclude that the statute is ambiguous
in this regard, we perceive nothing in the legislative history     This conclusion finds additional support in the legislative
or purpose of the statute that would support the defendants'       proceedings pertaining to the various 1970s amendments.
theory that something more than an ascertainable financial         From the start, CUTPA prohibited unfair trade practices
loss caused by a prohibited act is necessary to confer standing    associated not only with the actual sale and distribution
under CUTPA. When CUTPA originally was enacted in                  of products and services, but also with the advertising
1973, the statute authorized private actions for “[a]ny person     and offering of those products and services for sale. 26
who purchases or leases **286 goods or services from a              *91 However, when the House of Representatives debated
seller or lessor primarily for personal, family or household       Substitute House Bill No. 5613, the bill that ultimately
purposes and thereby suffers any ascertainable loss of money       became No. 78346 of the 1978 Public Acts, several
or property, real or personal, as a result ....” (Emphasis added.) representatives expressed concerns that the original file
Public Acts 1973, No. 73-615, § 7 (P.A. 73-615), codified as       copy of that bill might be understood to mean that
amended at General Statutes (Rev. to 1975) § 42-110g (a). It       unfair advertising would no longer constitute a prohibited
is clear, then, that a direct consumer relationship initially was  trade practice. In explaining the need to amend the bill,
required in order to bring a CUTPA action.                         Representative Raymond C. Ferrari cautioned that CUTPA
                                                                   should not be watered down so as to “require the actual sale
Over the following decade, however, a series of amendments         of an item as opposed to simply allow[ing] the enforcement
eliminated that privity requirement. Of particular note are        under an advertisement ....” 21 H.R. Proc., Pt. 10, 1978
the 1975 and 1979 amendments. In 1975, the legislature             Sess., p. 3987. Representative Robert F. Frankel expressed
amended the statute to confer standing on two distinct             similar sentiments. **287 See 21 H.R. Proc., Pt. 11, 1978
classes of plaintiffs. See Public Acts 1975, No. 75-618,           Sess., p. 4319 (“we would actually be rolling back some of
§ 5 (P.A. 75-618). As amended, the statute provided that           the coverage of [CUTPA] wherein we would be requiring
CUTPA actions can be brought either by “any person who             a sale of advertised products before the Commissioner
purchases or leases goods or services from a seller or lessor      [of Consumer Protection] could become involved”). The
primarily for personal, *90 family or household purposes           fact that the legislature sought to ensure that advertising
and thereby suffers any ascertainable loss ... as a result” or     alone—even advertising that never results in a sale—could
by “[a]ny person who suffers any ascertainable loss of money       constitute a prohibited practice suggests that an actual
or property, real or personal, as a result [of a prohibited        business relationship was not deemed to be a precondition for
practice] ....” P.A. 75-618, § 5, codified as amended at           a CUTPA action following the 1975 amendments.
General Statutes (Rev. to 1977) § 42-110g (a). In other
words, the legislature conferred standing on an additional



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It is true that the primary concern of those representatives        Second, the defendants' contend that prudential concerns
during the 1978 hearings was to prevent the Department of           support limiting CUTPA standing to persons who have a
Consumer Protection (department) from being stripped of its         direct business relationship with the alleged wrongdoer. We
authority to aggressively enforce CUTPA violations relating         consider each argument in turn.
to false or misleading advertising. It is, of course, possible
that the legislature wanted the department to be able to curtail    In support of its conclusion that our cases impose a business
wrongful advertising campaigns at their inception, without          relationship requirement, the trial court relied on this court's
having to wait until consumers were harmed before taking            decisions in Vacco v. Microsoft Corp., supra, 260 Conn. at 59,
legal action, but intended that private individuals not have        793 A.2d 1048, and Ventres v. Goodspeed Airport, LLC, 275
standing to sue unless and until they had purchased goods or        Conn. 105, 881 A.2d 937 (2005), cert. denied, 547 U.S. 1111,
services in reliance on such advertisements. It bears emphasis,     126 S.Ct. 1913, 164 L.Ed.2d 664 (2006). Neither decision
however, that the legislative history of CUTPA is replete not       compels such a result.
only with references *92 to the broad scope and remedial
nature of the act 27 but also with statements specifically           [17] In Vacco, we recognized that the legislature, by “
indicating a legislative awareness that the department and the      ‘deleting all references to “purchasers, sellers, lessors, or
Office of the Attorney General were not equipped to prosecute       lessees” ’ ” in § 42-110g (a) in 1979, had eliminated CUTPA's
every unfair trade practice and a concomitant belief that it was    privity requirement. Vacco v. Microsoft Corp., supra, 260
important to incentivize broad enforcement action by private        Conn. at 88, 793 A.2d 1048. We proceeded to clarify,
                                                                    however, that the elimination of the privity requirement did
litigants. 28 See, e.g., Hinchliffe v. American Motors Corp.,
                                                                    not mean that anyone could bring a CUTPA action, no
184 Conn. 607, 615 and nn. 4–5, 618, 440 A.2d 810 (1981).
                                                                    matter how attenuated the connection between his or her
                                                                    injuries and a defendant's allegedly unfair trade practices.
More directly on point is the testimony of Assistant
                                                                    “Notwithstanding the elimination of the privity requirement,”
Attorney General Arnold Feigen, which was offered on
                                                                    we explained, “it strains credulity to conclude that CUTPA
behalf of Attorney General Carl Ajello and Commissioner of
                                                                    is so formless as to provide redress to any person, for any
Consumer Protection Mary Heslin, before the General Law
                                                                    ascertainable harm, caused by any person in the conduct of
Committee. See Conn. Joint Standing Committee Hearings,
                                                                    any trade or commerce.” (Internal quotation marks omitted.)
General Law, Pt. 4, 1979 Sess., p. 1159. Testifying in favor
                                                                    Id. We further observed, however, that CUTPA liability could
of the 1979 amendment that eliminated the direct purchaser
                                                                    reasonably be cabined in the same manner as with common-
requirement language, Feigen explained that “[n]umerous
                                                                    law tort actions: “[N]otwithstanding the broad language and
arguments have been raised in both state and federal courts
                                                                    remedial purpose of CUTPA, we have applied traditional
that [a] plaintiff, in order to sue, must be a purchaser or a
                                                                     *94 common-law principles of remoteness and proximate
lessee of a seller ....” Id. “The amendment,” he opined, “will
                                                                    causation to determine whether a party has standing to bring
now allow a suit by any person who suffers any ascertainable
                                                                    an action under CUTPA.” (Footnote omitted.) Id. Notably, we
loss of money or property.” Id. Those statements, although not
                                                                    cited Ganim v. Smith & Wesson Corp., 258 Conn. 313, 780
dispositive of the question before us, provide support for the
                                                                    A.2d 98 (2001), as an example of a case in which the alleged
plaintiffs' theory that the legislature intended to eliminate the
                                                                    harms suffered by the plaintiffs—the city of Bridgeport and
business relationship requirement when it amended CUTPA.
                                                                    its mayor—as a result of gun violence were “too remote and
See Vacco v. Microsoft Corp., supra, 260 Conn. at 86–87 and
                                                                    derivative” with respect to the challenged conduct for the
n.30, 793 A.2d 1048.
                                                                    plaintiffs to have standing to bring a CUTPA claim. Vacco
                                                                    v. Microsoft Corp., supra, at 88–89, 793 A.2d 1048, citing
The defendants', while implicitly acknowledging that the
                                                                    Ganim v. Smith & Wesson Corp., supra, at 344, 365, 780
plain language of § 42-110g (a) no longer imposes a business
                                                                    A.2d 98. We proceeded in Vacco to apply the same three part
relationship requirement, offer two arguments *93 as to why
                                                                    remoteness analysis that we had applied in Ganim, ultimately
we should continue to read such a requirement into the statute.
                                                                    concluding that the plaintiff lacked standing because his
First, they contend that the trial court properly concluded
                                                                    injuries were too remote in relation to the defendant's
that our prior cases and those of the Appellate Court
                                                                    allegedly anticompetitive conduct. Vacco v. Microsoft Corp.,
have recognized a business relationship requirement and
                                                                    supra, at 90–92, 793 A.2d 1048; see Ganim v. Smith & Wesson
that principles of stare decisis and legislative acquiescence
                                                                    Corp., supra, at 353, 780 A.2d 98. Accordingly, Vacco stands
counsel against departing from those decisions. **288


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for the proposition that standing to bring a CUTPA claim will       cursory treatment given to this issue by the ... panel [in the
lie only when the purportedly unfair trade practice is alleged      prior decision], our hands are not tied by stare decisis”), cert.
to have directly and proximately caused the plaintiff's injuries.   denied sub nom. Igartua v. Trump, ––– U.S. ––––, 138 S.Ct.
This remoteness requirement serves the same function as a           2649, 201 L.Ed.2d 1050 (2018).
privity requirement, as it mitigates any concerns associated
with imposing limitless liability on CUTPA defendants'.              *96 Next, we consider the defendants' argument that this
                                                                    court has, for prudential reasons, set various limitations on
Although our decision in Ventres could be read to suggest           the types of parties that may bring CUTPA claims. The
that the plaintiff must have a business relationship with           defendants' contend that similar policy rationales counsel
the defendant, a closer review indicates that it does not           in favor of imposing a business relationship requirement.
stand for this sweeping proposition. In that case, a land           In two of the cases that the defendants' cite in support of
trust and a conservancy (property owners) alleged that the          this proposition, however, this court concluded that CUTPA
named defendant, Goodspeed Airport, LLC, among other                simply did not govern the conduct at issue, and, therefore,
defendants', had violated CUTPA by trespassing on the               we did not consider the question of standing. See Haynes
property owners' land. See Ventres v. Goodspeed Airport,            v. Yale-New Haven Hospital, 243 Conn. 17, 34, 699 A.2d
LLC, supra, 275 Conn. at 109, 112, 881 A.2d 937. We                 964 (1997) (medical malpractice claims are not subject to
concluded, as a matter of law, that, even if the property owners    CUTPA); Russell v. Dean Witter Reynolds, Inc., 200 Conn.
had been able to prove their allegations, *95 **289 none of         172, 180, 510 A.2d 972 (1986) (CUTPA does not apply
the alleged conduct would have risen to the level of a CUTPA        to deceptive practices in purchase and sale of securities).
violation. See id., at 156–58, 881 A.2d 937.                        In the third case on which the defendants' rely, namely,
                                                                    Jackson v. R. G. Whipple, Inc., 225 Conn. 705, 627 A.2d 374
As an alternative, independent basis for upholding the trial        (1993), this court concluded that third parties lacked CUTPA
court's decision to strike the property owners' CUTPA claims,       standing only in the context of the unique professional
we briefly considered the property owners' contention that          relationship between attorneys and their clients. See id., at
a CUTPA plaintiff is not required to allege any business            729, 627 A.2d 374. Accordingly, the cases that the defendants'
relationship with a defendant, summarily rejecting that claim       cite, which address unique professional service contexts and
on the ground that the property owners had provided no              relationships, provide little support for the general proposition
authority for the proposition. Id., at 157–58, 881 A.2d 937.        that CUTPA does not confer standing outside the limited
Significantly, in contrast to the present case, Ventres did         confines of a business relationship between the CUTPA
not involve allegations that a business relationship between        plaintiff and defendant.
the defendants' and a third party had resulted in the harm
alleged. Therefore, we had no occasion to discuss or apply           [18] We need not decide today whether there are other
the proximate cause analysis set forth in Vacco. See Vacco v.       contexts or situations in which parties who do not share a
Microsoft Corp., supra, 260 Conn. at 90–92, 793 A.2d 1048.          consumer, commercial, or competitor relationship with an
In other words, there was no business relationship that could       alleged wrongdoer may be barred, for prudential or policy
result in any causal connection to the injury alleged.              reasons, from bringing a CUTPA action. What is clear
                                                                    is that none of the rationales that underlie the standing
Accordingly, the court in Ventres did not hold that every           doctrine, either generally or **290 in the specific context
CUTPA claim requires a business relationship between a              of unfair trade practice litigation, supports the denial of
plaintiff and a defendant. Indeed, we did not analyze that          standing to the plaintiffs in this case. “Standing ... is a
issue, and at no point did we examine either the text or            practical concept designed to ensure that courts and parties
the legislative history of the statute, both of which, as we        are not vexed by suits brought to *97 vindicate nonjusticable
previously explained, strongly suggest that the legislature did     interests and that judicial decisions [that] may affect the
not intend to impose a privity requirement. We thus conclude        rights of others are forged in hot controversy, with each
that the principles of stare decisis and legislative acquiescence   view fairly and vigorously represented.” (Internal quotation
do not preclude us from construing § 42-110g (a) de novo            marks omitted.) Slimp v. Dept. of Liquor Control, 239 Conn.
in the present case to address this question. See Igartua v.        599, 609, 687 A.2d 123 (1996). As we explained in Ganim
Obama, 842 F.3d 149, 160 (1st Cir. 2016) (Torruella, J.,            v. Smith & Wesson Corp., supra, 258 Conn. at 313, 780
concurring in part and dissenting in part) (“[c]onsidering the      A.2d 98, there are several reasons why standing traditionally



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has been restricted to those parties directly injured by a          that a defendant's advertisements unethically promote illegal
defendant's conduct: “First, the more indirect an injury is,        conduct is fundamentally different from one alleging false
the more difficult it becomes to determine the amount of            or misleading advertising. The primary harm associated with
[the] plaintiff's damages attributable to the wrongdoing as         the latter is that a consumer will rely to his or her detriment
opposed to other, independent factors. Second, recognizing          on the advertiser's representations; it is in the misinformed
claims by the indirectly injured would require courts to adopt      purchase of the product or service that the wrong becomes
complicated rules apportioning damages among plaintiffs             fully manifest. Actual customers, then, typically will be the
removed at different levels of injury from the violative acts,      parties most directly and adversely impacted by the alleged
in order to avoid the risk of multiple recoveries. Third,           wrong.
struggling with the first two problems is unnecessary [when]
there are directly injured parties who can remedy the harm           [19] The gravamen of a wrongful advertising claim, by
without these attendant problems.” (Internal quotation marks        contrast, is that an advertisement models or encourages illegal
omitted.) Id., at 353, 780 A.2d 98.                                 or unsafe behavior. In such instances, the immediate victims
                                                                    are just as likely to be third parties who are not customers,
Ganim, in fact, provides an instructive contrast to the present     whether it be individuals who engage in inappropriate
case. In Ganim, the mayor and the city of Bridgeport brought        conduct inspired by the advertisements or the direct victims of
an action against handgun manufacturers, trade associations,        that conduct. For example, when an especially racy sports car
and retail gun sellers to recoup various municipal costs            commercial disclaims, “professional driver, closed course, do
associated with gun violence, including increased police and        not attempt this at home,” the perceived risk is not merely—
emergency services, loss of investment, and victimization of        or even primarily—that viewers will purchase that particular
Bridgeport's citizens. Id., at 315–16, 326–27, 780 A.2d 98.         vehicle and drive it unsafely as a result of the commercial.
We concluded that the municipal plaintiffs lacked standing          Of at least equal concern is the possibility that noncustomer
under CUTPA because the “harms claimed ... [were too]               viewers will emulate the commercial when driving their
indirect, remote and derivative with respect to the defendants'     own vehicles, violating motor vehicle laws, and possibly
conduct ....” Id., at 353, 780 A.2d 98. Moreover, we observed       causing injury to themselves or others, including passengers
that one easily could identify several sets of potential            or pedestrians.
plaintiffs who were more directly harmed by the defendants'
alleged misconduct than was the city: “[A]ll [of] the *98           In the present case, the wrong charged is that the defendants'
homeowners in Bridgeport who have been deceived by the              promoted the use of their civilian assault rifles for offensive,
defendants' misleading advertising, all of the persons who          military style attack missions. The most directly foreseeable
have been assaulted or killed by the misuse of the handguns,        harm associated with such advertising is that innocent third
and all of the families of the persons who committed suicide        parties could be shot as a result. The decedents are the ones
using those handguns.” Id., at 359, 780 A.2d 98.                    who got shot.

In the present case, by contrast, the plaintiffs allege that the    If the defendants' marketing materials did in fact inspire or
defendants' wrongful advertising magnified the lethality of         intensify the massacre, then there are no *100 more direct
the Sandy Hook massacre by inspiring Lanza or causing him           victims than these plaintiffs; nor is there any customer of the
to select a more efficiently deadly weapon for his attack.          defendants' with a better claim to standing. That is to say,
Proving such a causal link at trial may prove to be a Herculean     if these plaintiffs cannot test the legality of the defendants'
task. 29 But if it can be proven—and the posture in which           advertisements pursuant to § 42-110g, then no one can. For
                                                                    these reasons, we conclude that the trial court improperly
this case reaches us requires that we assume it can 30 —the
                                                                    determined that the plaintiffs lack standing to assert wrongful
link between the allegedly **291 wrongful conduct and the
                                                                    death claims predicated on the defendants' alleged CUTPA
plaintiffs' injuries would be far more direct and less attenuated
                                                                    violations.
than in Ganim.

More fundamentally, in this case, unlike in Ganim, it is
the direct victims of gun violence who are challenging                                             B
 *99 the defendants' conduct; no private party is better
situated than the plaintiffs to bring the action. A claim


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                                                                   predicated on a theory of liability sounding in unfair trade
                                                                   practices, those claims were brought pursuant to § 52-555,
                    Statute of Limitations
                                                                   the wrongful death statute. That statute has its own statute of
Having concluded that the plaintiffs have standing to bring        limitations, which requires that a wrongful death action “be
the present action, we must turn our attention to whether the      brought ... within two years from the date of death,” and its
judgment of the trial court dismissing the plaintiffs' action      own statute of repose, which requires that a wrongful death
may be affirmed on an alternative ground. Although its             action “be brought [no] more than five years from the date of
determination that the plaintiffs lacked standing to **292         the act or omission complained of.” General Statutes § 52-555
bring wrongful death claims predicated on alleged CUTPA            (a). Because process was served within two years of the date
violations disposed of the case before it, the trial court         of the decedents' deaths and within five years of the date on
considered, in the interest of completeness, the defendants'       which the rifle was sold, the court concluded that the action
arguments regarding the legal sufficiency of the plaintiffs'       would not be time barred if the statute of limitations contained
CUTPA claims. We first consider the defendants' argument           in § 52-555 (a) controls.
that the plaintiffs' claims are time barred because they did not
comply with CUTPA's three year statute of limitations.             The trial court therefore sought to resolve the apparent
                                                                   conflict between the statutes of limitations contained *102
                                                                   in §§ 42-110g (f) and 52-555 (a). Relying on the decision
                                                                   of the Appellate Court in Pellecchia v. Connecticut Light
                               1
                                                                   & Power Co., 139 Conn. App. 88, 90, 54 A.3d 658 (2012)
                                                                   (adopting trial court's memorandum of decision in Pellecchia
                      Procedural History                           v. Connecticut Light & Power Co., 52 Conn. Supp. 435, 54
                                                                   A.3d 1080 [2011] ), cert. denied, 307 Conn. 950, 60 A.3d 740
The following additional procedural history is relevant to this    (2013), the trial court concluded that, when a wrongful death
claim. The complaint alleges that Lanza's mother purchased         claim is predicated on an underlying theory of liability that
the rifle in question in March, 2010, and that it was              is subject to its own statute of limitations, it is the wrongful
manufactured and distributed sometime prior to that date.          death statute of limitations that controls. Because the court
Lanza carried out the Sandy Hook massacre on December 14,          concluded that the CUTPA statute of limitations did not apply,
2012, on which date all of the decedents died. The plaintiffs      and because the action was brought within two years of the
delivered their summons and complaint to a state marshal on         **293 decedents' deaths and within five years of the initial
December 13, 2014.                                                 sale of the rifle, the court also concluded that the plaintiffs'
                                                                   wrongful death claims were timely. Accordingly, the court
 *101 The defendants' moved to strike the plaintiffs'              did not have reason to consider whether the plaintiffs' claims
wrongful death claims on the theory that those claims are          predicated on a wrongful advertising theory of liability, which
predicated on underlying CUTPA violations and that private         could be premised on conduct postdating the sale of the rifle,
actions brought pursuant to CUTPA are subject to a three           were timely.
year statute of limitations. See General Statutes § 42-110g
(f). 31 They argued that, because all of the relevant transfers
of the rifle occurred no later than March, 2010, and because
                                                                                                  2
the present action was not initiated until more than four years
later, in December, 2014, the plaintiffs' CUTPA claims are
time barred.                                                                              Legal Principles

                                                                    [20] Turning to the governing legal principles, we first
The trial court, like the defendants', proceeded on the
                                                                   consider whether the trial court correctly determined that,
theory that the date of the alleged CUTPA violations
                                                                   when a wrongful death claim is predicated on an underlying
was, at the very latest, March, 2010, when the Riverview
                                                                   theory of liability that is subject to its own statute of
defendants' sold the rifle to Lanza's mother. The court was
                                                                   limitations, the plaintiffs need only satisfy the statute of
not persuaded, however, that CUTPA is the controlling statute
                                                                   limitations contained in § 52-555 (a). The trial court was
of limitations for purposes of the present action. Rather, the
                                                                   correct that, in the ordinary case, § 52-555 (a) supplies the
court emphasized that, although the plaintiffs' claims were
                                                                   controlling statute of limitations regardless of the underlying


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theory of liability. This court applied that rule in Giambozi        **294 [22] The plaintiffs respond that, regardless of
v. Peters, 127 Conn. 380, 16 A.2d 833 (1940), overruled in          whether the statute of limitations contained in § 42-110g (f)
part on other grounds by Foran v. Carangelo, 153 Conn.              amounts to an essential element of a CUTPA cause of action,
356, 216 A.2d 638 (1966), in which the court held that              it need not be satisfied in the present case because this is
the statute of limitations of the predecessor wrongful death        not a CUTPA action. Rather, their claims are wrongful death
statute, *103 rather than the limitations provision applicable      claims, for which CUTPA merely provides the underlying
to medical malpractice claims, governed in a wrongful death         theory of wrongfulness.
action based on malpractice. Id., at 385, 16 A.2d 833; see
also Ecker v. West Hartford, 205 Conn. 219, 245, 530 A.2d            [23] [24] [25] That argument, although perhaps facially
1056 (1987) (suggesting that statute of limitations contained       attractive, is precluded by a long line of cases holding that
in § 52-555 may control in wrongful death actions predicated        Connecticut's wrongful death statute does not create a new
on contract and warranty theories of liability). The legislative    cause of action, independent of any claims that the decedent
history of the 1991 amendments to the wrongful death statute        might have had during his or her life. Rather, the wrongful
reflecting the current statutory language; Public Acts 1991,        death statute merely allows the administrator of an estate to
No. 91-238, § 1; makes clear that Giambozi continues to             append to an already valid claim an additional element of
accurately reflect the intent of the legislature in this respect.   damages consisting of costs associated with the decedent's
See 34 H.R. Proc., Pt. 14, 1991 Sess., pp. 5170–72, remarks of      death. See, e.g., Sanderson v. Steve Snyder Enterprises,
Representative Michael P. Lawlor (expressing view that there        Inc., 196 Conn. 134, 149, 491 A.2d 389 (1985); Foran v.
would be cases in which plaintiffs would be able to maintain        Carangelo, supra, 153 Conn. at 360, 216 A.2d 638; Shaker
wrongful death action under 1991 amendment to § 52-555              v. Shaker, 129 Conn. 518, 520–21, 29 A.2d 765 (1942);
even though statute of limitations applicable to underlying         see also Kling v. Torello, 87 Conn. 301, 305–306, 87 A.
medical malpractice would have run).                                987 (1913). A necessary consequence of this principle is
                                                                    that a cause of action for wrongful death predicated on a
 [21] As the defendants' emphasize, however, it is well             CUTPA violation will lie only insofar as the decedent, had
established that different rules apply to statutes, such as         he or she survived, could have satisfied all of the essential
CUTPA, that create a right of action that did not exist at          elements of the CUTPA claim. See, e.g., Roque v. United
common law. See Greco v. United Technologies Corp., 277             States, 676 F.Supp.2d 36, 42 (D. Conn. 2009) (plaintiff must
Conn. 337, 345 n.12, 890 A.2d 1269 (2006). For such statutes,       prove elements of negligence claim in wrongful death action
we have said that the limitations provision “embodies an            predicated *105 on negligence); Nolan v. Morelli, 154 Conn.
essential element of the cause of action created—a condition        432, 435, 226 A.2d 383 (1967) (plaintiff must establish that
attached to the right to sue at all. The liability and the remedy   decedent could recover damages under Dram Shop Act in
are created by the same statutes, and the limitations of the        wrongful death action predicated on that statute); see also
remedy are, therefore, to be treated as limitations of the          Schwarder v. United States, 974 F.2d 1118, 1129 (9th Cir.
right.... It follows that the statutory provision or provisions     1992) (Alarcon, J., concurring in part and dissenting in part)
prescribing the limitation must be strictly observed if liability   (“[a] majority of the state courts that have considered the
is to attach to the claimed offender. Failure to show such          question have held that a survivor cannot bring a wrongful
observance results in a failure to show the existence of a good     death action if the decedent was barred from [bringing a claim
cause of action.” (Internal quotation marks omitted.) Blakely       for his injuries] in his lifetime, because the wrongful death
v. Danbury Hospital, 323 Conn. 741, 748–49, 150 A.3d 1109           claim is essentially derivative of the injury to the decedent”);
(2016); see also id., at 749, 150 A.3d 1109 (time limitation        W. Keeton et al., Prosser and Keeton on the Law of Torts (5th
is “essential and integral” to existence *104 of cause of           Ed. 1984) § 127, p. 955 (“[t]he wrongful death action for the
action); Avon Meadow Condominium Assn., Inc. v. Bank of             benefit of survivors is, like other actions based on injuries to
Boston Connecticut, 50 Conn. App. 688, 699–700, 719 A.2d            others, derivative in nature, arising out of and dependent [on]
66 (time limitation that is contained within statute that creates   the wrong done to the injured person and thus barred when
right of action that did not exist at common law is limitation of   his claim would be barred” [footnote omitted] ). It is clear,
liability itself, and, accordingly, CUTPA statute of limitations    then, that the plaintiffs' wrongful death claims must comply
is jurisdictional), cert. denied, 247 Conn. 946, 723 A.2d 320       not only with the statute of limitations that governs wrongful
(1998), and cert. denied, 247 Conn. 946, 723 A.2d 320 (1998).       death actions but also with CUTPA's statute of limitations.
                                                                    Accordingly, because it is undisputed that the manufacture,



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distribution, and final sale of the rifle to Lanza's mother all     [L]iability [A]ct claim dressed in the robes of CUTPA”;
occurred at least three years prior to the commencement of the      Gerrity v. R.J. Reynolds Tobacco Co., 263 Conn. 120, 129,
present action, we conclude that the trial court should have        818 A.2d 769 (2003); and that, pursuant to § 52-572n (a), the
struck as time barred the plaintiffs' wrongful death claims         Product Liability Act provides the exclusive remedy. We are
predicated on a theory that any sale to the civilian market of      not persuaded.
military style assault weapons such as the AR-15 represents
an unfair trade practice. Cf. footnote 14 of this opinion.          As we have explained, the plaintiffs' wrongful death claims
                                                                    are predicated on two distinct theories of unfair trade practice:
 [26] That determination, however, is not fatal to all of the       (1) the sale of assault rifles such as the XM15-E2S to the
plaintiffs' claims. As we discussed, the plaintiffs also pleaded,   civilian market is inherently unreasonable and dangerous;
in the alternative, that the defendants' violated CUTPA by          and (2) the defendants' marketed and promoted the XM15-
advertising and marketing the XM15-E2S in an unethical,             E2S in an unethical, oppressive, immoral, and unscrupulous
oppressive, immoral, and unscrupulous manner. Although the          manner. The defendants' primary argument with respect to the
complaint does not specifically *106 allege on what dates or        Product Liability Act relates to the plaintiffs' first theory of
over what period of time such marketing activities occurred,        liability. Because we have concluded that claims predicated
most of the plaintiffs' wrongful marketing claims are phrased       on the plaintiffs' first CUTPA based theory of liability are time
in the present tense and, therefore, may be understood **295        barred, however, we need not determine whether those claims
to allege that those activities continued through the time the      also are precluded by § 52-572n (a). Cf. footnote 14 of this
complaint was filed. In addition, the plaintiffs' allegation        opinion.
that Lanza selected the XM15-E2S on the morning of the
assault “because of its marketed association with the military”      [27] [28] With respect to the plaintiffs' second theory of
reasonably could be interpreted to mean that such marketing         liability, the defendants' fail to offer any explanation as to why
schemes remained in place at the time of the massacre,              the allegation that they wrongfully marketed the XM15-E2S
during the limitation period. Accordingly, because we are           by promoting the gun's use for illegal purposes—offensive,
compelled to construe the complaint liberally, in the manner        military style assault missions—amounts to a product defect
most favorable to sustaining its legal sufficiency, we conclude     claim. 33 There is no allegation in **296 the present case,
that, for present purposes, the plaintiffs' wrongful advertising    for example, that the marketing for the XM15-E2S contained
theory is not barred by CUTPA's statute of limitations. 32          inadequate warnings that made the weapon unreasonably
                                                                    dangerous.

                                                                    The defendants' sole argument in this regard is their
                               C
                                                                    contention that, in *108 Merrill v. Navegar, Inc., supra,
                                                                    26 Cal. 4th at 465, 110 Cal.Rptr.2d 370, 28 P.3d 116, the
       Connecticut Product Liability Act Preemption                 California Supreme Court rejected allegations of wrongful
                                                                    firearms marketing as disguised product liability claims. We
We next consider whether the trial court correctly determined
                                                                    read Merrill differently. It is true that the California Supreme
that § 52-572n (a), the exclusivity provision of the Product
                                                                    Court concluded that many of the negligent marketing and
Liability Act, does not bar the plaintiffs' CUTPA claims.
                                                                    distribution claims at issue in that case were barred by a
Section 52-572n (a) provides that “[a] product liability claim
                                                                    California statute that provided that a gun manufacturer may
as provided in [the Product Liability Act] may be asserted
                                                                    not be held liable in a product liability action on the basis
and shall be in lieu of all other claims against product sellers,
                                                                    that the benefits of its product fail to outweigh the product's
including actions of negligence, strict liability and warranty,
                                                                    risk of injury when discharged. Id., at 470, 110 Cal.Rptr.2d
for harm caused by a product.” The defendants' contend
                                                                    370, 28 P.3d 116; see Cal. Civ. Code § 1714.4 (a) (Deering
that all of the plaintiffs' CUTPA claims ultimately boil
                                                                    1994) (repealed in 2002). But the claims in Merrill, while
down to the argument that the XM15-E2S is unreasonably
                                                                    dressed in terms of negligent marketing and distribution,
dangerous for sale to the civilian market and, therefore, that
                                                                    were substantially similar to the claims of the plaintiffs in
manufacturers and distributors of that weapon should be held
                                                                    the present case, namely, that the sale of assault weapons to
strictly liable for any injuries resulting *107 from its misuse.
                                                                    the civilian market is inherently unreasonable because those
They contend that this is “nothing more than a [P]roduct
                                                                    weapons have no legitimate civilian purpose. See Merrill v.



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Navegar, Inc., supra, at 470, 480–81, 110 Cal.Rptr.2d 370, 28      will lie only if the deceased, had he or she survived, would
P.3d 116.                                                          have had a valid claim for the injuries that resulted in death.
                                                                   See part IV B of this opinion. For that reason, the plaintiffs
The only claims at issue in Merrill that were akin to the           *110 can prevail on their CUTPA based wrongful death
plaintiffs' immoral advertising claims were their allegations      claims only if CUTPA permits the recovery of damages for the
that Navegar, Inc. (Navegar), a gun manufacturer, advertised       decedents' injuries. As a matter of first impression, we hold
its semiautomatic assault pistols “as tough as your toughest       that CUTPA permits recovery for personal injuries that result
customer” and as featuring “excellent resistance to finger         directly from wrongful advertising practices. 35
prints,” which might have suggested that the weapons were
especially well suited for criminal use. (Internal quotation       Whether personal injuries give rise to cognizable CUTPA
marks omitted.) Id., at 471, 110 Cal.Rptr.2d 370, 28 P.3d 116.     damages presents a question of statutory interpretation.
In holding that the trial court had properly granted Navegar's     We begin by setting forth the relevant statutory language.
motion for summary judgment with respect to those “more            Subsection (a) of § 42-110g contains two clauses potentially
inflammatory aspects of Navegar's advertising”; id., at 489,       relevant to the issue before us. First, subsection (a) creates
110 Cal.Rptr.2d 370, 28 P.3d 116; however, the California          a private right of action for “[a]ny person who suffers any
Supreme Court relied not on the immunity provision in              ascertainable loss of money or property, real or personal, as a
California's product liability statute but, rather, on the facts   result of the use or employment of a method, act or practice
that (1) the plaintiffs in Merrill expressly disavowed any         prohibited by section 42-110b ....” This provision is known as
claims based on the specific content of Navegar's advertising;     the ascertainable loss clause. Second, subsection (a) provides
id., at 474, 487–88, 110 Cal.Rptr.2d 370, 28 P.3d 116; and         that any person so injured “may bring an action ... to recover
(2) there was no evidence that the shooter in that case ever       actual damages.” This provision of subsection (a) is known
had seen, let alone had been inspired by, any of Navegar's         as the actual damages clause.
 *109 allegedly inappropriate promotional materials. Id.,
at 471, 473, 488–91, 110 Cal.Rptr.2d 370, 28 P.3d 116.             The view of the plaintiffs is that these two clauses serve
Accordingly, we do not read Merrill as supporting the              distinct, independent functions within the statute and that only
defendants' contention that the wrongful advertising claims in     the actual damages clause restricts the types of damages that
the present case are merely masked product defect claims.          are available. Specifically, they contend that, although one
                                                                   must suffer some ascertainable loss of money or property
The defendants' have offered no other arguments as to why          in order to have standing to bring a CUTPA action, once
the plaintiffs' wrongful advertising claims represent veiled       the standing requirements set by the ascertainable loss clause
product liability claims. Accordingly, we conclude that those      have been satisfied, a successful plaintiff may recover not
claims are not precluded by § 52-572n (a). See Gerrity v.          only for those financial losses but for any and all actual
R.J. Reynolds Tobacco Co., supra, 263 Conn. at 124, 128,           damages. Relying on DiNapoli v. Cooke, 43 Conn. App. 419,
818 A.2d 769 (analyzing language of exclusivity provision          427, 682 A.2d 603, cert. denied, 239 Conn. 951, 686 A.2d
and concluding that claim that tobacco companies violated          124 (1996), cert. denied, 520 U.S. 1213, 117 S.Ct. 1699, 137
CUTPA by targeting minors with their cigarette advertising         L.Ed.2d 825 (1997), the plaintiffs further contend *111 that
did not allege product defect and, therefore, was not precluded    the term “actual damages” is synonymous with compensatory
by Product Liability Act).                                         or general damages and excludes only special damages such
                                                                   as nominal and punitive damages. Certainly, they contend,
                                                                   that term is sufficiently expansive to encompass personal
                               D                                   injuries.

                                                             [33] The defendants', by contrast, argue that the ascertainable
              CUTPA Personal Injury Damages                loss clause modifies and cabins the meaning of the actual
                                                           damages clause. In their view, the fact that a plaintiff
 [29]    [30]   [31]   [32] We next consider the defendants'
                                                           must have suffered some manner of financial loss to bring
argument that personal injuries resulting in death do not
                                                           a CUTPA action implies that the legislature intended to
give rise to cognizable **297 damages for purposes of
                                                           limit recovery to damages of that sort. Insofar as both of
CUTPA. 34 As we explained, an action for wrongful death    these interpretations of the statutory language are facially



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plausible, 36 we conclude that the statute is ambiguous             That view, if correct, strongly supports the conclusion that the
 **298 and that we may properly look to extratextual sources        presence of the ascertainable loss clause in the statute in no
to ascertain the intent of the legislature. See General Statutes    way restricts the damages that are available to plaintiffs who
§ 1-2z.                                                             have been directly and personally injured by an unfair trade
                                                                    practice.
The legislative histories of CUTPA and of the model
legislation on which CUTPA is based are largely silent with          [35] Second, we frequently have remarked that “CUTPA's
respect to the question of personal injury damages. R. Langer       coverage is broad and its purpose remedial.” (Internal
et al., 12 Connecticut Practice Series: Connecticut Unfair          quotation marks omitted.) *113 Cheshire Mortgage Service,
Trade Practices, Business Torts and Antitrust (2018–19 Ed.) §       Inc. v. Montes, 223 Conn. 80, 113–14, 612 A.2d 1130
6.7, pp. 849, 851. Nevertheless, four considerations persuade       (1992); see also 12 R. Langer et al., supra, § 2.5, p. 81.
us that the legislature did not intend to bar plaintiffs from       As we explained in part IV A of this opinion, whereas
recovering for personal injuries resulting from unfair trade        unfair trade practices such as false advertising and other
practices, at least under circumstances such as those presented     forms of commercial deception tend to result primarily in
here.                                                               financial harm, a principal evil associated with unethical and
                                                                    unscrupulous advertising is that viewers or innocent third
First, although both the plaintiffs' and the defendants'            parties will be physically injured as a result of dangerous or
interpretations of the statutory language are facially plausible,   illegal conduct depicted **299 in the advertisements. See,
the plaintiffs' reading of § 42-110g (a) is more reasonable.        e.g., Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 556–61,
While the term “actual damages” is not defined in CUTPA,            121 S.Ct. 2404, 150 L.Ed.2d 532 (2001). That is precisely
the term is used in other statutes in such a manner as to leave     what the plaintiffs in the present case allege. If personal
no doubt that actual damages include personal injuries. For         injuries are not recoverable under those circumstances, then
example, *112 General Statutes § 53-452 (a) provides in             no recovery will be available for a substantial category of
relevant part that “[a]ny person whose property or person           unfair trade practices, and the threat of private litigation will
is injured by [a computer crime committed in violation of]          not serve as a deterrent to such conduct. That outcome would
section 53-451 may bring a civil action in the Superior Court       be inconsistent with the stated intent of the legislature to
to enjoin further violations and to recover the actual damages      provide broad protection from unfair trade practices and to
sustained by reason of such violation ....” (Emphasis added.)       incentivize private enforcement of the law.


 [34] In addition, the plaintiffs' interpretation of the statute    Third, it is well established that the legislature intended
better comports with our analysis in Hinchliffe v. American         that Federal Trade Commission (FTC) rulings and cases
Motors Corp., supra, 184 Conn. at 612–20, 440 A.2d 810.             decided under the Federal Trade Commission Act (FTC
In that case, we considered the closely related question of         Act), 15 U.S.C. § 41 et seq. (2012 and Supp. V 2017),
whether the “ascertainable loss” requirement means that a           would “serve as a lodestar” for interpreting CUTPA's open-
CUTPA plaintiff must be able to prove that he or she has            ended language. 37 Russell v. Dean Witter Reynolds, Inc., 200
suffered actual damages in a particular amount. Id., at 612–        Conn. 172, 179, 510 A.2d 972 (1986). 38 *114 Notably,
13, 440 A.2d 810. We rejected that reading of the statute,          the FTC itself has construed the FTC Act as prohibiting
concluding that the ascertainable loss and actual damage            practices that are physically dangerous to consumers. See J.
clauses of § 42-110g (a) serve distinct purposes and that           Beales III, “Advertising to Kids and the FTC: A Regulatory
the legislature did not intend the term “ascertainable” to          Retrospective That Advises the Present,” 12 Geo. Mason
modify “actual damages.” Id., at 613–15, 440 A.2d 810. We           L. Rev. 873, 876 (2004). In In re International Harvester
also cited favorably the view of one legal scholar that “the        Co., 104 F.T.C. 949 (1984), for example, the FTC held that
only function served by a threshold ‘loss’ requirement in           a manufacturer's failure to adequately disclose safety risks
a consumer protection statute is to guard against vicarious         associated with fuel geysering in its tractors represented
suits by self-constituted attorneys general when they spot          an unfair trade practice that violated the FTC Act. See
an apparently deceptive advertisement in the newspaper, on          id., 1066–67. In reaching this conclusion, the FTC relied
television or in a store window.” Id., 615 n.6, 440 A.2d 810,       on the fact that fuel geysering is a hazard that creates
citing D. Rice, “New Private Remedies for Consumers: The            a substantial risk of injury or death: “There clearly has
Amendment of Chapter 93A,” 54 Mass. L.Q. 307, 314 (1969).           been serious consumer injury. At least one person has


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been killed and eleven others burned.... Many of the                    then, that wrongful advertising that poses a genuine risk of
burn injuries have been major ones, moreover, resulting in              physical harm falls under the broad purview of the FTC Act
mobility limitations, lasting psychological harm, and severe            and, by incorporation, CUTPA.
disfigurement.... These injuries are of a kind that satisfies
the ... unfairness test. It is true that they involve physical rather   Fourth, we observe that courts in several of our sister states
than economic injury, but the [u]nfairness [s]tatement reaches          have concluded that victims of unfair trade practices may
such matters.” (Citations omitted.) Id., at 1064; see also In           recover for personal injuries. See, e.g., Pope v. Rollins
re LabMD, Inc., Docket No. 9357, 2016 WL 521327, *12                    Protective Services Co., 703 F.2d 197, 203 (5th Cir. 1983)
(F.T.C. January 14, 2016) (“unquantifiable health and safety            (applying Texas law); *116 Maurer v. Cerkvenik-Anderson
risks” can give rise to unfair trade practice injuries).                Travel, Inc., 181 Ariz. 294, 297–98, 890 P.2d 69 (App.
                                                                        1994); Maillet v. ATF-Davidson Co., 407 Mass. 185, 192,
Of particular relevance to the present action, the FTC has,             552 N.E.2d 95 (1990). Although we recognize that the
on multiple occasions, found violations of the FTC Act when             statutory language at issue in those cases was not identical
companies have advertised or promoted their products in a               to the language at issue in this case, we nevertheless find it
manner that is likely to result in physical injury, even in             significant that sister courts have understood personal injuries
the absence of product sales. For example, the FTC has                  to fall within the scope of the harms to which broadly worded
required companies to refrain from advertising that depicts             consumer protection statutes are directed. In addition, we note
young children operating bicycles and tricycles in an unsafe            that a majority of Connecticut trial courts addressing the issue
or unlawful manner; In re AMF, Inc., 95 F.T.C. 310, 313–15              have concluded that damages for personal injuries can be
(1980); advertising the use of electric hairdryers by children          recovered under CUTPA. 12 R. Langer et al., supra, § 6.7,
in close proximity to a filled bathroom **300 sink; See                 p. 850. For all of these reasons, we conclude that, at least
In re Mego International, Inc., 92 F.T.C. 186, 187, 189–90              with respect to wrongful advertising claims, personal injuries
(1978); and advertising that depicts children attempting to             alleged to have resulted directly from such advertisements are
 *115 cook food without close adult supervision; In re Uncle            cognizable under CUTPA.
Ben's, Inc., 89 F.T.C. 131, 136 (1977); as well as promotional
giveaways that expose young children to unguarded razor
blades. See In re Philip Morris, Inc., 82 F.T.C. 16, 19 (1973).
                                                                                                       V
The FTC concluded that such marketing activities had the
tendency to induce behavior that involves an unreasonable
risk of harm to person or property and, therefore, constituted                     WRONGFUL DEATH AND CUTPA:
unfair trade practices.                                                              ISSUES OF FEDERAL LAW

                                                                        Having concluded that the plaintiffs have pleaded legally
 [36] In 1997, Federal Trade Commissioner Roscoe B. Starek
                                                                        cognizable CUTPA claims sounding in wrongful marketing,
III underscored the FTC's interest in combating unfair trade
                                                                        we next consider whether the trial court properly determined
practices that may result in physical injuries to children:
                                                                        that PLCAA does not bar the plaintiffs' wrongful death
“Although injury must be both substantial and likely” to draw
                                                                        claims. Our review of the federal statute persuades us that
the FTC's attention, “unwarranted health or safety risks can
                                                                        the trial court correctly concluded that CUTPA, as applied
suffice.” R. Starek III, “The ABCs at the FTC: Marketing
                                                                        to the plaintiffs' allegations, falls within one of PLCAA's
and Advertising to Children,” Address at the Minnesota
                                                                        exceptions.
Institute of Legal Education (July 25, 1997), available
at https://www.ftc.gov/public-statements/1997/07/abcs-ftc-
marketing-and-advertising-children (last visited March 8,
2019). More recently, the FTC has taken an interest in the                                             A
marketing of violent movies, songs, and video games to
children. See, e.g., Federal Trade Commission, Report to
                                                                                              PLCAA Overview
Congress, “Marketing Violent Entertainment to Children: A
Sixth Follow-up Review of Industry Practices in the Motion              [37] PLCAA generally affords manufacturers **301 and
Picture, Music Recording & Electronic Game Industries
                                                                        sellers of firearms 39 immunity from civil liability arising
(December, 2009), available at 2009 WL 5427633. It is clear,
                                                                        from the criminal or unlawful use of their products by


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third *117 parties. 15 U.S.C. §§ 7902 (a) and 7903 (5)
(A) (2012). 40 Congress carved out six exceptions to this                                      B
immunity, pursuant to which firearms sellers may be held
liable for third-party crimes committed with their products.
See 15 U.S.C. § 7903 (5) (A) (2012). The exception at issue                    The Plain Language of the Statute
in the present case, the predicate exception; see footnote
                                                                    [41] Both the plaintiffs and the defendants' contend that
12 of this opinion and accompanying text; permits civil
                                                                   the plain language of **302 the predicate exception, read
actions alleging that “a manufacturer or seller of a [firearm]
                                                                   in the context of the broader statute, unambiguously favors
knowingly violated a State or Federal statute applicable to the
                                                                   their position. In this part of the opinion, we explain why
sale or marketing of the [firearm], and the violation was a
                                                                   the plaintiffs' interpretation of the statutory language is
proximate cause of the harm for which relief is sought ....” 15
                                                                   plainly the more reasonable one. We consider the text of the
U.S.C. § 7903 (5) (A) (iii) (2012). The question presented by
                                                                   predicate exception itself, the broader statutory framework,
this appeal is whether CUTPA qualifies as such a predicate
                                                                   the congressional statement of findings and purposes, and
statute, that is, a “statute applicable to the sale or marketing
                                                                   the defendants' argument that treating CUTPA as a predicate
of [firearms] ....” (Emphasis added.) 15 U.S.C. § 7903 (5) (A)
                                                                   statute would lead to absurd results.
(iii) (2012). The answer to this question necessarily hinges
on the meaning and scope of the statutory term “applicable.”
                                                                Although we agree with the plaintiffs that their reading of
See Ileto v. Glock, Inc., 565 F.3d 1126, 1133 (9th Cir. 2009),
                                                                the statutory language is the better one, we recognize that
cert. denied, 560 U.S. 924, 130 S.Ct. 3320, 176 L.Ed.2d 1219
                                                                the defendants' interpretation is not implausible. Therefore,
(2010).
                                                                in part V C of the opinion, we also *119 review various
                                                                extrinsic sources of congressional intent to resolve any
 [38]     [39]    [40] “[W]e begin by setting forth the rules
                                                                ambiguities. Our review of both the statutory language and
and principles that govern our interpretation of federal law.
                                                                these extrinsic sources persuades us that Congress did not
With respect to the construction and application of federal
                                                                mean to preclude actions alleging that firearms companies
statutes, principles of comity and consistency require us to
                                                                violated state consumer protection laws by promoting their
follow the plain meaning rule ....” (Internal quotation marks
                                                                weapons for illegal, criminal purposes.
omitted.) CCT Communications, Inc. v. Zone Telecom, Inc.,
327 Conn. 114, 140, 172 A.3d 1228 (2017). “Under the
[federal] plain meaning rule, [l]egislative history and other
tools of interpretation *118 may be relied [on] only if the                                   1
terms of the statute are ambiguous.” (Internal quotation marks
omitted.) Webster Bank v. Oakley, 265 Conn. 539, 555, 830                          The Predicate Exception
A.2d 139 (2003), cert. denied, 541 U.S. 903, 124 S.Ct. 1603,
158 L.Ed.2d 244 (2004). “If the text of a statute is ambiguous,  [42] When construing a federal law in which key terms are
then we must construct an interpretation consistent with        undefined, we begin with the ordinary, dictionary meaning
the primary purpose of the statute as a whole.... Thus, our     of the statutory language. See, e.g., Maslenjak v. United
interpretive process will begin by inquiring whether the        States, ––– U.S. ––––, 137 S.Ct. 1918, 1924, 198 L.Ed.2d
plain language of [the] statute, when given its ordinary,       460 (2017). Looking to dictionaries that were in print around
common meaning ... is ambiguous.” (Citations omitted;           the time PLCAA was enacted, we find that the principal
internal quotation marks omitted.) Id., at 555–56, 830 A.2d     definition of “applicable” is simply “[c]apable of being
139. In assessing ambiguity, the meaning of the statute must    applied ....” Black's Law Dictionary (10th Ed. 2014) p. 120;
be evaluated not only by reference to the language itself but   accord Webster's Third New International Dictionary (2002)
also in the specific context in which that language is used, as p. 105.
well as in the broader context of the statute as a whole. New
York v. Beretta U.S.A. Corp., 524 F.3d 384, 400 (2d Cir. 2008), If Congress had intended to create an exception to PLCAA
cert. denied, 556 U.S. 1104, 129 S.Ct. 1579, 173 L.Ed.2d 675    for actions alleging a violation of any law that is capable
(2009).                                                         of being applied to the sale and marketing of firearms,
                                                                then there is little doubt that state consumer protection
                                                                statutes such as CUTPA would qualify as predicate statutes.



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CUTPA prohibits “unfair methods of competition and unfair
or deceptive acts or practices in the conduct of any trade or        [43] There is no doubt that statutes that govern the
commerce.” (Emphasis added.) General Statutes § 42-110b             advertising and marketing of firearms potentially qualify as
(a). Accordingly, the statute clearly is capable of being applied   predicate statutes. The predicate exception expressly provides
to the sale and marketing of firearms. The only state appellate     that the “qualified civil liability actions” from which firearms
court to have reviewed the predicate exception construed            sellers are immune shall not include “an action in which a
it in this manner; see Smith & Wesson Corp. v. Gary, 875            manufacturer or seller of a [firearm] knowingly violated a
N.E.2d 422, 431, 434–35 and n.12 (Ind. App. 2007) (predicate        State or Federal statute applicable to the sale or marketing of
exception unambiguously applies to any state law capable            the [firearm] ....” 42 (Emphasis added.) 15 U.S.C. § 7903 (5)
of being applied to sale or marketing of firearms), transfer        (A) (iii) (2012).
denied, 915 N.E.2d 978 (Ind. 2009).
                                                                     **304 Importantly, however, at the time PLCAA was
 *120 It is true that secondary dictionary definitions of           enacted, no federal statutes directly or specifically *122
“applicable” might support a narrower reading of the                regulated the marketing or advertising of firearms. In
predicate exception. Webster's Third New International              addition, only a handful of states have enacted firearm
Dictionary, for example, also defines “applicable” as “fit,         specific laws that address in any way the marketing function,
suitable, or right to be applied: appropriate ... relevant ....”    and none of those purports to comprehensively regulate the
Webster's Third New International Dictionary, supra, p. 105.
                                                                    advertising of firearms. 43 It would have made little sense for
Pursuant to such definitions, the Ninth Circuit concluded, it
                                                                    the drafters of the legislation to carve out an exception for
would not be unreasonable to read PLCAA to exempt only
                                                                    violations of laws applicable to the marketing of firearms if
those state laws that are exclusively relevant to the sale or
marketing of firearms. See Ileto v. Glock, Inc., supra, 565 F.3d    no such laws existed. 44
at 1134.
                                                                     *123 If Congress intended the predicate exception to
If Congress had intended to limit the scope of the predicate        encompass laws that prohibit the wrongful marketing of
exception to violations of statutes that are directly, expressly,   firearms, and if no laws expressly and directly do so, then the
or exclusively applicable to firearms, however, it easily could     only logical reading of the statute is that Congress had some
                                                                    other type of law in mind. What type? At both the federal
have used such language, as it has on other occasions. 41
                                                                    and state levels, false, deceptive, and other forms of wrongful
 **303 The fact that the drafters opted instead to use
                                                                    advertising are regulated principally through unfair trade
only the term “applicable,” which is susceptible to a broad
reading, further supports the plaintiffs' interpretation. See,      practice laws such as the FTC Act and its state analogues. 45
e.g., Scholastic Book Clubs, Inc. v. Commissioner of Revenue        We must presume that Congress was aware, when it enacted
Services, 304 Conn. 204, 219, 38 A.3d 1183 (“the legislature        PLCAA, that both the FTC Act and state analogues such
knows how to ... use broader or limiting terms when it chooses      as CUTPA have long been among the primary vehicles for
to do so” [citation omitted] ), cert. denied, 568 U.S. 940, 133     litigating claims that sellers of potentially dangerous products
S.Ct. 425, 184 L.Ed.2d 255 (2012).                                  such as firearms have marketed those products in an unsafe
                                                                    and unscrupulous manner. See Goodyear Atomic Corp. v.
                                                                    Miller, 486 U.S. 174, 185, 108 S.Ct. 1704, 100 L.Ed.2d
                                                                    158 (1988) (Congress is presumptively knowledgeable about
                            *121 2                                  pertinent federal and state law). CUTPA, for example, has
                                                                    long been construed to incorporate the FTC's traditional
                  The Statutory Framework                           “cigarette rule,” **305 which prohibits as unfair advertising
                                                                    that is, among other things, “immoral, unethical, oppressive
In construing the predicate exception, we also must consider        and unscrupulous.” 46 *124 Ivey, Barnum & O'Mara v.
the broader statutory framework. The plaintiffs' contention         Indian Harbor Properties, Inc., 190 Conn. 528, 539 and n.13,
that CUTPA qualifies as a predicate statute as applied to           461 A.2d 1369 (1983).
their wrongful marketing claims finds additional support in
the repeated statutory references to laws that govern the           Reading the predicate exception to encompass actions
marketing of firearms.                                              brought to remedy illegal and unscrupulous marketing



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practices under state consumer protection laws is consistent        practices relating to the sale of a Ruger pistol and three
with the approach followed by the United States Court of            remanufactured semiautomatic rifles violated CUTPA. 49
Appeals for the Second Circuit, *125 whose decisions                 *127 Id. The **307 court specifically found that the
“carry particularly persuasive weight in the interpretation         defendant's conduct was “oppressive” and, therefore, violated
of federal statutes by Connecticut state courts.” (Internal         the second prong of the cigarette rule, the same standard at
quotation marks omitted.) CCT Communications, Inc. v. Zone          issue in the present case. Id.
Telecom, Inc., supra, 327 Conn. at 140, 172 A.3d 1228. In
New York v. Beretta U.S.A. Corp., supra, 524 F.3d at 384,           Equally important, regulation of firearms advertising in our
the Second Circuit considered whether PLCAA barred the              sister states frequently has been accomplished under the
municipal plaintiffs' action alleging that distribution practices   auspices of state consumer protection and unfair trade practice
of the defendant firearms manufactures **306 and sellers
                                                                    laws. 50 It is clear, therefore, that consumer protection statutes
violated a New York criminal nuisance statute; see N.Y.
                                                                    such as CUTPA long have been an established mechanism for
Penal Law § 240.45 (McKinney 2008); by marketing guns to
                                                                    regulating the marketing and advertising schemes of firearms
legitimate buyers with the knowledge that those guns will be
                                                                    vendors.
diverted into illegal markets. See New York v. Beretta U.S.A.
Corp., supra, at 389–90. The court concluded that the action
                                                                     *128 The FTC Act and its various state analogues also have
should have been dismissed because the nuisance statute was
                                                                    been applied in numerous instances to the wrongful marketing
a law of general applicability that had never been applied
                                                                    of other potentially dangerous consumer products, especially
to the firearms trade and simply did not “encompass the
                                                                    with respect to advertisements that promote unsafe or illegal
conduct of firearms manufacturers of which the [municipal
plaintiffs] complain[ed].” Id., at 400. Notably, in reaching        conduct. 51 See S. Calkins, “ **308 FTC Unfairness: An
that conclusion, the Second Circuit held that the predicate         Essay,” 46 Wayne L. Rev. 1935, 1962, 1974 (2000). Although
exception encompasses not only laws that expressly regulate         Congress temporarily curtailed the FTC's authority to regulate
commerce in firearms but also those that “clearly can be said       unfair commercial advertising in 1980, that authority was
to implicate the purchase and sale of firearms,” as well as laws    reinstated in 1994. Id., 1954–55.
of general applicability that “courts have applied to the sale
                                                                    Subsequently, just a few years before Congress began
and marketing of firearms ....” 47 Id., at 404. CUTPA falls
                                                                    considering predecessor legislation to PLCAA, the FTC
squarely into both of these categories.
                                                                    entered into a new consent decree addressing wrongful
                                                                    advertising. In In re Beck's North America, Inc., 127 F.T.C.
 *126 Statutes such as the FTC Act and state analogues
                                                                    379 (1999), the commission prohibited the publication
that prohibit the wrongful marketing of dangerous consumer
                                                                    of advertisements that portrayed young adult passengers
products such as firearms represent precisely the types
                                                                    consuming alcohol while sailing, in a manner that was unsafe
of statutes that implicate and have been applied to the
                                                                    and depicted activities that “may also violate federal and
sale and marketing of firearms. In the early 1970s, for
                                                                    state boating safety laws.” Id., at 380. The consent decree
example, the FTC entered into consent decrees with three
                                                                    prohibited the “future dissemination ... of *129 any ...
firearms sellers relating to allegations that they had precluded
                                                                    advertisement that ... depicts activities that would violate
their dealers from advertising their guns at lower than
                                                                    [federal laws that make] it illegal to operate a vessel under the
established retail prices. 48 A few years later, the FTC ordered    influence of alcohol or illegal drugs.” (Citations omitted.) In
Emdeko International, Inc., a marketing company, to refrain         re Beck's North America, Inc., File No. 982-3092, 1998 FTC
from predatory and misleading advertising regarding various         LEXIS 83, *15–16, 1998 WL 456483, *6-7 (F.T.C. August
consumer products, including firearms. See In re National           6, 1998). More generally, the FTC cautioned that it “ha[d]
Housewares, Inc., 90 F.T.C. 512, 516, 587–88, 601–603               substantial concern about advertising that depicts conduct that
(1977).                                                             poses a high risk to health and safety. As a result, the [FTC]
                                                                    will closely scrutinize such advertisements in the future.” Id.,
CUTPA also has been applied to the sale of firearms. For
                                                                    at *6, 1998 FTC LEXIS 83, at *15. 52
example, in Salomonson v. Billistics, Inc., Superior Court,
Judicial District of New London, Docket No. CV-88-508292,
                                                                    Because Congress clearly intended that laws governing the
1991 WL 204385 (September 27, 1991), the plaintiff
                                                                    marketing of firearms would qualify as predicate statutes, and
prevailed on his claim that the defendant gun dealer's sales


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because Congress is presumed to be aware that the wrongful        solely caused by the criminal or unlawful misuse of firearm
marketing of dangerous items such as firearms for unsafe or       products” [emphasis added] ); Ileto v. Glock, Inc., supra, 565
illegal purposes traditionally has been and continues to be       F.3d at 1158 (Berzon, J., concurring in part and dissenting in
regulated primarily by consumer protection and unfair trade       part) (same). The statement of findings and purposes further
practice laws rather than by firearms specific statutes, we       provides that the purpose of PLCAA is “[t]o preserve a
conclude that the most reasonable reading of the statutory        citizen's access to a supply of firearms and ammunition for all
framework, in light of the decision of the Second Circuit in      lawful purposes, including hunting, self-defense, collecting,
New York v. Beretta U.S.A. Corp., supra, 524 F.3d at 384, is      and competitive or recreational shooting.” (Emphasis added.)
that laws such as CUTPA qualify as predicate statutes, insofar    15 U.S.C. § 7901 (b) (2) (2012). In the present case, the
as they apply to wrongful advertising claims. 53                  plaintiffs allege that the defendants' illegally marketed the
                                                                  XM15-E2S by promoting its criminal use for offensive
                                                                  civilian assaults, and that this wrongful advertising was a
                                                                  direct cause of the Sandy Hook massacre. At no time and in
                           *130 3                                 no way does the congressional statement indicate that firearm
                                                                  sellers should evade liability for the injuries that result if they
          The Statement of Findings and Purposes                  promote the illegal use of their products.

When it drafted PLCAA, Congress included a statement              Third, the findings make clear that Congress sought to
of findings and purposes. **309 See 15 U.S.C. § 7901              preclude only novel civil actions that are “based on theories
(2012). In his dissenting opinion, Justice Robinson reads         without foundation in hundreds of years of the common law
this statement to support the position of the defendants'. On     and jurisprudence of the United States and do not represent
balance, however, we conclude, for the following reasons,         a bona fide expansion of the common law,” recognition
that the congressional findings and purposes also lend support    of which “would expand civil liability in a manner never
to the plaintiffs' interpretation of the statute.                 contemplated ... by Congress ... or by the legislatures of
                                                                  the several States.” 15 U.S.C. § 7901 (a) (7) (2012). As
First, Title 15 of the 2012 edition of the United States Code,    we previously discussed, however, it is well established that
§ 7901 (a) (4), provides that “[t]he manufacture, importation,    the FTC Act and state analogues such as CUTPA not only
possession, sale, and use of firearms and ammunition in the       govern the marketing of firearms, but **310 also prohibit
United States are heavily regulated by Federal, State, and        advertisements *132 that promote or model the unsafe or
local laws ... [s]uch [as] ... the Gun Control Act of 1968,       illegal use of potentially dangerous products. Accordingly,
the National Firearms Act ... and the Arms Export Control         there is simply no reason to think that the present action
Act ....” (Citations omitted; emphasis added.) Notably,           represents the sort of novel civil action that Congress sought
this provision, which expressly references various firearms
                                                                  to bar. 55
specific laws, makes no mention of the marketing function.
By contrast, the very next finding expressly references the
                                                                  The dissent relies on one other provision of the statement of
“lawful ... marketing ... of firearms ....” 54 15 U.S.C. § 7901   findings and purposes that purportedly disqualifies CUTPA,
(a) (5) (2012). Reading these two findings in concert, it is      as applied to the plaintiffs' wrongful marketing theory,
clear that Congress chose not to abrogate the well established    as a potential predicate statute. Specifically, the statement
duty of firearms sellers to market their wares legally and        emphasizes the importance of preserving the rights enshrined
responsibly, even though no federal laws specifically govern      in the second amendment to the United States constitution.
the marketing of firearms.                                        See 15 U.S.C. § 7901 (a) (1), (2) and (6) (2012).

 *131 Second, although the findings indicate that Congress         [44] [45] There is no doubt that congressional supporters of
sought to immunize the firearms industry from liability           PLCAA were committed to Americans' second amendment
for third-party criminal conduct, they emphasize that that        freedoms and sought to secure those freedoms by immunizing
immunity extended only to “harm that is solely caused by          firearms companies from frivolous lawsuits. It is not at
others ....” (Emphasis added.) 15 U.S.C. § 7901 (a) (6) (2012);   all clear, however, that the second *133 amendment's
see also 15 U.S.C. § 7901 (b) (1) (2012) (principal purpose       protections even extend to the types of quasi-military,
of PLCAA is to prohibit causes of action “for the harm            semiautomatic assault rifles at issue in the present case.



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See District of Columbia v. Heller, 554 U.S. 570, 627, 128          virtually any action seeking to hold firearms sellers liable for
S.Ct. 2783, 171 L.Ed.2d 637 (2008) (indicating that second          third-party gun violence could allege a colorable violation of
amendment's protection does not extend to “ ‘dangerous              those statutes because the mere act of selling the weapons
and unusual weapons’ ” and, therefore, that M16s and                involved might be deemed to create a public nuisance.
related military style rifles may be banned); Kolbe v. Hogan,
849 F.3d 114, 143 (4th Cir.) (reading Heller to mean that            *135 We will assume, without deciding, that Judge Berzon
second amendment does not protect right to possess assault          is correct that, as a general matter, the predicate exception
weapons featuring high capacity magazines, such as AR-15),          cannot be so expansive as to fully encompass laws such
cert. denied, ––– U.S. ––––, 138 S.Ct. 469, 199 L.Ed.2d             as public nuisance statutes insofar as those laws reasonably
374 (2017); New York State Rifle & Pistol Assn., Inc. v.            might be implicated in any civil action arising from gun
Cuomo, 804 F.3d 242, 257 (2d Cir. 2015) (assuming for               violence. 57 Although we believe that **312 the plaintiffs'
sake of argument that second amendment does apply to                primary allegations—that any sale of assault weapons to the
semiautomatic assault weapons such as AR-15 but upholding           civilian market constitutes an unfair trade practice—would
outright prohibitions against civilian ownership of such            falter on this shoal, we need not address that issue more
weapons), cert. denied sub nom. Shew v. Malloy, ––– U.S.            fully in light of our determination that those allegations
––––, 136 S.Ct. 2486, 195 L.Ed.2d 822 (2016); see also              are time barred. See part IV B of this opinion. What is
Friedman v. Highland Park, 784 F.3d 406, 410–12 (7th Cir.),         clear, however, is that the plaintiffs' wrongful marketing
cert. denied, ––– U.S. ––––, 136 S.Ct. 447, 193 L.Ed.2d             allegations may proceed without crippling PLCAA. Those
483 (2015); Fyock v. Sunnyvale, 779 F.3d 991, 999 (9th Cir.         claims allege only that one specific family of firearms sellers
2015); Heller v. District of Columbia, 670 F.3d 1244, 1261          advertised one particular line of assault weapons in a uniquely
(D.C. Cir. 2011). Accordingly, we conclude that, on balance,        unscrupulous manner, promoting their suitability for illegal,
PLCAA's statement of findings and purposes also bears out           offensive assaults. As we have stated throughout this opinion,
the plaintiffs' interpretation of the statute, **311 namely, that   we do not know whether the plaintiffs will be able to prove
illegal marketing is not protected. 56                              those allegations to a jury. But we are confident that this
                                                                    sort of specific, narrowly framed wrongful marketing claim
                                                                    alleges precisely the sort of illegal conduct that Congress did
                                                                    not intend to immunize. For this reason, CUTPA's prohibition
                            *134 4
                                                                    against such conduct appears to fall squarely within the
                                                                    predicate exception and does not lead to an absurd result.
                        Absurd Result

We next address the defendants' argument that construing
a statute of general applicability such as CUTPA to be a                                        *136 C
predicate statute would lead to an absurd result. As one judge
has articulated, “the predicate exception cannot possibly                    Extrinsic Evidence of Congressional Intent
encompass every statute that might be ‘capable of being
applied’ to the sale or manufacture of firearms; if it did, the     Other courts that have construed the predicate exception
exception would swallow the rule, and no civil lawsuits would       are divided as to whether the exception unambiguously
ever be subject to dismissal under ... PLCAA.” (Emphasis            encompasses laws, such as CUTPA, that do not expressly
omitted.) Ileto v. Glock, Inc., supra, 565 F.3d at 1155 (Berzon,    regulate firearms sales and marketing but are nevertheless
J., concurring in part and dissenting in part).                     capable of being and have been applied thereto. Compare
                                                                    Ileto v. Glock, Inc., supra, 565 F.3d at 1133–35 (predicate
Of course, to surmount PLCAA immunity via the predicate             exception is ambiguous), and New York v. Beretta U.S.A.
exception, there must be at least a colorable claim that a          Corp., supra, 524 F.3d at 401 (same), with Smith & Wesson
defendant has, in fact, violated some statute, resulting in         Corp. v. Gary, 875 N.E.2d 422, 431, 434 and n.12 (Ind.App.
harm to the plaintiff. Accordingly, Judge Berzon's argument         2007) (predicate exception unambiguously applies), and New
appears to be predicated on the assumptions that (1) most           York v. Beretta U.S.A. Corp., supra, at 405–407 (Katzmann, J.,
states have public nuisance statutes or similar laws, such          dissenting) (same). In part V B of this opinion, we explained
as the California nuisance statutes at issue in Ileto, and (2)      why the plain text of 15 U.S.C. § 7903 (5) (A) (iii) strongly



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suggests that CUTPA, as applied to the plaintiffs' claims,        Materials, 7 Conn. Supp. 264, 277–78 (1939), rev'd on other
qualifies as a predicate statute. In this part, we explain        grounds, 126 Conn. 428, 11 A.2d 863 (1940). Accordingly,
why extrinsic indicia of congressional intent support the         we will find the plaintiffs' CUTPA action to be superseded
same conclusion. These indicia include canons of statutory        by PLCAA only if that is the clearly expressed intent of
construction, closely related legislation, and the legislative    Congress. 58
history of PLCAA.
                                                                   *138 In the case of PLCAA, there is no indication in
                                                                  the statutory text or statement of findings and purposes
                              1                                   that Congress intended to restrict the power of the states
                                                                  to regulate wrongful advertising, particularly advertising
                                                                  that encourages consumers to engage in egregious criminal
             Canons of Statutory Construction                     conduct. Indeed, sponsors of the legislation repeatedly
                                                                  emphasized during the legislative hearings that they did
 [46] Under the law of the Second Circuit, if the plain
language of a statute is ambiguous, we then consider whether      not intend to abrogate well established legal principles. 59
any ambiguities may be resolved by the application of canons      Accordingly, in the absence of a clear statement in the
of statutory construction and, failing that, through review of    statutory text or legislative history that Congress intended
the legislative history. E.g., United States v. Rowland, 826      to supersede the states' traditional authority to regulate the
F.3d 100, 108 (2d Cir. 2016), cert. denied, ––– U.S. ––––, 137    wrongful advertising of dangerous products such as firearms,
S.Ct. 1330, 197 L.Ed. 2d 517 (2017). In the present case, three   we are compelled to resolve any textual ambiguities in favor
canons of construction are potentially relevant.                  of the plaintiffs.



                           *137 a                                                                b


               Clear Statement Requirement                                              Ejusdem Generis

 [47] [48] [49] We begin with the well established canon           [50] The defendants' contend that a different canon of
that a federal law is not to be construed to have superseded      construction, namely, ejusdem generis, essentially resolves
the historic police powers of the states unless that was the      any statutory ambiguity in their favor. Specifically, from the
clearly expressed and manifest purpose of Congress. E.g.,         fact that PLCAA provides two examples of predicate federal
 **313 Cipollone v. Liggett Group, Inc., 505 U.S. 504, 516,       statutes, **314 both of which specifically relate to firearms,
112 S.Ct. 2608, 120 L.Ed.2d 407 (1992); Rice v. Santa Fe          the defendants' infer that all predicate *139 statutes must be
Elevator Corp., 331 U.S. 218, 230, 67 S.Ct. 1146, 91 L.Ed.        of that same ilk. 60 We are not persuaded.
1447 (1947); Federal Housing Finance Agency v. Nomura
Holding America, Inc., 873 F.3d 85, 112 n.30 (2d Cir. 2017),      When it drafted the predicate exception, Congress set forth
cert. denied, ––– U.S. ––––, 138 S.Ct. 2679, 201 L.Ed.2d          two examples of statutes that are applicable to the sale or
1073 (2018), and cert. denied sub nom. Findlay v. Federal         marketing of firearms. PLCAA provides that entities engaged
Housing Finance Agency, ––– U.S. ––––, 138 S.Ct. 2697,            in the firearms business are not immune from liability with
201 L.Ed.2d 1073 (2018). The regulation of advertising that       respect to “an action in which a manufacturer or seller of
threatens the public health, safety, and morals has long been     a [firearm] knowingly violated a State or Federal statute
considered a core exercise of the states' police powers. See,     applicable to the sale or marketing of the [firearm] ...
e.g., Altria Group, Inc. v. Good, 555 U.S. 70, 77, 129 S.Ct.      including—
538, 172 L.Ed.2d 398 (2008); Semler v. Oregon State Board
of Dental Examiners, 294 U.S. 608, 611–12, 55 S.Ct. 570, 79       “(I) any case in which the manufacturer or seller knowingly
L.Ed. 1086 (1935); Varney & Green v. Williams, 155 Cal. 318,      made any false entry in, or failed to make appropriate entry in,
321, 100 P. 867 (1909), overruled in part on other grounds by     any record required to be kept under Federal or State law with
Metromedia, Inc. v. San Diego, 26 Cal. 3d 848, 164 Cal.Rptr.      respect to the [firearm], or aided, abetted, or conspired with
510, 610 P.2d 407 (1980); State v. Certain Contraceptive          any person in making any false or fictitious oral or written



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statement with respect to any fact material to the lawfulness        S. 1805, supra, § 4; H.R. 1036, supra, § 4. Notably, however,
of the sale or other disposition of a [firearm]; or                  they did not include the record keeping or the unlawful buyer
                                                                     exception. Indeed, they did not offer any specific examples of
“(II) any case in which the manufacturer or seller aided,            predicate statutes.
abetted, or conspired with any other person to sell or
otherwise dispose of a [firearm], knowing, or having                 The legislative history indicates that the record keeping
reasonable cause to believe, that the actual buyer of the            and unlawful buyer illustrations were added to the bill that
[firearm] was prohibited from possessing or receiving a              became law during the 109th Congress not to define or clarify
firearm ... under subsection (g) or (n) of section 922 of title 18   the narrow scope of the exception but, rather, because, in
[of the United States Code] ....” 61 15 U.S.C. § 7903 (5) (A)        2002, two snipers had terrorized the District of Columbia
(iii) (2012) (setting forth record keeping and unlawful buyer        and surrounding areas. One of the snipers allegedly stole a
exceptions).                                                         Bushmaster XM-15 semiautomatic rifle identical or similar to
                                                                     the one at issue in the present case from a gun dealer with a
 *140 [51] The defendants' argue that we can discern the             history of lax inventory control procedures. 62 In 2003, the
scope of the predicate exception by applying ejusdem generis.        families of the victims of the sniper attacks brought a civil
That canon applies when a statute sets forth a general category      action against the gun dealer that ultimately resulted in a
of persons or things and then enumerates specific examples           $ 2.5 million settlement. 63 During the legislative debates,
thereof. In those cases, when the scope of the general category      many of the members who spoke in opposition to the bill
is unclear, a presumption, albeit a rebuttable one, may arise        that ultimately became PLCAA argued that the bill would
that the general category encompasses only things similar            have prevented victims of the sniper attacks from bringing
in nature to the specific examples that follow. See, e.g., 2A        an action against that gun dealer, even though the dealer's
N. Singer & S. Singer, Statutes and Statutory Construction           carelessness had allowed the snipers to obtain the assault
(7th Ed. 2014) § 47:17, pp. 364–68. Several courts have
                                                                     weapon. 64 Indeed, it was in part for *142 that very reason,
acknowledged the potential relevance of the canon when
                                                                     and the public outcry over the sniper attacks, that prior
construing the predicate exception. See, e.g., New York v.
Beretta U.S.A. Corp., supra, 524 F.3d at 401–402.                    versions of the bill failed to pass. 65


 [52] It is well established, however, that ejusdem generis,         To deflect these potent political attacks, the author and other
like other canons of construction, is merely a tool to assist us     supporters of the 2005 incarnation of the bill pointed to the
in gleaning the intent of Congress; it should not be applied         recently added record keeping and illegal buyer exception
in the face of a contrary **315 manifestation of legislative         language as evidence that victims of the sniper attacks would
intent. Helvering v. Stockholms Enskilda Bank, 293 U.S. 84,          not have been barred from pursuing their action under the
88–89, 55 S.Ct. 50, 79 L.Ed. 211 (1934); 2A N. Singer & S.           predicate exception. 66 Indeed, **316 several legislators
Singer, supra, § 47:22, pp. 400–404. This is particularly true,      strongly suggested that these examples of predicate statutes
for example, when the legislative history of a statute reveals a     were specifically added to PLCAA to make clear that the
contrary intent. See 2A N. Singer & S. Singer, supra, § 47:22,       lawsuits arising from the sniper attacks would not have been
pp. 404–405.                                                         barred by PLCAA. 67

In the case of PLCAA, the legislative history of the statute         The most reasonable interpretation of this legislative history,
makes clear why Congress specifically chose to include the           then, is that the record keeping and unlawful *143 buyer
record keeping and unlawful buyer exceptions when drafting           illustrations were included in the final version of PLCAA
the final version of the predicate *141 exception. Bills             not in an effort to define, clarify, or narrow the universe of
substantially similar to PLCAA had been introduced in both           laws that qualify as predicate statutes but, rather, simply to
the 107th Congress and the 108th Congress. See S. 1805,              stave off the politically potent attack that PLCAA would have
108th Cong. (2003), H.R. 1036, 108th Cong. (2003); H.R.              barred lawsuits like the one that had arisen from the widely
2037, 107th Cong. (2001). Those bills contained the same             reported Beltway sniper attacks. There is no other plausible
exemption for “State or Federal statute[s] applicable to the         explanation for why Congress chose to modify the predicate
sale or marketing of [firearms]” that ultimately was codified        exception language contained in the 2001 and 2003 bills,
at 15 U.S.C. § 7903 (5) (A) (iii). H.R. 2037, supra, § 4; accord     which otherwise was “virtually identical” to the language in


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PLCAA. 151 Cong. Rec. 2561 (2005), remarks of Senator
Larry Edwin Craig; see also id., 18,096, remarks of Senator
                                                                                                   2
Craig (indicating that bill is same for all intents and purposes
as version introduced during 108th Congress, with addition
of clarifying examples).                                                                  Related Legislation

                                                                    We also find it instructive that, in early 2005, at approximately
This conclusion is bolstered by the fact that Congress was
                                                                    the same time that the proposed legislation that ultimately
fully aware that there are many types of federal statutes
                                                                    became PLCAA was introduced, bills were introduced in
and regulations, filling “hundreds of pages,” that specifically
                                                                    both the House of Representatives *145 and the Senate
govern the firearms industry. 151 Cong. Rec. 18,059 (2005),
                                                                    that would have bestowed PLCAA-type immunity on fast
remarks of Senator Thomas Allen Coburn. Indeed, 18 U.S.C.
                                                                    food restaurant companies to protect them from lawsuits
§ 922 is dedicated to delineating dozens of different unlawful
                                                                    seeking to hold them liable for consumers' obesity and related
acts relating to the production, distribution, and sale of
firearms. Congress could have simply identified 18 U.S.C.           health problems. 70 Both bills contained language that was
§ 922, or the other federal firearms laws to which Senator          substantially similar to PLCAA's predicate exception: “A
Coburn alluded, as examples of predicate statutes. Instead,         qualified civil liability action shall not include ... an action
the author of PLCAA opted to highlight only the two specific        based on allegations that ... a manufacturer or seller of [food]
subsections of 18 U.S.C. § 922—subsection (g) and (n)—that          knowingly violated a Federal or State statute applicable to the
would have barred the Beltway snipers from obtaining the            marketing, advertisement, or labeling of [food] with intent for
weapon used in the shootings.                                       a person to rely on that violation ....” S. 908, 109th Cong. § 4
                                                                    (2005); accord H.R. 554, 109th Cong. § 4 (2005). The House
Under similar circumstances, when it is clear that examples         Report accompanying H.R. 554 made clear that “applicable”
have been included in a statute for purposes of emphasis or in      statutes for purposes of that bill were not limited to laws, such
response to recent, high profile events, rather than to restrict    as the Federal Food, Drug and Cosmetic Act; 21 U.S.C. §
the scope of coverage, both the United States Supreme Court         301 et seq. (2012); that directly and specifically regulate the
and the lower federal courts have declined to apply canons,         food industry. Rather, the report indicated that state consumer
including ejusdem generis, to construe a statutory provision        protection laws, such as CUTPA, also qualified as predicate
                                                                    statutes, even though they are laws of general applicability
overly *144 narrowly. 68 For similar reasons, we conclude
                                                                    that do not expressly address food and beverage marketing or
that the ejusdem generis **317 canon is not applicable to
                                                                    labeling: “Every state has its own deceptive trade practices
the predicate exception.
                                                                    laws, and a knowing violation of any of such state laws could
                                                                    allow suits to go forward under the legislation if the criteria
                                                                    specified ... are met.” 71 H.R. Rep. No. 109-130, p. 8 (2005).
                               c
                                                                     **318 We recognize that these bills never became law and
      Statutory Exceptions To Be Construed Narrowly                 also that food and firearms are different types of products
                                                                    that implicate different risks and concerns. Nevertheless,
 [53] Citing Commissioner of Internal Revenue v. Clark, 489          *146 we cannot ignore the fact that PLCAA and the fast
U.S. 726, 739, 109 S.Ct. 1455, 103 L.Ed.2d 753 (1989),              food bills were introduced at essentially the same time, with
the defendants' rely on another canon, contending that the
                                                                    substantially similar language and structure. 72 See 2B N.
predicate exception, like other statutory exceptions, must
                                                                    Singer & J. Singer, Statutes and Statutory Construction (7th
be construed narrowly to preserve the primary purpose of
                                                                    Ed. 2012) § 51:4, pp. 275–76 (vetoed bills and repealed
PLCAA. As we explained, however, our review of the
                                                                    statutes may be construed in pari materia to assist in
statutory language strongly suggests that the defendants' have
                                                                    interpreting ambiguous legislation). In light of this fact,
misperceived the primary purpose of PLCAA, which is not
                                                                    there is good reason to believe that legislators would have
to shield firearms sellers from liability for wrongful or illegal
                                                                    understood the term “statute applicable to” in 15 U.S.C. §
conduct. If Congress had intended to supersede state actions
                                                                    7903 (5) (A) (iii) as similarly encompassing an action under
of this sort, it was required to make that purpose clear. 69        CUTPA against a company that unethically markets firearms
                                                                    for illegal purposes.



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                                                                   In addition, during the course of the legislative debates, many
                                                                   legislators either expressly stated or clearly implied that the
                                                                   only actions that would be barred by PLCAA would be ones in
                               3
                                                                   which a defendant bore absolutely no responsibility or blame
                                                                   for a plaintiff's injuries and was, in essence, being held strictly
             The Legislative History of PLCAA                      liable for crimes committed with firearms that it had merely
                                                                   produced or distributed. See Ileto v. Glock, Inc., supra, 565
Finally, to the extent that any ambiguities remain unresolved,
                                                                   F.3d at 1159 (Berzon, J., concurring in part and dissenting in
we consider the legislative history of PLCAA. Although the
                                                                   part). One cosponsor, for example, emphasized that “the heart
extensive history of the statute presents something of a mixed
                                                                   of this bill” was that one can be held liable for violating a
bag, our review persuades us that Congress did not intend
                                                                   statute during the production, distribution, or sale of firearms,
to limit the scope of the predicate exception to violations of
                                                                   “[b]ut we are not going to extend it to a concept where you
firearms specific laws or to confer immunity from all claims
                                                                   are responsible, after you have done everything right, for what
alleging that firearms sellers violated unfair trade practice
                                                                   somebody else may do who bought your product and they did
laws.
                                                                   it wrong and it is their fault, not yours.” (Emphasis added.)
                                                                   151 Cong. Rec. 18,920 (2005), remarks of Senator Lindsey
During the legislative debates, opponents of the proposed
                                                                   O. Graham. Another cosponsor explained the essential evil
legislation that became PLCAA repeatedly questioned why
                                                                   to which the bill was directed: “It is out of that fear and
it was necessary to confer immunity on the firearms industry
                                                                   concern that we have mayors and cities passing laws that
when, in their view, only a very small number of gun violence
                                                                   create strict liability .... [Firearms sellers have] become ...
related lawsuits had been filed against firearms manufacturers
                                                                   insurer[s] against criminal activity by criminals.” Id., 18,924,
and distributors, most of which had been dismissed at the
                                                                   remarks of Senator Jefferson Beauregard Sessions III. Senator
trial court level. 73 *147 In response, PLCAA's sponsor            Sessions added: “That is what we are trying to curtail here—
and several of PLCAA's cosponsors described the specific           this utilization of the legal system ....” Id.
types of lawsuits that the legislation was intended to prohibit.
See footnotes 74 and 76 of this opinion. They emphasized            *149 A common theme running through supporters'
that their primary concern was not with lawsuits such as the       statements was that holding a firearms seller liable for third-
present action, in which individual plaintiffs who have been       party gun violence for which the seller is wholly blameless
harmed in a specific incident of gun violence seek to hold         is no different from holding producers of products such
the sellers responsible for their specific misconduct in selling   as automobiles, matches, baseball bats, and knives strictly
the weapons involved. See id. Many proponents indicated that       liable when those ubiquitous but potentially dangerous items
their intent was to preclude the rising number of instances in     are inappropriately or illegally used to commit crimes. As
which municipalities and “anti-gun activists” filed “junk” or      the author of PLCAA, Senator Craig, explained: “If a gun
“frivolous” lawsuits targeting the entire firearms industry. 74    manufacturer is held liable for the harm done by a criminal
As one cosponsor of the legislation explained, “[t]his bill is     who misuses a gun, then there is nothing to stop the
only intended to protect law-abiding members of the firearms       manufacturers of any product used in crimes from having to
industry from nuisance suits that have no basis in current law,    bear the costs resulting from the actions of those criminals.
that are only intended to regulate the industry or harass the      So as I mentioned earlier, automobile manufacturers will have
industry or put it out **319 of business ... which are [not]       to take the blame for the death of a bystander who gets in
appropriate purposes for a lawsuit.” 75 151 Cong. Rec. 18,104      the way of the drunk driver. The local hardware store will
                                                                   have to be held responsible for a kitchen knife it sold, if
(2005), remarks of Senator Max Sieben Baucus. 76 In the
                                                                   later that knife is used in the commission **320 of a rape.
present action, by contrast, *148 the private victims of one
                                                                   The baseball team whose bat was used to bludgeon a victim
specific incident of gun violence seek compensation from the
                                                                   will have to pay the cost of the crime. The list goes on and
producers and distributors of a single firearm on the basis of
                                                                   on.” Id., 18,085. The implication of this argument is that
alleged misconduct in the specific marketing of that firearm.
                                                                   legislators' primary concern was that liability should not be
Few if any of the bill's sponsors indicated that cases of this
                                                                   imposed in situations in which the producer or distributor of
sort were what PLCAA was intended to preclude.
                                                                   a consumer product bears absolutely no responsibility for the
                                                                   misuse of that product in the commission of a crime. There is



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no indication that the sponsors of PLCAA believed that sellers      unreasonable risk that viewers would engage in unsafe or
of those consumer products should be shielded from liability        illegal conduct. 80
if, for example, an automobile manufacturer advertised that
the safety features of its vehicles made them ideally suited for     *152 The defendants', purporting to rely on the decision
drunk driving, or if a sporting goods dealer ran advertisements     of the Ninth Circuit in Ileto, argue that the legislative
encouraging high school baseball players to hurl their bats at      history of PLCAA supports a more restrictive view of
the opposing pitcher in retaliation for an errant pitch. That is,   the scope of the predicate exception. We read Ileto
in essence, what the plaintiffs have alleged in the present case.   differently. As we noted; see footnote 47 of this opinion;
                                                                    the court in that case concluded that “congressional
To the extent that supporters of PLCAA were concerned with          speakers' statements concerning the scope of ... PLCAA
lawsuits other than those seeking to hold *150 firearms             reflected the understanding that manufacturers and sellers
sellers strictly liable for gun violence, they consistently         of firearms would be liable only for statutory violations
expressed that their intention was to foreclose novel legal         concerning firearm[s] regulations or sales and marketing
theories that had been developed by anti-gun activists with         regulations.” (Emphasis added.) Ileto v. Glock, Inc., supra,
the goal of putting firearms sellers out of business. 77 The        565 F.3d at 1137. Because CUTPA specifically regulates
author of the legislation explained as follows: “As we have         commercial sales and marketing activities such as those at
stressed repeatedly, this legislation will not bar the courthouse   issue in the present case; see, e.g., Izzarelli v. R.J. Reynolds
doors to victims who have been harmed by the negligence             Tobacco Co., 117 F.Supp.2d 167, 178 (D. Conn. 2000); it falls
or misdeeds of anyone in the gun industry. Well recognized          squarely within the predicate exception, as Ileto construed the
causes of action are protected by the bill. Plaintiffs can still    legislative history.
argue their cases for violations of law .... The only lawsuits
this legislation seeks to prevent are novel causes of action that    **322 We do not dispute that, over the course of the
have no history or grounding in legal principle.” Id., 18,096,      hundreds of pages of coverage of the legislative debates, a
remarks of Senator Craig. In addition, a number of lawmakers        few congressional supporters of PLCAA made a few brief
emphasized that the legislation was primarily directed at           references to predicate statutes as being firearms specific. 81
heading off unprecedented tort theories, 78 which explains          What the defendants' have overlooked, however, *153 are
why the predicate exception expressly preserved liability for       the dozens of statements by PLCAA's drafter and cosponsors
statutory violations. See Ileto v. Glock, Inc., supra, 565 F.3d     that imply or directly state that the predicate exception applies
at 1135 (“Congress clearly intended to preempt common-              far more broadly, such that firearms companies may be held
law claims, such as general tort theories of liability”); id.,      liable for violation of any applicable law, and not only those
at 1160–61 (Berzon, J., concurring in part and dissenting in        laws that specifically govern the firearms trade. Indeed, in the
part) (“[PLCAA] was viewed essentially as a [tort reform]           vast majority of instances in which the predicate exception
measure, aimed at restraining the supposed expansion of tort        was discussed during the legislative debates, proponents
liability”).                                                        spoke in broad, general terms, indicating that the bill would
                                                                    not immunize firearms companies that had engaged in any
As we discussed previously, the plaintiffs' theory of liability     illegal activity. 82
                                       79
is not novel; nor does it sound in tort. The *151 plaintiffs
 **321 allege that the defendants' engaged in unfair trade           *154 Several cosponsors of the bill that became PLCAA
practices in violation of CUTPA, a statute that was enacted in      specifically explained that it would not preclude victims of
1973. See P.A. 73-615. Furthermore, CUTPA, by its express           gun violence from holding firearms companies accountable
terms, is modeled on the FTC Act; see General Statutes §            for injuries resulting from their **323 gross negligence
42-110b (b); which has been in effect for more than one             or reckless conduct, because, essentially, any such conduct
century. See Act of September 26, 1914, Pub. L. No. 63-203,         would be in violation of some state or federal law. See,
38 Stat. 717. As we explained, the FTC Act and its state            e.g., 151 Cong. Rec. 18,919 (2005), remarks of Senator Jon
counterparts have long been used to regulate not only the sale      Llewellyn Kyl (“[M]ost of the acts that would meet the
and marketing of firearms but also claims that sellers of other     definition of gross negligence would already be in violation
dangerous products have advertised their wares in a manner          of law. And if they are in violation of law, they are not
that modeled or promoted unsafe behavior and created an             exempted from this legislation. We don't try to exempt any
                                                                    gun manufacturer for conduct [that] is in violation of law. So


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by definition that would be an exemption from the provisions
of the bill .... The bottom line here is that if there really is
                                                                                           CONCLUSION
a problem, that is to say, the conduct is so bad that it is a
violation of law, no lawsuit is precluded under our bill in any     It is, of course, possible that Congress intended to broadly
way.... So in fact if the gross negligence or reckless conduct      immunize firearms sellers from liability for the sort of
of a person was the proximate cause of death or injury—             egregious misconduct that the plaintiffs have alleged but
that is the allegation—you are in court irrespective of this        failed to effectively express that intent in the language of
bill ....”); id., 18,922, remarks of Senator Orrin Grant Hatch      PLCAA or during the legislative hearings. If that is the case,
(“[v]irtually any act that would meet the definition of gross       and in light of the difficulties that *157 the federal courts
negligence ... would already be a violation of [f]ederal, [s]tate   have faced in attempting to distill a clear rule or guiding
or local law, and therefore would not receive the protection of     principle from the predicate exception, Congress may wish to
this law anyway”). The clear implication of these comments          revisit the issue and clarify its intentions.
is that the *155 predicate exception extends beyond firearms
specific laws and encompasses laws such as CUTPA, which             We are confident, however, that, if there were credible
prohibit wholly irresponsible conduct such as the wrongful          allegations that a firearms seller had run explicit
advertising of potentially dangerous products for criminal or       advertisements depicting and glorifying school shootings,
illegal purposes.                                                   and promoted its products in video games, such as
                                                                    “School Shooting,” that glorify and reward such unlawful
The strongest support for the defendants' reading of the
                                                                    conduct, 85 and if a troubled young man who watched those
legislative history is a passing statement by the author of
                                                                    advertisements and played those games were inspired thereby
PLCAA, Senator Craig, that “[t]his bill does not shield ...
                                                                    to commit a terrible crime like the ones involved in the
[those who] have violated existing law ... and I am referring
                                                                    Sandy Hook massacre, then even the most ardent sponsors of
to the [f]ederal firearms laws ....” Id., 18,085. That statement
                                                                    PLCAA would not have wanted to bar a consumer protection
was made, however, in the context of a discussion of the
                                                                    lawsuit seeking to hold the supplier accountable for the
federal record keeping requirements that govern sales of
                                                                    injuries wrought by such unscrupulous marketing practices.
firearms, requirements that are indisputably specific to that
                                                                    That is not this case, and yet the underlying legal principles
industry. At no point did Senator Craig suggest that, in his
                                                                    are no different. Once we accept the premise that Congress did
opinion, the only state laws that qualify as predicate statutes
                                                                    not intend to immunize firearms suppliers who engage in truly
are those that specifically regulate the firearms industry.
                                                                    unethical and irresponsible marketing practices promoting
Rather, on numerous occasions during the legislative debates,
                                                                    criminal conduct, and given that statutes such as CUTPA are
Senator Craig categorically stated that the bill was intended
                                                                    the only means available to address those types of wrongs,
to protect only law abiding firearms companies that had not
                                                                    it falls to a jury to decide whether the promotional schemes
violated any federal or state law. 83 “As we have stressed          alleged in the present case rise to the level of illegal trade
repeatedly,” **324 Senator *156 Craig emphasized, “this             practices and whether fault for the tragedy can be laid at their
legislation will not bar the courthouse doors to victims who        feet.
have been harmed by the negligence or misdeeds of anyone
in the gun industry. Well recognized causes of action are            **325 For the foregoing reasons, we conclude that the trial
protected by the bill. Plaintiffs can still argue their cases       court properly determined that, although most of the plaintiffs'
for violations of law ....” 84 Id., 18,096. Accordingly, we         claims should have been dismissed, PLCAA does not bar the
conclude that the legislative history of PLCAA does not             plaintiffs' wrongful marketing claims and that, at least to the
support the defendants' contention that Congress intended to        extent that it prohibits the unethical advertising of dangerous
shield them from potential liability for the types of CUTPA         products for illegal *158 purposes, CUTPA qualifies as a
violations that the plaintiffs have alleged.                        predicate statute. Specifically, if the defendants' did indeed
                                                                    seek to expand the market for their assault weapons through
                                                                    advertising campaigns that encouraged consumers to use the
                                                                    weapons not for legal purposes such as self-defense, hunting,
                               VI
                                                                    collecting, or target practice, but to launch offensive assaults
                                                                    against their perceived enemies, then we are aware of nothing
                                                                    in the text or legislative history of PLCAA to indicate that


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Congress intended to shield the defendants' from liability for     concludes that the claims made by the plaintiffs 4 under the
the tragedy that resulted.                                         Connecticut Unfair Trade *162 Practices Act (CUTPA),
                                                                   General Statutes § 42-110a et seq., which are founded on
The judgment is reversed with respect to the trial court's         a theory that wrongful and unscrupulous advertising by the
ruling that the plaintiffs lack standing to bring a CUTPA
                                                                   defendants', 5 who manufactured, distributed, and sold the
claim and its conclusion that the plaintiffs' wrongful death
                                                                   Bushmaster AR-15 rifle, Model XM15-E2S, was a substantial
claims predicated on the theory that any sale of military
                                                                   factor in the criminal activity of the shooter at the Sandy
style assault weapons to the civilian market represents an
                                                                   Hook School on December 14, 2012, are not preempted by the
unfair trade practice were not barred under the applicable
                                                                   arms act because CUTPA is a predicate statute for purposes
statute of limitations, and the case is remanded for further
                                                                   of the predicate exception. Having considered the text and
proceedings according to law; the judgment is affirmed in all
                                                                   legislative history of the arms act, I adopt a contrary answer
other respects.
                                                                   to this national question of first impression, and conclude
                                                                   that the predicate exception encompasses only those statutes
                                                                   that govern the sale and marketing **328 of firearms and
In this opinion McDONALD, MULLINS and KAHN, Js.,                   ammunition specifically, as opposed to generalized unfair
concurred.                                                         trade practices statutes that, like CUTPA, govern a broad
                                                                   array of commercial activities. Because the distastefulness of
                                                                   a federal law does not diminish its preemptive effect, I would
                          DISSENT                                  affirm the judgment of the trial court striking the plaintiff's
                                                                   complaint in its entirety. Accordingly, I respectfully dissent
ROBINSON, J., with whom VERTEFEUILLE and ELGO,                     from part V of the majority opinion.
Js., join, dissenting in part.
                                                                   I begin by noting my agreement with the facts, procedural
*159
                                                                   history, and plenary standard of review as stated by the
                                                                   majority. See, e.g., Byrne v. Avery Center for Obstetrics &
In 2005, Congress enacted the Protection of Lawful
                                                                   Gynecology, P.C., 314 Conn. 433, 447, 102 A.3d 32 (2014)
Commerce in Arms Act (arms act), 15 U.S.C. § 7901 et
                                                                   (“[w]hether state causes of action are preempted by federal
seq., to preempt what it had deemed to be frivolous lawsuits
                                                                   statutes and regulations is a question of law over which our
against the firearms industry arising from the proliferation of
                                                                   review is plenary”). I also assume, without deciding, that the
gun related deaths resulting from criminal activity in cities
                                                                   majority properly concludes in part IV D of its opinion that,
and towns across the country. See 15 U.S.C. § 7901 (2012)
                                                                   “at least *163 with respect to wrongful advertising claims,
(articulating findings and purposes underlying arms act). 1        personal injuries alleged to have resulted directly from such
 **326 That preemption is not, however, unconditional, as          advertisements are cognizable under CUTPA.” Accordingly,
there are six exceptions to the definition of “qualified civil     I now turn to the pivotal question of whether the predicate
liability action” set forth in *160 15 U.S.C. § 7903 (5) (A) 2     exception saves such claims under CUTPA from preemption
 **327 that narrow the category of cases proscribed *161           by the arms act.
by the arms act. See 15 U.S.C. § 7902 (2012). 3 One such
exception, for “an action in which a manufacturer or seller of a
[firearm, ammunition, or component part] knowingly violated                                       I
a State or Federal statute applicable to the sale or marketing
of the product, and the violation was a proximate cause of the
                                                                          GENERAL PRINCIPLES OF PREEMPTION
harm for which relief is sought”; 15 U.S.C. § 7903 (5) (A) (iii)
                                                                            AND STATUTORY CONSTRUCTION
(2012); “has come to be known as the ‘predicate exception,’
because a plaintiff not only must present a cognizable claim,      I recognize that the supremacy clause of the United
he or she also must allege a knowing violation of a ‘predicate     States constitution declares that “the Laws of the United
statute.’ ” Ileto v. Glock, Inc., 565 F.3d 1126, 1132 (9th         States ... shall be the supreme Law of the Land ... any
Cir. 2009), cert. denied, 560 U.S. 924, 130 S.Ct. 3320, 176        Thing in the Constitution or Laws of any State to the
L.Ed.2d 1219 (2010). In part V of its opinion, the majority        Contrary notwithstanding.” U.S. Const., art. VI, cl. 2. “As a



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consequence, state and local laws are preempted [when] they         e.g., United States v. Peterson, 394 F.3d 98, 105 (2d Cir.
conflict with the dictates of federal law, and must yield to        2005); United States v. Dauray, 215 F.3d 257, 262 (2d Cir.
those dictates.... Preemption may be either express or implied,     2000).
and is compelled whether Congress' command is explicitly
stated in the statute's language or implicitly contained in its     If a federal statute is ambiguous, the federal courts do not
structure and purpose....                                           consider all extratextual sources to be of equal value in
                                                                    resolving that ambiguity. Instead, the Second Circuit first
“[When] a federal statute expressly preempts state or local         “turn[s] to canons of statutory construction for assistance
law, analysis of the scope of the [preemption] statute must         in interpreting the statute.... [That *165 court] resort[s] to
begin with its text.... And, we must also start with the            legislative history only if, after consulting canons of statutory
assumption that the historic police powers of the [s]tates          instruction, the meaning remains ambiguous.” (Citation
[are] not to be superseded ... unless that was the clear and        omitted; internal quotation marks omitted.) United States v.
manifest purpose of Congress.... As such, Congress' purpose         Rowland, 826 F.3d 100, 108 (2d Cir. 2016), cert. denied, –––
is the ultimate touchstone of preemption analysis.” (Citation       U.S. ––––, 137 S.Ct. 1330, 197 L.Ed. 2d 517 (2017).
omitted; internal quotation marks omitted.) Modzelewski's
Towing & Recovery, Inc. v. Commissioner of Motor Vehicles,          Accordingly, I begin with a review of the text of the relevant
322 Conn. 20, 28–29, 139 A.3d 594 (2016), cert. denied, –––         provisions of the arms act. The preemption provision provides
U.S. ––––, 137 S.Ct. 1396, 197 L.Ed.2d 554 (2017).                  that “[a] qualified civil liability action may not be brought
                                                                    in any Federal or State court.” 15 U.S.C. § 7902 (a) (2012);
In determining whether Congress intended the arms act to            see also 15 U.S.C. § 7902 (b) (2012) (“[a] qualified civil
preempt the CUTPA claims in the present case, *164 I turn           liability action that is pending on October 26, 2005, shall
to the principles that govern our “construction and application     be immediately dismissed by the court in which the action
of federal statutes,” under which “principles of comity and         was brought or is currently pending”). The arms act defines
consistency require us to follow the plain meaning rule ....        a “qualified civil liability action” in relevant part as “a civil
Moreover, it is well settled that the decisions of [t]he [United    action or proceeding ... brought by any person against a
States Court of Appeals for the] Second Circuit ... carry           manufacturer or seller of a qualified product, 6 or a trade
particularly persuasive weight in the interpretation of federal     association, for damages, punitive damages, injunctive or
statutes by Connecticut state courts.” (Internal quotation          declaratory relief, abatement, restitution, fines, or penalties,
marks omitted.) CCT Communications, Inc. v. Zone Telecom,           or other relief, resulting from the criminal or unlawful
Inc., 327 Conn. 114, 140, 172 A.3d 1228 (2017); see also, e.g.,     misuse of a qualified product by the person or a third party
Modzelewski's Towing & Recovery, Inc. v. Commissioner of            ....” (Footnote added.) 15 U.S.C. § 7903 (5) (A) (2012).
Motor Vehicles, supra, 322 Conn. at 32, 139 A.3d 594.               The arms act then provides six exceptions to the definition
                                                                    of qualified civil liability action; see footnote 2 of this
“Accordingly, our analysis of the federal statutes in the           dissenting opinion; including the predicate exception, which
present case begins with the plain meaning of the statute....       is defined as “an action in which a manufacturer or seller
If the **329 text of a statute is ambiguous, then we                of a qualified product knowingly violated a State or Federal
must construct an interpretation consistent with the primary        statute applicable to the sale or marketing of the product, and
purpose of the statute as a whole.... Under the plain meaning       the violation was a *166 proximate cause of the harm for
rule, [l]egislative history and other tools of interpretation may   which relief is sought, including—
be relied upon only if the terms of the statute are ambiguous....
Thus, our interpretive process will begin by inquiring whether      “(I) any case in which the manufacturer or seller knowingly
the plain language of [each] statute, when given its ordinary,      made any false entry in, or failed to make appropriate entry
common meaning ... is ambiguous.” (Citations omitted;               in, any record required to be kept under Federal or State law
internal quotation marks omitted.) Szewczyk v. Dept. of Social      with respect to the qualified product, or aided, abetted, or
Services, 275 Conn. 464, 476, 881 A.2d 259 (2005). “The             conspired with any person in making any false or fictitious
test to determine ambiguity is whether the statute, when            oral or written statement with respect to any fact material to
read in context, is susceptible to more than one reasonable         the lawfulness **330 of the sale or other disposition of a
interpretation.” (Internal quotation marks omitted.) State v.       qualified product; or
Agron, 323 Conn. 629, 634, 148 A.3d 1052 (2016); see also,



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“(II) any case in which the manufacturer or seller aided,          for enlargement rather than limitation,” given purpose of
abetted, or conspired with any other person to sell or             statutory patients' bill of rights).
otherwise dispose of a qualified product, knowing, or having
reasonable cause to believe, that the actual buyer of the          The defendants' reading of the predicate exception is,
qualified product was prohibited from possessing or receiving      however, equally reasonable, particularly given the more
a firearm or ammunition under subsection (g) or (n) of section     technical definition of “applicable” in Black's Law Dictionary
922 of title 18 ....” 15 U.S.C. § 7903 (5) (A) (iii) (2012).       as it relates to laws or regulations. See Black's Law Dictionary
                                                                   (10th Ed. 2014) (defining “applicable” in references to
Resolving whether CUTPA is a state statute “applicable             “a rule, regulation, law, etc.,” as “affecting or relating
to the sale or marketing of [firearms]”; 15 U.S.C. § 7903          to a particular person, group, or situation; having direct
(5) (A) (iii) (2012); begins with the plain meaning of the         relevance”). The principle of noscitur a sociis, namely, that
word “applicable,” which Congress did not define within            the “meaning of a statutory word may be indicated, controlled
the arms act. “In the absence of a definition of terms in          or made clear *168 by the words with which it is associated
the statute itself, [w]e may presume ... that the legislature      in the statute”; (internal quotation marks omitted) State v.
intended [a word] to have its ordinary meaning in the              Agron, supra, 323 Conn. at 635–36, 148 A.3d 1052; allows
English language, as gleaned from the context of its use....       us to view the example predicates, which describe statutes
Under such circumstances, it is appropriate to look to             specifically applicable to the firearms trade, as cabining
the common understanding of the term as expressed in a             the more expansive reading of the word “applicable.” See
dictionary.” (Internal quotation marks omitted.) Middlebury        also, e.g., **331 Bilski v. Kappos, 561 U.S. 593, 604, 130
v. Connecticut Siting Council, 326 Conn. 40, 49, 161 A.3d          S.Ct. 3218, 177 L.Ed.2d 792 (2010). Consistent with the
537 (2017). Merriam Webster's Collegiate Dictionary defines        two United States Courts of Appeal that have considered
“applicable” as “capable of or suitable for being applied:         the meaning of the predicate exception; see Ileto v. Glock,
appropriate.” Merriam-Webster's Collegiate Dictionary (11th        Inc., supra, 565 F.3d at 1133–34; New York v. Beretta U.S.A.
Ed. 2003), p. 60; see id., p. 61 (defining “appropriate” as        Corp., 524 F.3d 384, 401 (2d Cir. 2008), cert. denied, 556
“especially suitable or compatible”). Considering *167 this        U.S. 1104, 129 S.Ct. 1579, 173 L.Ed.2d 675 (2009); I
definition, I agree with the plaintiffs' argument that CUTPA       conclude that there is more than one reasonable reading
reasonably could be deemed “applicable” to the “sale or            of the predicate exception, rendering it ambiguous. I turn,
marketing of [firearms]”; 15 U.S.C. § 7903 (5) (A) (iii)           therefore, to extratextual evidence, namely, the canons of
(2012); insofar as it is a broad statute that is “capable of”      statutory construction and, if necessary, the legislative history,
being applied to that—and nearly every other—business.             to answer the question of whether CUTPA constitutes a
The reasonableness of this reading is bolstered by Congress'       predicate statute for purposes of 15 U.S.C. § 7903 (5) (A) (iii).
use of the word “including” to set off its list of example
predicate statutes, insofar as “the word ‘including’ may be
used either as a word of enlargement or of limitation.” Wood
                                                                                                   II
v. Zoning Board of Appeals, 258 Conn. 691, 700 n.11, 784
A.2d 354 (2001); see also, e.g., State v. DeFrancesco, 235
Conn. 426, 435, 668 A.2d 348 (1995) (“ ‘[t]here is some            REVIEW OF FEDERAL CIRCUIT COURT PRECEDENT
ambiguity concerning whether the word “including” ... was
intended as a word of limitation ... or one of enlargement’        In determining whether CUTPA is a predicate statute under
                                                                   the arms act, I do not write on a blank slate. Two of the United
”); accord Samantar v. Yousuf, 560 U.S. 305, 317, 130 S.Ct.
                                                                   States Circuit Courts of Appeal, including the Second Circuit
2278, 176 L.Ed.2d 1047 (2010) (stating that “use of the
                                                                   that we ordinarily find especially persuasive in deciding
word ‘include’ can signal that the list that follows is meant
to be illustrative rather than exhaustive,” but noting that “      questions of federal law; see, e.g., CCT Communications,
‘[a] word may be known by the company it keeps’ ”); but            Inc. v. Zone Telecom, Inc., supra, 327 Conn. at 140, 172
see Mahoney v. Lensink, 213 Conn. 548, 569, 569 A.2d 518           A.3d 1228; have considered whether state statutes of general
(1990) (suggesting that phrase “shall include” is limiting, but    applicability may be predicate statutes.
use of word “include” or “including” omitting word “shall”
is intended to be broader, with “the listed rights ... a vehicle   In New York v. Beretta U.S.A. Corp., supra, 524 F.3d at
                                                                   389–91, the city of New York claimed that the defendants',
                                                                   certain firearms manufacturers and distributors, “market[ed]


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guns to legitimate buyers with the knowledge that those             that the predicate exception includes statutes “that courts
guns [would] be diverted through various *169 mechanisms            have applied to the sale and marketing of firearms” and “that
into illegal markets” and sought injunctive relief requiring        do not expressly regulate firearms but that clearly can be
those defendants' “to take assorted measures that would             said to implicate the purchase and sale of firearms.” Id., at
effectively inhibit the flow of firearms into illegal markets.”     404. This ultimate conclusion is simply inconsistent with the
The Second Circuit considered whether a state criminal public       court's more detailed analysis of the relevant statutory text and
nuisance statute; see N.Y. Penal Law § 240.45 (McKinney             legislative history, which suggests a narrower reading of that
2008); 7 constituted a predicate statute that would allow the       exception. Specifically, the court considered the statements of
city's claim to avoid preemption under the arms act. New            purpose, as well as the list of example predicate statutes set
York v. Beretta U.S.A. Corp., supra, at 399; see also id.           forth in 15 U.S.C. § 7903 (5) (A) (iii) (I) and (II), which are
(“[i]t is not disputed that [the criminal nuisance statute] is a    “said to include statutes regulating [record keeping] and those
statute of general applicability that has never been applied        prohibiting participation in direct illegal sales,” and stated
to firearms suppliers for conduct like that complained of           that “construing the term ‘applicable to’ to mean statutes
by the [c]ity”). The city argued that the predicate exception       that clearly can be said to regulate the firearms industry
saved its action “because [the criminal nuisance statute] is        more accurately reflects the intent of Congress.” *171 Id.,
a statute ‘applicable to the sale or marketing of [firearms].’      at 402. The court also rejected the dictionary definition of
The [defendants'] disagree[d], arguing that the predicate           “applicable” as “lead[ing] to a far [too] broad reading of
exception was intended to include statutes that specifically        the predicate exception” that “would allow the predicate
and expressly regulate the firearms industry.” Id.                  exception to swallow the statute ....” Id., at 403. Finally, the
                                                                    court cited the legislative history of the arms act as “support
After engaging in a contextual analysis of the predicate            [for] the view that the predicate exception was meant to apply
exception and, in particular, the meaning of the term               only to statutes that actually regulate the firearms industry, in
“applicable,” the Second Circuit concluded that the predicate       light of the statements' consistency amongst each other and
exception “does not encompass” the criminal nuisance                with the general language of the statute itself.” Id., at 404.
statute, but “does encompass statutes [1] that expressly
regulate firearms, or [2] that courts have applied to the sale      Indeed, Judge Robert Katzmann authored a dissenting
and marketing of firearms; and ... [3] that do not expressly        opinion aptly criticizing the majority's analysis as inconsistent
regulate firearms but that clearly can be said to implicate the     with the plain language of the statute, particularly with respect
purchase and sale of **332 firearms.” Id., at 404. In reaching      to recognizing those statutes that courts had previously
that conclusion, the court stated that it found “nothing in the     applied to the sale and manufacture of firearms, and further
[arms act] *170 that requires any express language regarding        observed that the majority had provided no guidance with
firearms to be included in a statute in order for that statute to   respect to when a statute of general applicability could,
fall within the predicate exception” and declined “to foreclose     in fact, be deemed applicable to firearms, rendering that
the possibility that, under certain circumstances, state courts     aspect of the majority opinion entirely unpersuasive. 8 See
may apply a statute of general applicability to the type of         id., at 406. **333 *172 Accordingly, I decline to follow
conduct that the [c]ity complains of, in which case such a          the analysis of the Second Circuit's ultimately unpersuasive
statute might qualify as a predicate statute.” Id., at 399–         decision, particularly given that any concerns regarding
400. Accordingly, the court concluded that “while the mere          different outcomes in federal court; see Turner v. Frowein,
absence in [the criminal nuisance statute] of any express           253 Conn. 312, 341, 752 A.2d 955 (2000) (declining to follow
reference to firearms does not, in and of itself, preclude that     Second Circuit precedent would create “bizarre result” when
statute's eligibility to serve as a predicate statute under the     federal district court, located “only a few blocks away,” would
[arms act, the criminal nuisance statute] is a statute of general   be bound under same facts); as a result of such a departure
applicability that does not encompass the conduct of firearms       would be minimized because that case did not specifically
manufacturers of which the [c]ity complains. It therefore does      involve a claim raised under a state unfair trade practices
not fall within the predicate exception to the claim restricting    law. 9
provisions of the [arms act].” Id., at 400.
                                                                    Although it too is not directly on point, my review of the
My review of the relevant statutory text and legislative history    predicate exception's text and legislative history indicates that
reveal no support for the Second Circuit's expansive holding        the analysis of the United States Court of Appeals for the


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Ninth Circuit in Ileto v. Glock, Inc., supra, 565 F.3d 1126,       codified its common law, the evolution of those statutes is
                    10
is more instructive. In Ileto, the Ninth Circuit considered        nevertheless subject to the same judicial evolution as ordinary
whether the predicate exception saved the plaintiff's claims       common-law claims in jurisdictions that have not codified
of “knowing violations” of negligence, nuisance, and public        common law. That judicial evolution was precisely the target
nuisance under “California's general tort law [that] is codified   of the [arms act].” (Citation omitted; internal quotation marks
in its civil code.” Id., at 1132–33. Observing “that the term      omitted.) Id., at 1136. The Ninth Circuit deemed it “more
‘applicable’ has a spectrum of meanings, including the two         likely that Congress had in mind only these types of statutes
poles identified by the parties,” the Ninth Circuit considered     —statutes that regulate manufacturing, importing, selling,
the context of Congress' use of the word “applicable,” as          marketing, and using firearms or that regulate the firearms
well as “the broader context of the statute as *173 a              industry—rather than general tort theories that happened to
whole.” (Internal quotation marks omitted.) Id., at 1134. The      have been codified by a given jurisdiction.” Id.
court stated that the “illustrative predicate statutes pertain
specifically to sales and manufacturing activities, and most       The Ninth Circuit then examined the “extensive” legislative
also target the firearms industry specifically. Those examples     history, and made “two general observations .... First, all
suggest that [the] [p]laintiffs' proposed all-encompassing         of the congressional speakers' statements concerning the
meaning of the term ‘applicable’ is incorrect, because each        scope of the [arms act] reflected the understanding that
of the examples has—at the very least—a direct connection          manufacturers and sellers of firearms would be liable only for
with sales or manufacturing. Indeed, if any statute that           statutory violations concerning firearm regulations or sales
‘could be applied’ to the sales and manufacturing of firearms      and marketing regulations.” Id., at 1136–37. Second, the
qualified as a predicate statute, there would be no need to        court observed that the “very case” before it was exactly
list examples at all. Similarly, the examples suggest that [the]   “the type of case they meant the [arms act] to preempt,”
[d]efendants' asserted narrow meaning is incorrect, because        along with other “novel” cases. (Emphasis omitted.) Id., at
some of the examples do not pertain exclusively to the             1137. Ultimately, the court held that “Congress intended to
firearms industry.” (Emphasis in original.) Id.                    preempt general tort law claims ... even though California
                                                                   has codified those claims in its civil code.” 11 Id., at 1138.
Determining that the “text of the statute alone is inconclusive     **335 Unlike the Second Circuit, however, the Ninth *175
as to Congress' intent,” **334 the court then considered “the      Circuit expressly demurred to state “any view on the scope of
additional indicators of congressional intent.” Id., at 1135.      the predicate exception with respect to any other statute.” Id.,
In particular, the court observed that the express purpose         at 1138 n.9; see also District of Columbia v. Beretta U.S.A.
of the arms act is to “ ‘prohibit causes of action against         Corp., 940 A.2d 163, 170–72 (D.C. 2008) (concluding that
manufacturers, distributors, dealers, and importers of firearms    District of Columbia's Assault Weapons Manufacturing Strict
or ammunition products, and their trade associations, for the      Liability Act, D.C. Code § 7-2551.01 et seq. [2001], is not
harm solely caused by the criminal or unlawful misuse of           predicate statute because it is pure strict liability, and does not
firearm products or ammunition products by others when the         provide “a prohibition against, or standards of, conduct that
product functioned as designed and intended.’ ” Id., quoting       are being violated,” with plaintiffs' claims preempted because
15 U.S.C. § 7901 (b) (1) (2006). The court determined that,        they did not allege that “defendants' knowingly violated
in “view of [the] congressional findings and that statement        any proscriptions or requirements of local or federal law
of purpose, Congress clearly intended to preempt common-           governing the sale or possession of firearms”), cert. denied
law claims, such as general tort theories of liability. [The]      sub nom. Lawson v. Beretta U.S.A. Corp., 556 U.S. 1104, 129
[p]laintiffs' claims—‘classic negligence and nuisance’—[are]       S.Ct. 1579, 173 L.Ed.2d 675 (2009).
general tort theories of liability that traditionally have been
embodied in the common law.” (Citation omitted; footnote           With this case law in mind, I now turn to the canons
omitted.) Ileto v. Glock, Inc., supra, 565 F.3d at 1135. The       of statutory interpretation and legislative history to *176
court emphasized that the California legislature did not intend    determine whether the predicate exception encompasses
 *174 to supplant the common law by enacting its civil code,       unfair trade practices statutes that, like CUTPA, are not
but rather “to announce and formulate existing common law          specific to the firearms industry.
principles and definitions for purposes of orderly and concise
presentation and with a distinct view toward continuing
judicial evolution.... In other words, although California has



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                                                                   Beyond the narrow construction that we should afford the
                                                                   exceptions to the arms act, the related doctrines of noscitur
                              III
                                                                   a sociis and avoiding legislative superfluity also inform the
                                                                   meaning of the phrase “State or Federal statute applicable
              CANONS OF CONSTRUCTION                               to the sale or marketing of [firearms]”; 15 U.S.C. § 7903
                                                                   (5) (A) (iii) (2012); and suggest that the examples of federal
With respect to the canons of statutory construction, I first      laws provided therein indicate the type of statutory violations
observe that the predicate exception is exactly that—an            that would sustain invocation of the predicate exception.
exception to the arms act. It is well settled that, “when a        Under the canon of noscitur a sociis, “an ambiguous term
statute sets forth exceptions to a general rule, we generally      may be given more precise content by the neighboring words
construe the exceptions narrowly in order to preserve the
                                                                   with which it is associated.” 13 (Internal quotation marks
primary operation of the [provision].” (Internal quotation
                                                                   omitted.) Bilski v. Kappos, supra, 561 U.S. at 604, 130
marks omitted.) Capitol Records, LLC v. Vimeo, LLC, 826
                                                                   S.Ct. 3218; see also Yates v. United States, ––– U.S. ––––,
F.3d 78, 90–91 (2d Cir. 2016), cert. denied, ––– U.S. ––––,
                                                                   135 S.Ct. 1074, 1085, 191 L.Ed.2d 64 (2015) (“we rely
137 S.Ct. 1374, 197 L.Ed.2d 554 (2017). This “proposition ...
                                                                   on the principle of noscitur a sociis—a word is known by
is supported by commonsense logic. When a statute sets
                                                                   the company it keeps—to avoid ascribing to one word a
forth a general principle, coupled with an exception to it,
                                                                   meaning so broad that it is inconsistent with its accompanying
it is logical to assume, in the face of ambiguity in the
                                                                   words, thus giving unintended breadth to the [a]cts of
exception, that the legislature did not intend the exception
                                                                   Congress” [internal quotation **337 marks omitted] ). “By
to be so broad as to leave nothing of the general principle.”
                                                                   using this interpretive aid, the meaning of a statutory word
Id., at 91; see also Commissioner of Internal Revenue v.
                                                                   may be indicated, controlled or made clear by the words
Clark, 489 U.S. 726, 739, 109 S.Ct. 1455, 103 L.Ed.2d 753
                                                                   with which it is associated in the statute.” (Internal quotation
(1989) (“[g]iven that Congress has enacted a general rule
                                                                   marks omitted.) State v. Agron, supra, 323 Conn. at 636, 148
that treats boot as capital gain, we should not eviscerate
                                                                   A.3d 1052. “As a result, broader terms, when used together
that legislative judgment through an expansive reading of
                                                                   with more narrow terms, may have a more restricted meaning
a somewhat ambiguous exception”); A. H. Phillips, Inc. v.
                                                                   than if they stand alone.” Dattco, Inc. v. Commissioner of
Walling, 324 U.S. 490, 493, 65 S.Ct. 807, 89 L.Ed. 1095
                                                                   Transportation, 324 Conn. 39, 48, 151 A.3d 823 (2016). This
(1945) (“[t]o extend an exemption to other than those plainly
                                                                   is particularly so, given this canon's relationship *179 to the
and unmistakably within its terms and spirit is to abuse the
                                                                   doctrine that “the [c]ourt will avoid a reading which renders
interpretative process and to frustrate the announced will of
                                                                   some words altogether redundant.” Gustafson v. Alloyd Co.,
the people”). In the absence of clear direction from Congress
                                                                   Inc., 513 U.S. 561, 574, 115 S.Ct. 1061, 131 L.Ed.2d 1 (1995);
to construe the predicate exception differently, I disagree with
                                                                   accord Lopa v. Brinker International, Inc., 296 Conn. 426,
the majority's suggestion that we should read the arms act
                                                                   433, 994 A.2d 1265 (2010) (“[b]ecause [e]very word and
narrowly and its predicate exception more *177 broadly. 12
                                                                   phrase [of a statute] is presumed to have meaning [a statute]
See **336 Reves v. Ernst & Young, 507 U.S. 170, 183–
                                                                   must be construed, if possible, such that no clause, sentence
84, 113 S.Ct. 1163, 122 L.Ed.2d 525 (1993) (“ ‘[L]iberal
                                                                   or word shall be superfluous, void or insignificant” [internal
construction’ ” clause in Racketeer Influenced and Corrupt
                                                                   quotation marks omitted] ).
Organizations Act [RICO], 18 U.S.C. § 1961 et seq. [1988],
which “obviously seeks to ensure that Congress' intent is not
                                                                   The very specific examples of firearms laws that Congress
frustrated by an overly narrow reading of the statute ... is not
                                                                   provides in the predicate exception strongly suggest that it
an invitation to apply RICO to new purposes that Congress
                                                                   intended only those statutes that are specific to the firearms
never intended. Nor does the clause help us to determine what
                                                                   trade to be considered “applicable to the sale or marketing
purposes Congress had in mind. Those must be gleaned from
                                                                   of the product ....” 15 U.S.C. § 7903 (5) (A) (iii) (2012).
the statute through the normal means of interpretation. The
                                                                   The first example is “any case in which the manufacturer or
clause only serves as an aid for resolving an ambiguity; *178
                                                                   seller knowingly made any false entry in, or failed to make
it is not to be used to beget one.” [Internal quotation marks
                                                                   appropriate entry in, any record required to be kept under
omitted.] ).
                                                                   Federal or State law with respect to the qualified product,
                                                                   or aided, abetted, or conspired with any person in making
                                                                   any false or fictitious oral or written statement with respect



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to any fact material to the lawfulness of the sale or other          history of the arms act in determining whether a predicate
disposition of a qualified product ....” 15 U.S.C. § 7903            statute must specifically relate to the firearms industry.
(5) (A) (iii) (I) (2012). The second is “any case in which
the manufacturer or seller aided, abetted, or conspired with
any other person to sell or otherwise dispose of a qualified
                                                                                                    IV
product, knowing, or having reasonable cause to believe,
that the actual buyer of the qualified product was prohibited
from possessing or receiving a firearm or ammunition under                             LEGISLATIVE HISTORY
subsection (g) or (n) of section 922 of title 18 ....” 15 U.S.C.
                                                                     The legislative history also supports a narrow reading of
§ 7903 (5) (A) (iii) (II) (2012). Had Congress intended the
                                                                     the predicate exception as limited only to those statutes that
predicate exception to broadly encompass any statute capable
                                                                     govern the sale and marketing of firearms specifically. I
of application to the manufacture or sale of anything, the
                                                                     agree with the majority's description of the legislative history
inclusion of those firearms-specific *180 examples would
                                                                     of the arms act as “extensive” and *182 “present[ing]
be superfluous. 14 See **338 Yates v. United States, supra,
                                                                     something of a mixed bag.” 15 I disagree, however, with the
135 S.Ct. at 1087 (“Had Congress intended ‘tangible object’
                                                                     majority's conclusion that the legislative history demonstrates
in [18 U.S.C.] § 1519 to be interpreted so generically as
                                                                     that “Congress did not intend to limit the scope of the
to capture physical objects as dissimilar as documents and
                                                                     predicate exception to violations of firearms specific **339
fish, Congress would have had no reason to refer specifically
                                                                     laws or to confer immunity from all claims alleging
to ‘record’ or ‘document.’ The Government's unbounded
                                                                     that firearms sellers violated unfair trade practice laws.”
reading of ‘tangible object’ would render those words
                                                                     Consistent with the purpose of the arms act as set forth
misleading surplusage.”); Gustafson v. Alloyd Co., supra, 513
                                                                     in 15 U.S.C. § 7901; see footnote 1 of this dissenting
U.S. at 574–75, 115 S.Ct. 1061 (interpreting Securities Act
                                                                     opinion; much of the legislative history consists of broad
of 1933 and stating that “[i]f ‘communication’ included every
                                                                     statements by supporters of the arms act about saving the
written communication, it would render ‘notice, circular,
                                                                     American firearms industry from “predatory,” “abusive,”
advertisement, [and] letter’ redundant, since each of these
                                                                     and “frivolous” lawsuits, sanctioned by “sympathetic activist
are forms of written communication as well”); *181 Dattco,
                                                                     judges,” seeking “damages resulting from the criminal or
Inc. v. Commissioner of Transportation, supra, 324 Conn.
                                                                     unlawful misuse of a firearm or ammunition by a third
at 48–49, 151 A.3d 823 (“The legislature's grouping [in
General Statutes (Rev. to 2015) § 13b-36 (a) ] of the term           party.” 16 *183 151 Cong. Rec. 18,057–58 (2005), remarks
‘facilities’ with other nouns that all denote tangible objects       of Senator Larry Edwin Craig and Senator Thomas Allen
favors a conclusion that the term ‘facilities’ also refers to        Coburn; see, e.g., id., 2315–16, remarks of Representative
tangible objects other than land, buildings, and equipment           Clifford Bundy Stearns (introducing House bill); id., 18,057,
that might be used in a transportation system. Moreover,             remarks of Senator Craig (“[t]hese predatory lawsuits are
interpreting ‘facilities’ to mean only tangible items does           aimed at bankrupting the firearms industry” and “all seek the
not render it superfluous or redundant with respect to the           same goal of forcing law-abiding businesses selling a legal
terms ‘land,’ ‘buildings,’ or ‘equipment,’ as the commissioner       product to pay for damages from the criminal misuse of that
suggests. The term ‘facilities’ embraces numerous tangible           product,” which would threaten “a domestic industry that is
items—other than land, buildings, or equipment—including             critical to our national defense” and jeopardize “hundreds
bridges ... docks ... side railroad tracks that are part of a rail   of thousands of good paying jobs”); id., 18,058, remarks of
system ... dams and reservoirs ... and even horses.” [Citations      Senator Coburn (“[A]nti-gun activists have found another
omitted.] ). Although a reading of the predicate exception           way to constrict the right to bear arms and attack the Bill of
that is informed by the canons of construction strongly favors       Rights and attack the [United States] [c]onstitution, and that
the defendants', the plaintiffs' proffered reading of the statute    is through frivolous litigation.... [These] novel lawsuits ... are
remains reasonable, insofar as “we do not woodenly apply             not intended to create a solution. They are intended to drive
limiting principles every time Congress includes a specific          the gun industry out of business by holding manufacturers
example along with a general phrase.” Ali v. Federal Bureau          and dealers liable for the intentional and criminal act[s] of
of Prisons, 552 U.S. 214, 227, 128 S.Ct. 831, 169 L.Ed.2d            third parties over whom they have absolutely no control.”);
680 (2008). Accordingly, I continue to consider the legislative      see also id., 18,070, remarks of Senator William H. Frist; id.,
                                                                     18,072–73, remarks of Senator Lindsey Graham; id., 18,073,



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remarks of Senator Orrin Grant Hatch; id., 18,914, remarks of      that control sellers **341 and manufacturers of firearms”).
Senator Kathryn Ann Bailey Hutchison; id., 18,924, remarks         Similarly, when introducing the final Senate bill in the House,
of Senator Jefferson Beauregard Sessions III.                      Representative Phil Gingrey explained that the predicate
                                                                   exception “would specifically allow lawsuits against firearms
Turning beyond the more sweeping remarks, to the extent that       dealers such as the dealer whose firearm ended up in the hands
there is legislative history illuminating the *184 meaning of      of the [beltway] snipers who failed to maintain a required
the predicate exception, it “reflect[s] the understanding that     inventory list necessary to ensure that they are alerted to any
manufacturers and **340 sellers of firearms would be liable        firearm thefts.” Id., 23,020.
only for statutory violations concerning firearm regulations or
sales and marketing regulations.” Ileto v. Glock, Inc., supra,      *186 Moreover, the majority does not cite, and my
565 F.3d at 1137. Thus, the legislative debate, much of which      independent research has not revealed, any legislative history
was intended to provide assurances that the arms act would         indicating that state unfair trade practice statutes were within
not preempt claims against the dealers who violated numerous       the contemplation of Congress in enacting the predicate
firearms sale laws in selling the Bushmaster rifle used by         exception. Other statements indicate that such statutes were
the beltway snipers; see, e.g., H.R. Rep. No. 109-124, p. 92       not contemplated as predicates, and that supporters of the
(2005), remarks of Representative Melvin L. Watt; supports         arms act specifically rejected the viability of claims arising
an interpretation of predicate statutes as those specifically      from the advertising of firearms. For example, arguing in
regulating the sale or marketing of firearms, such as those        support of the arms act, Senator Hatch criticized pending
governing the tracking of inventory by firearms dealers. 17        actions against gun manufacturers, observing that these
For example, Senator Craig explained that the “bill does not       “lawsuits, citing deceptive marketing or some other pretext,
shut the courthouse door,” insofar as “plaintiffs will have the    continue to be filed in a number of [s]tates, and they continue
opportunity to argue that their case falls under the exception,    to be unsound. These lawsuits claim that sellers give the
such as violations of [f]ederal and [s]tate law ... that *185      false impression that gun ownership enhances personal safety
you have knowingly sold a firearm to a person who cannot           or that sellers should know that certain guns will be used
legally have it or who you have reason to believe could            illegally. That is pure bunk. Let's look at the truth. The
use it for a purpose other than intended. That all comes           fact is that none of these lawsuits are aimed at the actual
under the current definition of [f]ederal law.” 151 Cong. Rec.     wrongdoer who kills or injures another with a gun—none.
18,057–58 (2005). In contending that the arms act does not         Instead, the lawsuits are focused on legitimate, law-abiding
reduce “personal accountability” for firearms manufacturers,       businesses.” 18 (Emphasis added.) 151 Cong. Rec. 18,073;
given its exceptions, Senator Coburn emphasized that “gun          see also id. (noting that arms act “provides carefully *187
manufacturers and sellers are already policed enough, too          tailored protections for legitimate lawsuits, such as those
much, through hundreds of pages of statutes, hundreds of           where there are knowing violations of gun sale laws”).
pages of regulations. To name a few sources of regulations of
guns and ammunition: the Internal Revenue Code, including          Finally, congressional concerns about vague standards
the National Firearms Act postal regulations restricting           leading to liability also support a reading of the predicate
shipping of handguns; [f]ederal explosive law; regulations for     exception that is limited to firearms industry-specific statutes,
gunpowder and ammunition manufacture; the Arms Export              rather than statutes of general applicability such as CUTPA.
Control Act; the Commerce Department export regulations;           For example, in arguing in the House Judiciary Committee—
the Department of Transportation regulations on ammunition         seemingly inexplicably—against an amendment that would
explosives and hazardous material transport. In addition to        clarify that the arms act allows actions against gun dealers
keeping explicit records that can be inspected by ... the Bureau   who knowingly sell firearms to a person who is on the violent
of Alcohol, Tobacco, Firearms, and Explosives, licensed            gang and terrorist watch list maintained by the Department
dealers have to conduct a [f]ederal criminal background            of Justice, Representative Christopher B. Cannon argued that
check .... All retail gun buyers are screened to the best          “the vast number of cosponsors of this bill would agree that
of the [g]overnment's ability.” Id., 18,059–60; see also id.,      the burden here should be on the [g]overnment to identify
19,119, remarks of Senator Sessions (emphasizing that arms         people and not create a vague standard that could be used
act “allows lawsuits for violation of contract, for negligence,    again to destroy gun manufacturers with lawsuits that don't
in not following the rules and regulations and for violating       have clarity, but cost a great deal of money.” H.R. Rep. No.
any law or regulation that is part of the complex rules            109-124, supra, p. 126. Likewise, arguing in **342 support



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of the arms act, Senator John Thune emphasized that the              So it does not matter whether you use a gross negligence
exceptions, including for violating the law in the production        standard, a simple negligence standard, you have blown by
or sale of a firearm, “are not arbitrary standards ....” 151 Cong.   the concept of the bill in my opinion. The debate should be,
Rec. 19,119 (2005).                                                  is there a duty owed in this country for people who follow
                                                                     the law, manufacture safely, sell within the confines of the
Similarly, in opposing a bill amendment that would provide an        laws we have written at the [s]tate and [f]ederal level to the
exception to the arms act for “gross negligence” or “reckless        public at large if an injury results from the criminal act of
conduct,” Senator John Cornyn argued that the breadth of             another? If that ever happens, this country has made a major
those terms “would actually gut the very underlying purpose          change in the way we relate to each other and a major change
of this legislation” because the pleading of such claims would       in the law.” Id., 18,920. Accordingly, I conclude that the
broaden the scope of the discovery involved, and allow for           legislative history demonstrates that Congress contemplated
greater harassment of the manufacturers via the litigation           that only those statutes providing clear standards with respect
process. Id., 18,918. Senator Jon Llewellyn Kyl described            to the sale and marketing of firearms would serve as predicate
the amendment as “a poison pill for the entire bill because,         statutes.
in effect ... if you allege gross negligence or recklessness,
then the exemption the bill provides *188 evaporates. So
you are a lawyer. All you do is allege gross negligence
                                                                                                    V
or recklessness and, bingo, you are back in court again.
So it totally undercuts the purpose of this legislation.” 19
Id., 18,919; see also id., 18,921, remarks of Senator Craig                                 CONCLUSION
(arguing that gross negligence exception would render arms
                                                                     On the basis of my review of the text, case law, canons of
act “relatively meaningless as to where we are in relation
                                                                     construction, and legislative history, I conclude that predicate
to the kind of junk or dilatory lawsuits that are currently
                                                                     statutes under the predicate exception to the arms act, 15
being filed against gun manufacturers and gun dealers who
                                                                     U.S.C. § 7903 (5) (A) (iii), are limited to *190 those specific
not only produce a legal product to the market but sell it in the
                                                                     to the sale and manufacture of firearms. 20 Compare Phillips
legal context”). Senator Graham similarly emphasized how
statutes affect a manufacturer's duty of care, stating that the      v. Lucky Gunner, LLC, 84 F.Supp.3d 1216, 1219–20, 1224
arms act “doesn't let a seller or a distributor off the hook for     (D. Colo. 2015) (concluding in case arising from movie
violating a statute or making a sale illegally because it says,      theater mass shooting that plaintiffs had not pleaded facts
if you violate the law that exists, then you have broken a           against ammunition sellers indicating knowledge of shooter's
duty. Duty can be established by relationships. It can [also] be     conduct and mental condition before shootings, and had not
established by a statute. So this bill does not allow someone        claimed that firearms sellers engaged in “noncompliance with
to sell a gun without following the procedures that we have          the regulatory requirements applicable to [over the *191
set out to sell a gun. It doesn't allow someone to make a            counter] sales,” or that “the **344 ... defendants' had any
gun that is unsafe. You are on the hook, and you can be              knowledge of the sales made by the others or by the local
held accountable based on a simple negligence theory or a            firearms dealers”), and Jefferies v. District of Columbia,
 *189 negligence per se theory if you violate a specific statute     916 F.Supp.2d 42, 45–46 (D.D.C. 2013) (claims against
during the sale of a gun or manufacturing of a gun. But what         assault rifle manufacturer arising from shooting by third party
this bill prevents, and I think rightfully so, is establishing       are preempted by arms act when only statute pleaded was
a duty along this line: That you have a responsibility, even         District of Columbia's Assault Weapons Manufacturing Strict
if you do a lawful transaction or make a safe gun, for an            Liability Act, D.C. Code § 7-2551 [2001] ), with Corporan
event that you can't control, which is the intentional misuse        v. Wal-Mart Stores East, LP, United States District Court,
of a weapon in a criminal fashion by another person. That is         Docket No. 16-2305-JWL (JWL), 2016 WL 3881341 (D.
the heart of this bill. It doesn't relieve you of duties that the    Kan. July 18, 2016) (concluding that proposed amendments
law imposes upon you to safely manufacture and to carefully          to complaint saved it from preemption because allegations
sell. But we are not going to extend it to a concept where           supported “plausible claim” that defendants' “knowingly
you are responsible, after you have done everything right,           violated certain specific provisions of the Gun Control Act of
for what **343 somebody else may do who bought your                  1968,” 18 U.S.C. § 921 et seq., with respect to straw purchase
product and they did it wrong and it is their fault, not yours.      of firearm used in shooting), New York v. A-1 Jewelry &



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Pawn, Inc., 252 F.R.D. 130, 132 (E.D.N.Y. 2008) (concluding       when a practice is unfair: (1) [W]hether the practice, without
that arms act preemption was inapplicable because “there          necessarily having been previously considered unlawful,
are alleged in the instant action substantial violations of       offends public policy as it has been established by statutes,
specific federal laws applicable to the sale and marketing         **345 the common law, or otherwise—in other words,
of firearms which allegedly proximately cause harm to the         it is within at least the penumbra of some common law,
[plaintiff]” including prohibitions on straw purchasing and       statutory, or other established concept of unfairness; (2)
violation of state nuisance statute specifically applicable to    whether *193 it is immoral, unethical, oppressive, or
firearms [emphasis omitted] ), and Williams v. Beemiller,         unscrupulous; (3) whether it causes substantial injury to
Inc., 100 App. Div. 3d 143, 148–50, 952 N.Y.S.2d 333              consumers, [competitors or other businesspersons].... All
(2012) (concluding that plaintiffs “sufficiently alleged that     three criteria do not need to be satisfied to support a finding
defendants' knowingly violated various federal and state          of unfairness. A practice may be unfair because of the
statutes applicable to the sale or marketing of firearms          degree to which it meets one of the criteria or because to a
within the meaning of the ... predicate exception” when they      lesser extent it meets all three.... Thus a violation of CUTPA
alleged that federally licensed firearms dealer knowingly sold    may be established by showing either an actual deceptive
multiple handguns to straw purchaser under circumstances          practice ... or a practice amounting to a violation of public
suggesting “trafficking in the criminal market rather than for    policy.” (Internal quotation marks omitted.) Ulbrich v. Groth,
their personal use because [1] they had purchased multiple        310 Conn. 375, 409–10, 78 A.3d 76 (2013).
guns on prior occasions; [2] they paid for the guns in cash;
and [3] *192 they selected Hi-Point 9mm handguns, which           “CUTPA, by its own terms, applies to a broad spectrum of
are ‘disproportionately used in crime’ and have ‘no collector     commercial activity. The operative provision of [that] act, §
value or interest,’ ” with accomplice claims stated based on      42-110b (a), states merely that ‘[n]o person shall engage in
government notifications that “over 13,000 guns they sold had     unfair methods of competition and unfair or deceptive acts
been used in crimes”).                                            or practices in the conduct of any trade or commerce.’ Trade
                                                                  or commerce, in turn, is broadly defined as ‘the advertising,
To determine whether CUTPA is a predicate statute under this      the sale or rent or lease, the offering for sale or rent or
standard, I consider that, as a matter of state law, “CUTPA       lease, or the distribution of any services and any property,
is, on its face, a remedial statute that broadly prohibits        tangible or intangible, real, personal or mixed, and any
unfair methods of competition and unfair or deceptive acts        other article, commodity, or thing of value in this state.’
or practices in the conduct of any trade or commerce....          General Statutes § 42-110a (4). The entire act is remedial
[CUTPA] provides for more robust remedies than those              in character; General Statutes § 42-110b (d); Hinchliffe v.
available under analogous common-law causes of action,            American Motors Corp., 184 Conn. 607, 615 n.4, 440 A.2d
including punitive damages ... and attorney's fees and costs,     810 (1981); and must ‘be liberally construed in favor of those
and, in addition to damages or in lieu of damages, injunctive     whom the legislature intended to benefit.’ ” (Emphasis added;
or other equitable relief.... To give effect to its provisions,   footnote omitted.) Larsen Chelsey Realty Co. v. Larsen,
[General Statutes] § 42-110g (a) of [CUTPA] establishes           232 Conn. 480, 492, 656 A.2d 1009 (1995). “CUTPA, like
a private cause of action, available to [a]ny person who          equity, reaches beyond traditional common law precepts
suffers any ascertainable loss of money or property, real or      in establishing a fairness standard designed to grow and
personal, as a result of the use or employment of a method,       broaden and mold [itself] to meet circumstances as they
act or practice prohibited by [General Statutes §] 42-110b        arise .... The resolution of claims requiring the application of
....” (Internal quotation marks omitted.) Artie's Auto Body,      broadly defined and deeply rooted public values such as the
Inc. v. Hartford Fire Ins. Co., 317 Conn. 602, 623, 119 A.3d      statute's elusive, but [legislatively] mandated standard *194
1139 (2015).                                                      of fairness ... has historically been the function of a court
                                                                  of equity.” 21 (Citations **346 omitted; internal quotation
“[Section] 42-110b (a) provides that [n]o person shall engage     marks omitted.) Associated Investment Co. Ltd. Partnership
in unfair methods of competition and unfair or deceptive acts     v. Williams Associates IV, 230 Conn. 148, 159, 645 A.2d
or practices in the conduct of any trade or commerce. It is       505 (1994); see also id., at 161–62, 645 A.2d 505 (no state
well settled that in determining whether a practice violates      constitutional right to jury trial of CUTPA claim).
CUTPA we have adopted the criteria set out in the cigarette
rule by the [F]ederal [T]rade [C]ommission for determining



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                                                                    exception to those statutes that relate specifically to the sale
In summary, whether this court agrees with Congress or
not, in adopting the arms act, Congress adopted *195                and manufacture of firearms. 23 Consequently, I strongly
findings and statements of purpose in 15 U.S.C. § 7901;             disagree with the majority's conclusion that CUTPA, which
see footnote 1 of this dissenting opinion; which made               is a broadly *197 drafted state unfair trade practices statute
very clear its intent to absolve defendants' like these—gun         applicable to all commercial entities in a variety of factual
manufacturers and distributors—from liability for criminal          circumstances, comes within that exception. 24 Instead, I
use of firearms by third parties except in the most limited         would conclude that, because CUTPA, both in its statutory
and narrow circumstances and, particularly, to shield them          text and in its implementation under the cigarette rule,
from novel or vague standards of liability. 22 This court is        reaches a range of commercial conduct that far exceeds the
obligated, therefore, to construe the predicate exception to        manufacture, marketing, and sale of firearms, it is not by
the arms act, 15 U.S.C. § 7903 (5) (A) (iii), narrowly in           itself a predicate statute. That state unfair trade practices
light of that clear expression of congressional intent. See,        statutes had not been used to hold firearms manufacturers
e.g., Trinity Christian School v. Commission on Human               civilly liable to crime victims 25 renders the **349 plaintiffs'
Rights & Opportunities, 329 Conn. 684, 697–98, 189                  CUTPA claims particularly novel in the contemplation of
A.3d 79 (2018) (“[i]t is not the province of this court,            Congress; see *198 15 U.S.C. § 7901 (a) (7) (2012); and,
under the guise of statutory interpretation, to legislate ...       thus, subject to preclusion under the arms *199 act. 26
a [particular] policy, even if we were to agree ... that it         I conclude, therefore, that the arms act preempts *200
is a better *196 policy than the one endorsed by the                the plaintiffs' claims of immoral advertising in violation of
legislature as reflected in its statutory language” [internal
                                                                    CUTPA. 27 I, therefore, respectfully disagree with part V
quotation marks omitted] ). Put differently, “[w]hen we
                                                                    of the majority's opinion, and I **350 would affirm the
construe a statute, we act not as plenary lawgivers but as
                                                                    judgment of the trial court in its entirety.
surrogates for another policy maker, [that is] the legislature.
In our role as surrogates, our only responsibility is to
determine what the legislature, within constitutional limits,
intended to do.” (Internal quotation marks omitted.) State          Accordingly, I respectfully dissent.
v. Salamon, 287 Conn. 509, 520, 949 A.2d 1092 (2008).
My analysis of the relevant statutory text, case law, canons        All Citations
of **347 construction, and legislative history demonstrates
                                                                    331 Conn. 53, 202 A.3d 262, 364 Ed. Law Rep. 430
that Congress intended to limit predicate statutes under that


Footnotes
*      This case originally was scheduled to be argued before a panel of this court consisting of Justices Palmer, McDonald,
       Robinson, Mullins, Kahn, Vertefeuille and Elgo. Although Justices Robinson and Kahn were not present when the case
       was argued before the court, they have read the briefs and appendices, and listened to a recording of the oral argument
       prior to participating in this decision.
       The listing of justices reflects their seniority status on this court as of date of oral argument.
1      Following the Sandy Hook massacre, the legislature added the Bushmaster XM15, among many other assault rifles, to
       the list of firearms the sale or transfer of which is prohibited in Connecticut. See Public Acts 2013, No. 13-3, § 25, codified
       at General Statutes (2014 Supp.) § 53-202a (1) (B) (xxi).
2      The plaintiffs are Donna L. Soto, administratrix of the estate of Victoria L. Soto; Ian Hockley and Nicole Hockley,
       coadministrators of the estate of Dylan C. Hockley; David C. Wheeler, administrator of the estate of Benjamin A. Wheeler;
       Mary D'Avino, administratrix of the estate of Rachel M. D'Avino; Mark Barden and Jacqueline Barden, coadministrators of
       the estate of Daniel G. Barden; William D. Sherlach, executor of the estate of Mary Joy Sherlach; Neil Heslin and Scarlett
       Lewis, coadministrators of the estate of Jesse McCord Lewis; Leonard Pozner, administrator of the estate of Noah S.
       Pozner; and Gilles J. Rousseau, administrator of the estate of Lauren G. Rousseau. For convenience, we refer to these
       plaintiffs simply as “the decedents” with respect to claims brought by the administrators in their fiduciary capacity.
       We note that one administrator, William D. Sherlach, also filed suit in his individual capacity, seeking damages for loss
       of consortium. The parties have not specifically briefed and we do not separately address William D. Sherlach's loss of
       consortium claims in this opinion.




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      We further note that Natalie Hammond, a staff member who was wounded in but survived the attack, also was named
      as a plaintiff. Hammond has abandoned her claims and, therefore, is not a party to this appeal.
3     The Bushmaster defendants' are Bushmaster Firearms; Bushmaster Firearms, Inc.; Bushmaster Firearms International,
      LLC; Remington Outdoor Company, Inc.; Remington Arms Company, LLC; Bushmaster Holdings, LLC; and Freedom
      Group, Inc.
4     The Camfour defendants' are Camfour, Inc., and Camfour Holding, LLP, also known as Camfour Holding, Inc.
5     The Riverview defendants' are Riverview Sales, Inc., and David LaGuercia.
6     We will refer to Adam Lanza as Lanza and to Nancy Lanza as his mother.
7     General Statutes § 52-555 provides in relevant part: “(a) In any action surviving to or brought by an executor or
      administrator for injuries resulting in death, whether instantaneous or otherwise, such executor or administrator may
      recover from the party legally at fault for such injuries just damages together with the cost of reasonably necessary
      medical, hospital and nursing services, and including funeral expenses, provided no action shall be brought to recover
      such damages and disbursements but within two years from the date of death, and except that no such action may be
      brought more than five years from the date of the act or omission complained of....”
8     The parties and the amici disagree as to whether the term “assault rifle” is an appropriate moniker for this class of
      weapons. We use the term because it is how the General Assembly has chosen to refer to semiautomatic firearms. See
      General Statutes § 53-202a (1) (B) (xxi); see also Merrill v. Navegar, Inc., 26 Cal. 4th 465, 470 n.3, 110 Cal.Rptr.2d 370,
      28 P.3d 116 (2001) (term has become widely accepted in law).
9     General Statutes § 42-110b (a) provides that “[n]o person shall engage in unfair methods of competition and unfair or
      deceptive acts or practices in the conduct of any trade or commerce.”
        Other relevant provisions of CUTPA are set forth in part IV of this opinion.
10    The referenced statutory provisions are set forth in part IV of this opinion.
11    See 15 U.S.C. § 7903 (5) (A) (ii) (2012).
12    See 15 U.S.C. § 7903 (5) (A) (iii) (2012). This exception has come to be known as the predicate exception because a
      plaintiff must allege a knowing violation of a predicate statute.
13    The plaintiffs appealed to the Appellate Court from the judgment of the trial court, and we transferred the appeal to this
      court pursuant to General Statutes § 51-199 (c) and Practice Book § 65-1.
      We granted permission to thirteen groups to appear and file amicus curiae briefs in this appeal. Five of the amici have
      filed briefs in support of the defendants' position: (1) Connecticut Citizens Defense League, Inc.; (2) Connecticut Defense
      Lawyers Association; (3) Gun Owners of America, Inc., Gun Owners Foundation, United States Justice Foundation, The
      Heller Foundation, and Conservative Legal Defense and Education Fund; (4) National Rifle Association of America, Inc.;
      and (5) National Shooting Sports Foundation. Eight of the amici have filed briefs in support of the plaintiffs' position: (1)
      medical doctors Katie Bakes, William Begg, Barbara Blok, Kathleen Clem, Christopher Colwell, Marie Crandall, Michael
      Hirsh, Stacy Reynolds, Jeffrey Sankoff, and Comilla Sasson (physicians amici); (2) The Brady Center to Prevent Gun
      Violence; (3) CT Against Gun Violence and Tom Diaz; (4) Law Center to Prevent Gun Violence; (5) Newtown Action
      Alliance and the Connecticut Association of Public School Superintendents; (6) law professors Nora Freeman Engstrom,
      Alexandra D. Lahav, Anita Bernstein, John J. Donohue III, Michael D. Green, Gregory C. Keating, James Kwak, Douglas
      Kysar, Stephan Landsman, Anthony J. Sebok, W. Bradley Wendel, John Fabian Witt, and Adam Zimmerman; (7) the
      State of Connecticut and the Department of Consumer Protection; and (8) Trinity Church Wall Street.
14    Although our conclusion that the plaintiffs' primary theory—that the legal sale of the AR-15 assault rifle to the civilian
      market constitutes an unfair trade practice—is barred by the relevant statute of limitations disposes of that theory; see
      part IV B of this opinion; we believe that that theory, if timely presented, also would be barred by PLCAA immunity and/
      or the Product Liability Act, General Statutes § 52-572n (a).
15    The standard of review regarding motions to strike is well established. “A motion to strike attacks the legal sufficiency of
      the allegations in a pleading.... In reviewing the sufficiency of the allegations in a complaint, courts are to assume the truth
      of the facts pleaded therein, and to determine whether those facts establish a valid cause of action.... [I]f facts provable
      in the complaint would support a cause of action, the motion to strike must be denied.... Thus, we assume the truth of
      both the specific factual allegations and any facts fairly provable thereunder.... Because a motion to strike challenges the
      legal sufficiency of a pleading, and, consequently, requires no factual findings by the trial court, our review of the court's
      ruling [on a motion to strike] is plenary.” (Citations omitted; internal quotation marks omitted.) Himmelstein v. Windsor,
      304 Conn. 298, 307, 39 A.3d 1065 (2012).
16    Although the plaintiffs do not specifically allege it, an investigation revealed that Lanza killed his mother in their home prior
      to the massacre and that the massacre ended when he took his own life in the school. Both of those killings apparently



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      were carried out with other firearms and are not at issue in this case. See Division of Criminal Justice, State of Connecticut,
      Report of the State's Attorney for the Judicial District of Danbury on the Shootings at Sandy Hook Elementary School
      and 36 Yogananda Street, Newtown, Connecticut on December 14, 2012 (November 25, 2013) p. 2.
17    In addition to alleging that the defendants' promoted the XM15-E2S for illegal, offensive use by civilians, the plaintiffs
      contended in their briefs and at oral argument before this court that the defendants' marketing was unethical and
      unscrupulous insofar as they (1) marketed the weapon to unstable, or even mentally ill, teenaged boys who were likely
      to use the rifle to commit violent assaults, (2) attempted to circumvent firearms sales laws by marketing the weapon to
      legal buyers who would foreseeably provide them to family members who could not legally purchase such weapons, and
      (3) further promoted the weapons for offensive use by unstable young men by licensing them for placement in violent
      video games that promote illegal civilian uses of military type assault rifles. Because these legal theories are not clearly
      articulated in the operative complaint, however, we do not consider them for purposes of this opinion.
18    Although the plaintiffs do not expressly allege it in their complaint, the physicians amici contend that, according to the
      medical literature, assault weapon advertisements may activate people who are predisposed to violence.
19    Title 15 of the 2012 edition of the United States Code, § 7903 (5) (B), provides in relevant part: “[T]he term ‘negligent
      entrustment’ means the supplying of a qualified product by a seller for use by another person when the seller knows, or
      reasonably should know, the person to whom the product is supplied is likely to, and does, use the product in a manner
      involving unreasonable risk of physical injury to the person or others.”
20    Title 15 of the 2012 edition of the United States Code, § 7903 (5) (A), provides in relevant part: “The term ‘qualified civil
      liability action’ ... shall not include—
                                                                    ***
         “(ii) an action brought against a seller for negligent entrustment ....”
21    As we explain hereinafter, there is, of course, a third option: it may be foreseeable that the direct entrustee will share
      the dangerous item with a specific, identifiable third party who is incompetent to use it safely. The present case does not
      require us to determine whether and when an action for negligent entrustment will lie under those circumstances, when
      the nexus between the entrustor and the ultimate user is less attenuated than it is in the present case.
22    See, e.g., The Republic of Plato (H. Davis trans., M. Walter Dunne 1901) c. 5, p. 33 (arguing that, having taken temporary
      possession of weapons from friend who was then in his right mind, it would be unjust to return those weapons if friend,
      having since gone mad, demanded them back).
23    The plaintiffs expressly disclaim any allegation that Riverview's employees were careless in their decision to sell the rifle
      to Lanza's mother.
24    See, e.g., Dillon v. Suburban Motors, Inc., 166 Cal.App.3d 233, 212 Cal.Rptr. 360, 362–67, cause dismissed, 218
      Cal.Rptr. 584, 705 P.2d 1260 (Cal. 1985); Semeniuk v. Chentis, 1 Ill. App. 2d 508, 510, 117 N.E.2d 883 (1954); Sickles
      v. Montgomery Ward & Co., 6 Misc. 2d 1000, 1001, 167 N.Y.S.2d 977 (1957); Corey v. Kaufman & Chernick, Inc., 70
      R.I. 27, 30–31, 36 A.2d 103 (1944).
25    The plaintiffs have drawn our attention to several cases in which the dangerous instrumentality at issue was misused by
      someone other than the direct entrustee. In each of those cases, however, the defendants' had specific reason to know
      or believe that the direct entrustee should not be trusted with the instrumentality. See, e.g., Collins v. Arkansas Cement
      Co., 453 F.2d 512, 513–14 (8th Cir. 1972) (defendant's employee who gave explosive to children had history of horseplay
      with such explosives); LeClaire v. Commercial Siding & Maintenance Co., 308 Ark. 580, 581–82, 826 S.W.2d 247 (1992)
      (defendant knew that employee, who allowed another driver to use defendant's vehicle, leading to accident, had history
      of intoxication and moving violations); Rios v. Smith, 95 N.Y.2d 647, 653, 722 N.Y.S.2d 220, 744 N.E.2d 1156 (2001)
      (defendant knew that son often drove defendant's all-terrain vehicle [ATV] in unsafe manner and that son's friend, whose
      misuse of ATV injured plaintiff, was frequent visitor and previously had ridden ATV with son).
26    General Statutes (Rev. to 1975) § 42-110b (a) provided in relevant part: “No person shall engage in unfair methods of
      competition ... in the conduct of any trade or commerce....” General Statutes (Rev. to 1975) § 42-110a (4) defined “trade
      and commerce” as “the advertising, offering for sale, sale, or distribution of any services and any property ....”
27    See, e.g., 19 H.R. Proc., Pt. 6, 1976 Sess., pp. 2186–87, remarks of Representative Ferrari.
28    See, e.g., 22 S. Proc., Pt. 8, 1979 Sess., p. 2575, remarks of Senator Steven C. Casey; 19 S. Proc., Pt. 6, 1976 Sess.,
      pp. 2276–78, remarks of Senator Louis Ciccarello.
29    See, e.g., Bubalo v. Navegar, Inc., Docket No. 96 C 3664, 1997 WL 337218, *9 (N.D. Ill. June 13, 1997), modified on
      other grounds, 1998 WL 142359 (N.D. Ill. March 20, 1998); S. Calkins, “FTC Unfairness: An Essay,” 46 Wayne L. Rev.
      1935, 1975–76 n.182 (2000); T. Lytton, “Halberstam v. Daniel and the Uncertain Future of Negligent Marketing Claims
      Against Firearms Manufacturers,” 64 Brook. L. Rev. 681, 704–705 (1998).



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30    We note that other courts and commentators have deemed this to be a plausible theory of causation. See Friedman v.
      Highland Park, 784 F.3d 406, 411 (7th Cir.) (ban on assault weapons and large capacity magazines may reduce carnage
      if mass shooting occurs), cert. denied, ––– U.S. ––––, 136 S.Ct. 447, 193 L.Ed.2d 483 (2015); Merrill v. Navegar, Inc.,
      supra, 26 Cal. 4th at 517, 110 Cal.Rptr.2d 370, 28 P.3d 116 (Werdegar, J., dissenting) (reasonable juror could find that
      features of assault pistol allowed shooter to kill and injure more victims than would have been possible with conventional
      weapons); T. Lytton, “Halberstam v. Daniel and the Uncertain Future of Negligent Marketing Claims Against Firearms
      Manufacturers,” 64 Brook. L. Rev. 681, 706 (1998) (“[i]f plaintiffs can somehow prove that a defendant's marketing efforts
      create a new market among individuals known to be likely to engage in criminal activity who, but for the defendant's
      efforts, would be less likely to purchase a weapon ... with the firepower of the defendant's, then [those] plaintiffs may be
      able to convince a jury on the issues of breach and causation”).
31    General Statutes § 42-110g (f) provides: “An action under this section may not be brought more than three years after
      the occurrence of a violation of this chapter.”
32    Of course, on remand the defendants' are not foreclosed from attempting to demonstrate, in the context of a motion for
      summary judgment, that they did not engage in any of the allegedly wrongful marketing activities within three years prior
      to the date of the massacre.
33    We note that, although a “ ‘[p]roduct liability claim’ includes all claims or actions brought for personal injury, death or
      property damage caused by [among other things] the ... marketing ... of any product”; General Statutes § 52-572m (b); it
      is well established that the exclusivity provision of the Product Liability Act applies only to those claims seeking to recover
      damages caused by a defective product. Gerrity v. R.J. Reynolds Tobacco Co., supra, 263 Conn. at 128, 818 A.2d 769.
34    Although the defendants' frame the issue as whether damages for wrongful death are recoverable under CUTPA, the
      issue is more accurately characterized as whether CUTPA permits recovery for personal injuries, fatal or otherwise.
      Because death itself was not a recognized type of damage at common law, “[d]eath and its direct consequences can
      constitute recoverable elements of damages only if, and to the extent that, they are made so by statute.” Lynn v. Haybuster
      Mfg., Inc., 226 Conn. 282, 295, 627 A.2d 1288 (1993). In fact, “[t]he wrongful death statute ... is the sole basis [on]
      which an action that includes as an element of damages a person's death or its consequences can be brought.” (Citation
      omitted.) Id. There is no question, then, that CUTPA itself does not authorize the recovery of damages for wrongful death.
35    We express no opinion as to under what other circumstances CUTPA may allow recovery for personal injuries.
36    See R. Langer et al., 12 Connecticut Practice Series: Connecticut Unfair Trade Practices, Business Torts and Antitrust
      (2018–19 Ed.) § 6.7, p. 850 (noting that Connecticut's trial courts are divided on this question).
37    General Statutes § 42-110b (b) provides in relevant part that “[i]t is the intent of the legislature that in construing subsection
      (a) of this section, the commissioner and the courts of this state shall be guided by interpretations given by the Federal
      Trade Commission and the federal courts to Section 5 (a) (1) of the Federal Trade Commission Act ....”
38    We recognize that the FTC Act does not authorize a private right of action and, therefore, that neither the FTC nor the
      federal courts, in construing the FTC Act, have confronted the issue of whether a plaintiff harmed by immoral marketing
      practices may recover for resulting personal injuries. Nevertheless, we find it instructive that the FTC Act has been
      construed to apply to unethical and unscrupulous marketing and other unfair trade practices that are likely to result in
      primarily physical harms. See, e.g., In re International Harvester Co., supra, 104 F.T.C. at 1064.
39    The statute applies to sales of both firearms and ammunition. See, e.g., 15 U.S.C. § 7903 (4) (2012). In the interest of
      simplicity, we use the term “firearm” to encompass ammunition as well.
40    The law provides that “[a] qualified civil liability action may not be brought in any Federal or State court.” 15 U.S.C. § 7902
      (a) (2012). “The term ‘qualified civil liability action’ means a civil action or proceeding or an administrative proceeding
      brought by any person against a manufacturer or seller of a [firearm], or a trade association, for damages, punitive
      damages, injunctive or declaratory relief, abatement, restitution, fines, or penalties, or other relief, resulting from the
      criminal or unlawful misuse of a [firearm] by the person or a third party ....” 15 U.S.C. § 7903 (5) (A) (2012).
41    See, e.g., 15 U.S.C. § 6211 (9) (2012) (for purposes of international antitrust enforcement assistance, defining “regional
      economic integration organization” as “an organization that is constituted by, and composed of, foreign states, and on
      which such foreign states have conferred sovereign authority to make decisions that are ... directly applicable to and
      binding on persons within such foreign states”); 22 U.S.C. § 283ii (a) (2012) (“securities guaranteed by the [Inter-American
      Investment] Corporation as to both principal and interest to which the commitment in article II, section 2 (e) of the
      agreement [establishing that Corporation] is expressly applicable,” are exempt from rules governing domestic securities);
      26 U.S.C. § 833 (c) (4) (B) (i) (2012) (health insurance organization is treated as existing Blue Cross or Blue Shield
      organization for tax purposes if it is “organized under, and governed by, State laws which are specifically and exclusively
      applicable to not-for-profit health insurance or health service type organizations”).



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42    We recognize that the term “marketing” is facially ambiguous. One dictionary in print at the time the statute was enacted
      defines “marketing” as follows: “1. The act or process of buying and selling in a market. 2. The commercial functions
      involved in transferring goods from producer to consumer. 3. The promotion of sales of a product, as by advertising and
      packaging.” The American Heritage College Dictionary (4th Ed. 2007) p. 847. Notably, whereas the first two definitions
      are roughly synonymous with the general concepts of distribution and sales, the third is limited to advertising and other
      purely promotional functions.
      In context, however, it is clear that the term “marketing” is used in PLCAA in the third, narrower sense. As we noted,
      the predicate exception refers to statutes “applicable to the sale or marketing of” firearms. 15 U.S.C. § 7903 (5) (A)
      (iii) (2012). Elsewhere, PLCAA refers to “[b]usinesses in the United States that are engaged in interstate and foreign
      commerce through the lawful design, manufacture, marketing, distribution, importation, or sale to the public of firearms
      or ammunition products ....” 15 U.S.C. § 7901 (a) (5) (2012). If the term “marketing” had been meant to encompass sales
      and distribution, as well as advertising and the like, then Congress' inclusion of the terms “sale” and “distribution” would
      be superfluous. See, e.g., Milner v. Dept. of the Navy, 562 U.S. 562, 575, 131 S.Ct. 1259, 179 L.Ed.2d 268 (2011) (citing
      TRW, Inc. v. Andrews, 534 U.S. 19, 31, 122 S.Ct. 441, 151 L.Ed.2d 339 [2001], for proposition that statutes should be
      read to avoid making any provision superfluous).
      In addition, there are several other provisions of the statute in which the drafters referred to the “sale” and “distribution”
      of firearms but did not mention “marketing.” See, e.g., 15 U.S.C. § 7901 (a) (4) (2012); 15 U.S.C. § 7903 (1) (2012).
      We must assume that the drafters selected their language with conscious intent, and that the use of the additional term
      “marketing” in the predicate exception is meant to import a distinct meaning. See, e.g., Russello v. United States, 464
      U.S. 16, 23, 104 S.Ct. 296, 78 L.Ed.2d 17 (1983).
      Our conclusion that the meaning of the term “marketing” is limited to advertising and promotional functions in the context of
      PLCAA finds additional support in the 2018 edition of 22 C.F.R. § 123.4 (a) (3), which permits the temporary importation of
      certain defense articles, including arms, if an item “[i]s imported for the purpose of exhibition, demonstration or marketing
      in the United States and is subsequently returned to the country from which it was imported ....” This is consistent with
      the more restrictive definition of “marketing” in other federal regulations. See, e.g., 45 C.F.R. § 164.501 (2018). Several
      recently proposed federal bills that would have regulated the firearms industry provide further support. H.R. 5093, 113th
      Cong. (2014), for example, which would have directed the FTC to “promulgate rules ... to prohibit any person from
      marketing firearms to children”; id., § 2 (a); barred advertising practices such as “the use of cartoon characters to promote
      firearms and firearms products.” Id., § 2 (a) (1). Also instructive is H.R. 2089, 115th Cong. (2017). One provision of that
      bill would have prohibited “the manufacture, importation, sale, or purchase by civilians of the Five-seveN Pistol ....” Id., §
      2 (b) (2). Another provision references “the current or historical marketing of the firearm's capabilities ....” Id., § 3 (b).
43    See Cal. Bus. & Prof. Code § 5272.1 (c) (2) (Deering Supp. 2018) (prohibiting firearms advertisements at
      public, multimodal transit facilities); N.J. Admin. Code § 13:54-5.6 (2007) (establishing requirements for newspaper
      advertisements of machine guns, assault firearms, and semiautomatic rifles); R.I. Gen. Laws § 11-47-40 (b) (2002)
      (regulating advertisement of concealable firearms).
44    Clearly, as one original cosponsor of the bill that became PLCAA; S. 397, 109th Cong. (2005); explained, legislators
      were of the view that such laws do exist: “[P]laintiffs are demanding colossal monetary damages and a broad range of
      injunctive relief .... These injunctions would relate to the design, manufacture, distribution, marketing, and the sale of
      firearms. We already have laws that cover all of that.” (Emphasis added.) 151 Cong. Rec. 17,371 (2005), remarks of
      Senator Jefferson Beauregard Sessions III.
45    See, e.g., R. Petty, “Supplanting Government Regulation with Competitor Lawsuits: The Case of Controlling False
      Advertising,” 25 Ind. L. Rev. 351, 359 (1991); M. Meaden, Comment, “Joe Camel and the Targeting of Minors in Tobacco
      Advertising: Before and After 44 Liquormart v. Rhode Island,” 31 New Eng. L. Rev. 1011, 1026–27 (1997).
46    The plaintiffs' CUTPA claim is predicated on their contention that the defendants' “unethically, oppressively, immorally,
      and unscrupulously promoted” the XM15-E2S. Commonly known as the “cigarette rule,” that standard originated in a
      policy statement of the Federal Trade Commission issued more than one-half century ago; see Unfair or Deceptive
      Advertising and Labeling of Cigarettes in Relation to the Health Hazards of Smoking, 29 Fed. Reg. 8324, 8355 (July 2,
      1964); and rose to prominence when mentioned in a footnote in Federal Trade Commission v. Sperry & Hutchinson Co.,
      405 U.S. 233, 244–45 n.5, 92 S.Ct. 898, 31 L.Ed.2d 170 (1972). The decades since have seen a move away from the
      cigarette rule at the federal level. See Ulbrich v. Groth, 310 Conn. 375, 474–77, 78 A.3d 76 (2013) (Zarella, J., concurring
      in part and dissenting in part); 12 R. Langer et al., supra, § 2.2, pp. 39–45. That move culminated with a revision of
      the FTC Act by Congress in 1994, which codified the limitations on the FTC's authority to regulate unfair practices. See
      Federal Trade Commission Act Amendments of 1994, Pub. L. No. 103-312, § 9, 108 Stat. 1691, 1695, codified at 15



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      U.S.C. § 45 (n) (1994). This court has characterized the federal standard for unfair trade practices contained therein
      as “a more stringent test known as the substantial unjustified injury test,” under which “an act or practice is unfair if it
      causes substantial injury, it is not outweighed by countervailing benefits to consumers or competition, and consumers
      themselves could not reasonably have avoided it.” Artie's Auto Body, Inc. v. Hartford Fire Ins. Co., 317 Conn. 602, 622
      n.13, 119 A.3d 1139 (2015).
      The defendants' have not asked us to reexamine our continued application of the cigarette rule as the standard governing
      unfair trade practice claims brought under CUTPA, and, therefore, the issue is not presently before us. We recognize,
      however, that a question exists as to whether the cigarette rule should remain the guiding rule as a matter of state law.
      See, e.g., id., (“[i]n light of our conclusion ... that the plaintiffs' CUTPA claim fails even under the more lenient cigarette
      rule, it is unnecessary for us to decide whether that rule should be abandoned in favor of the federal test”); Ulbrich v.
      Groth, supra, 310 Conn. at 429, 78 A.3d 76 (declining to review “the defendants' unpreserved claim that the cigarette rule
      should be abandoned in favor of the substantial unjustified injury test”); State v. Acordia, Inc., 310 Conn. 1, 29 n.8, 73
      A.3d 711 (2013) (declining to “address the issue of the viability of the cigarette rule until it squarely has been presented”).
      At the same time, notwithstanding the questions raised in those decisions, we have continued to apply the cigarette rule
      as the law of Connecticut; see, e.g., Landmark Investment Group, LLC v. CALCO Construction & Development Co., 318
      Conn. 847, 880, 124 A.3d 847 (2015); and, even though we have flagged the issue for reexamination by the legislature;
      see Artie's Auto Body, Inc. v. Hartford Fire Ins. Co., supra, 317 Conn. at 622 n.13, 119 A.3d 1139; the legislature has
      continued to acquiesce in our application of the cigarette rule.
      In any event, even if we were to adopt the current federal standard governing unfair advertising, it would not bar the
      plaintiffs' CUTPA claims, as they have alleged that the defendants' engaged in trade practices that caused substantial,
      unavoidable injury and that were not outweighed by countervailing benefits. Still, on remand, the defendants' are not
      foreclosed from arguing that a different standard should govern the plaintiffs' CUTPA claims.
47    Although the Ninth Circuit construed the predicate exception more narrowly, that court also rejected a reading that would
      limit predicate statutes to those that pertain exclusively to the sale or marketing of firearms, recognizing that other statutes
      that regulate “sales and manufacturing activities” could qualify. Ileto v. Glock, Inc., supra, 565 F.3d at 1134; see also id.,
      at 1137 (legislative history indicates intent to restrict liability to “statutory violations concerning firearm[s] regulations or
      sales and marketing regulations ” [emphasis added] ). In Ileto, the Ninth Circuit held that the California laws at issue did
      not qualify as predicate statutes, but it reached that conclusion primarily because (1) California had codified its common
      law of tort, which remained subject to judicial evolution; id., at 1135–36; and (2) during the legislative debates, members
      of Congress had referenced that very case as an example of one that PLCAA would preclude. Id., at 1137. In other words,
      the fact the California statutes at issue were, in a sense, merely general tort theories masquerading as statutes meant
      that the plaintiffs' claims were precisely the sort that Congress intended to preempt.
48    See In re Colt Industries Operating Corp., 84 F.T.C. 58, 61–62 (1974); In re Browning Arms Co., 80 F.T.C. 749, 752
      (1972); In re Ithaca Gun Co., 78 F.T.C. 1104, 1107–1108 (1971).
49    In another Connecticut case, Ganim v. Smith & Wesson Corp., supra, 258 Conn. at 313, 780 A.2d 98, the plaintiffs
      asserted CUTPA claims similar to those at issue in the present case, alleging, among other things, that misleading
      and unscrupulous firearms advertising contributed to gun violence. Id., at 334–35, 780 A.2d 98. Because the municipal
      plaintiffs lacked standing, however, we did not rule on the validity of their CUTPA claims. See id., at 343, 373, 780 A.2d 98.
      A CUTPA violation also was alleged on the basis of conduct similar to that at issue in the present case in Wilson v. Midway
      Games, Inc., 198 F.Supp.2d 167 (D. Conn. 2002). In that case, the plaintiff's son had been stabbed to death by a friend
      who had become obsessed with a violent interactive video game. Id., at 169. The plaintiff alleged, among other things,
      that the defendant manufacturer of that game violated CUTPA by aggressively and inappropriately marketing the game
      to a vulnerable adolescent audience. See id., at 175–76. The court dismissed the CUTPA claim for failure to comply with
      CUTPA's statute of limitations. Id., at 176. In Izzarelli v. R.J. Reynolds Tobacco Co., 117 F.Supp.2d 167, 170–71 (D.
      Conn. 2000), by contrast, the court denied a motion to dismiss the plaintiff's claim that the defendant violated CUTPA
      by unethically marketing tobacco products to minors.
50    See, e.g., Melton v. Century Arms, Inc., 243 F.Supp.3d 1290, 1306 (S.D. Fla. 2017) (defective design action in which
      plaintiffs stated cognizable claim under Florida unfair trade practice law that, among other things, advertising falsely
      represented that AK-47 rifles are safe); Beretta U.S.A. Corp. v. Federal Ins. Co., 117 F.Supp.2d 489, 490, 492 (D.
      Md. 2000) (firearms manufacturer sought defense and indemnification in underlying state actions alleging, among other
      things, that manufacturer falsely advertised that gun ownership and possession increased one's security), aff'd, 17 Fed.
      Appx. 250 (4th Cir. 2001); People v. Arcadia Machine & Tool, Inc., Docket No. 4095, 2003 WL 21184117, *15, 22, 26–27
      (Cal. Super. April 10, 2003) (granting summary judgment for defendant manufacturers because plaintiffs failed to present



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      evidence that [1] reasonable consumers would be misled by defendants' advertisements, or [2] California public policy
      disapproved of marketing firearms to children, but allowing case to proceed against defendant distributors accused of
      advertising banned assault weapons), aff'd sub nom. In re Firearm Cases, 126 Cal. App. 4th 959, 992, 24 Cal.Rptr.3d
      659 (2005); Opinions, N.M. Atty. Gen. No. 77-23 (July 19, 1977) p. 149 (advertising illegal sale of firearms in liquor
      establishment would constitute unfair or deceptive trade practice); see also FN Herstal, S.A. v. Clyde Armory, Inc., 123
      F.Supp.3d 1356, 1376 (M.D. Ga. 2015) (trademark infringement action), aff'd, 838 F.3d 1071 (11th Cir. 2016), cert. denied,
      ––– U.S. ––––, 137 S.Ct. 1436, 197 L.Ed.2d 649 (2017); American Shooting Sports Council, Inc. v. Attorney General,
      429 Mass. 871, 875, 711 N.E.2d 899 (1999) (attorney general may regulate firearms sales and marketing pursuant to
      state unfair trade practice law in order to address sale of products that do not perform as warranted, including those that
      pose safety and performance issues, as well as those that legislature has defined as unlawful).
51    See, e.g., In re MACE Security International, Inc., 117 F.T.C. 168, 169–72, 181–84 (1994) (advertisements made
      unsubstantiated claims that single, poorly directed spray of self-defense chemical would instantly stop assailants); In
      re Benton & Bowles, Inc., 96 F.T.C. 619, 622–24 (1980) (advertisements depicting children riding bicycles unsafely
      or illegally); In re AMF, Inc., supra, 95 F.T.C. at 313–15 (advertisements representing young children riding bicycles
      and tricycles in improper, unsafe or unlawful manner); In re Mego International, Inc., supra, 92 F.T.C. at 189–90
      (advertisements depicting children using electrical toys and appliances near water without adult supervision); In re
      Uncle Ben's, Inc., supra, 89 F.T.C. at 136 (advertisements depicting children attempting to cooking food without close
      adult supervision); In re Hudson Pharmaceutical Corp., 89 F.T.C. 82, 86–89 (1977) (advertisements that might induce
      children to take excessive amounts of vitamin supplements); In re General Foods Corp., 86 F.T.C. 831, 839–40 (1975)
      (advertisements depicting consumption of raw plants growing in wild or natural surroundings); but see J. Vernick et al.,
      “Regulating Firearm Advertisements That Promise Home Protection: A Public Health Intervention,” 277 JAMA 1391, 1396
      (1997) (for unstated reasons, FTC did not act on request by various advocacy groups to adopt rules regulating firearm
      advertising).
52    Since that time, the FTC also has taken an interest in the marketing of violent video games to children. See generally
      Federal Trade Commission, Report to Congress, supra, 2009 WL 5427633.
53    As we previously noted; see footnote 47 of this opinion; although the Ninth Circuit has construed the predicate exception
      more narrowly than has the Second Circuit, CUTPA also might well qualify as a predicate statute under the standard
      articulated in the Ninth Circuit's decision in Ileto. Specifically, the court suggested that a predicate statute must either
      concern “firearm[s] regulations or sales and marketing regulations.” (Emphasis added.) Ileto v. Glock, Inc., 565 F.3d at
      1137; see also id., at 1134 (statutory examples of predicate statutes “target the firearms industry specifically” or “pertain
      specifically to sales and manufacturing activities”). Accordingly, insofar as CUTPA specifically regulates commercial sales
      activities and is, therefore, narrower in scope and more directly applicable than the general tort and nuisance statutes at
      issue in Ileto, it arguably qualifies as a predicate statute under the standards articulated by each of the three appellate
      courts to have construed the federal statute.
54    Title 15 of the 2012 edition of the United States Code, § 7901 (a) (5), provides: “Businesses in the United States that are
      engaged in interstate and foreign commerce through the lawful design, manufacture, marketing, distribution, importation,
      or sale to the public of firearms or ammunition products that have been shipped or transported in interstate or foreign
      commerce are not, and should not, be liable for the harm caused by those who criminally or unlawfully misuse firearm
      products or ammunition products that function as designed and intended.”
55    The standards embodied in the cigarette rule have been established law—first federal, and then state—for nearly
      six decades. As one legal scholar has explained, “at one time challenges to the depiction of unsafe practices in
      advertisements [were] a staple of [FTC] unfairness enforcement ....” (Footnote omitted.) S. Calkins, supra, 46 Wayne
      L. Rev. 1974. Moreover, even under the current federal unfairness standard, one of the FTC's primary areas of focus
      in challenging unfair trade practices has been “advertising that promotes unsafe practices.” Id., 1962. The plaintiffs
      merely seek to apply these established legal principles to the marketing of assault weapons, products that are at least
      as dangerous as any that have been the subject of prior FTC enforcement actions.
      During the legislative debates, the author of PLCAA made clear that all the law sought to preclude was novel causes of
      action, rather than specific applications of established legal principles: “Plaintiffs can still argue their cases for violations
      of law .... The only lawsuits this legislation seeks to prevent are novel causes of action that have no history or grounding
      in legal principle.” 151 Cong. Rec. 18,096 (2005), remarks of Senator Larry Edwin Craig. In fact, the plaintiffs' claims
      invoke a statutory cause of action that falls squarely within established consumer protection law. See, e.g., Izzarelli v.
      R.J. Reynolds Tobacco Co., 117 F.Supp.2d 167, 170–71, 178 (D. Conn. 2000) (denying motion to dismiss claim that




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      defendant violated CUTPA by unethically and unscrupulously marketing cigarettes to underage smokers and encouraging
      minors to violate law).
56    We further note that among the stated purposes of PLCAA was “[t]o protect the right, under the First Amendment to
      the Constitution, of manufacturers, distributors, dealers, and importers of firearms or ammunition products, and trade
      associations, to speak freely ....” 15 U.S.C. § 7901 (b) (5) (2012). We recognize that the advertisement and marketing
      of goods is a quintessential form of commercial speech under established first amendment jurisprudence. See, e.g.,
      Zauderer v. Office of Disciplinary Counsel, 471 U.S. 626, 637, 105 S.Ct. 2265, 85 L.Ed.2d 652 (1985). At the same time,
      it is equally well settled that commercial speech that proposes an illegal transaction or that promotes or encourages an
      unlawful activity does not enjoy the protection of the first amendment. See, e.g., Village of Hoffman Estates v. Flipside,
      Hoffman Estates, Inc., 455 U.S. 489, 496, 102 S.Ct. 1186, 71 L.Ed.2d 362 (1982); Pittsburgh Press Co. v. Pittsburgh
      Commission on Human Relations, 413 U.S. 376, 388–89, 93 S.Ct. 2553, 37 L.Ed.2d 669 (1973); see also Thompson v.
      Western States Medical Center, 535 U.S. 357, 367, 122 S.Ct. 1497, 152 L.Ed.2d 563 (2002); Lamar Outdoor Advertising,
      Inc. v. Mississippi State Tax Commission, 701 F.2d 314, 321–22 (5th Cir. 1983). In reviewing the propriety of a motion
      to strike, we are obligated to assume the truth of the facts pleaded in the operative complaint. See, e.g., Himmelstein v.
      Windsor, supra, 304 Conn. at 307, 39 A.3d 1065. The plaintiffs' complaint in the present case alleges that the marketing
      in question promoted unlawful activity, namely, the civilian use of the XM15-E2S “as a combat weapon ... for the purpose
      of waging war and killing human beings.” Accordingly, the first amendment is not implicated by the claims as set forth
      by the plaintiffs in their complaint.
57    We note that the Second Circuit, in considering whether a criminal nuisance statute of general applicability qualified as
      a predicate statute, indicated that the relevant legal question is whether a statute is applicable to the sale or marketing
      of firearms as applied to the particular circumstances of the case at issue, rather than facially applicable. See New York
      v. Beretta U.S.A. Corp., supra, 524 F.3d at 401 (discussing whether state statute at issue had been applied to firearms
      suppliers “for conduct like that complained of by the [plaintiff]”); id., at 400–401 n.4 (in future, another statute of general
      applicability may be found to govern specific conduct complained of and, thus, qualify as predicate statute). We agree
      that that is the proper lens through which to consider the question, especially with respect to a statute such as CUTPA,
      which authorizes a cause of action that encompasses a number of distinct legal theories and principles. See 12 R. Langer
      et al., supra, § 2.1, p. 13.
58    Similar principles and presumptions apply if the issue is framed in terms of whether PLCAA preempts the plaintiffs' CUTPA
      action. As the United States Supreme Court recently explained, “[a]mong the background principles of construction that
      our cases have recognized are those grounded in the relationship between the [f]ederal [g]overnment and the [s]tates
      under [the United States] [c]onstitution. It has long been settled, for example, that we presume federal statutes do not ...
      preempt state law ....” (Citations omitted.) Bond v. United States, 572 U.S. 844, 857–58, 134 S.Ct. 2077, 189 L.Ed.2d 1
      (2014). The court further explained: “Closely related ... is the [well established] principle that it is incumbent [on] the ...
      courts to be certain of Congress' intent before finding that federal law overrides the usual constitutional balance of federal
      and state powers.... [W]hen legislation affect[s] the federal balance, the requirement of clear statement [ensures] that the
      legislature has in fact faced, and intended to bring into issue, the critical matters involved in the judicial decision.” (Citations
      omitted; internal quotation marks omitted.) Id., at 858, 134 S.Ct. 2077. These principles apply with particular force to
      congressional legislation that potentially intrudes into a field, such as advertising, that traditionally has been occupied by
      the states. See Altria Group, Inc. v. Good, supra, 555 U.S. at 77, 129 S.Ct. 538.
59    See, e.g., 151 Cong. Rec. 19,119 (2005), remarks of Senator John Thune; id., 19,120, remarks of Senator Larry Edwin
      Craig.
60    In part III of his dissenting opinion, Justice Robinson makes a similar point, although framed in terms of the closely related
      canon of noscitur a sociis.
61    With respect to the unlawful buyer exception set forth in 15 U.S.C. § 7903 (5) (A) (iii) (II), the referenced subsections
      of 18 U.S.C. § 922 prohibit various persons, including convicted felons, illegal immigrants, and individuals indicted for
      felonies or addicted to controlled substances, from shipping, transporting, or receiving firearms in interstate commerce. 18
      U.S.C. §§ 922 (g) and (n) (2012). The unlawful buyer exception thus directly references federal statutes that specifically
      regulate trade in firearms. Although the record keeping exception set forth in 15 U.S.C. § 7903 (5) (A) (iii) (I) does not
      expressly reference any specific statute, the language of that provision closely mirrors that of 18 U.S.C. § 922 (m), which
      mandates compliance with the record keeping requirements that govern federally licensed firearms dealers. Moreover,
      the legislative history indicates that Congress drafted 15 U.S.C. § 7903 (5) (A) (iii) (I) with an eye toward regulations such
      as 27 C.F.R. § 478.39a (a) (1), which mandates that licensed firearms dealers report lost or stolen weapons to the federal




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      Bureau of Alcohol, Tobacco, Firearms and Explosives no more than forty-eight hours after the loss or theft is discovered.
      See 151 Cong. Rec. 18,937–38 (2005), remarks of Senator Larry Edwin Craig.
62    See 151 Cong. Rec. 23,262 (2005), remarks of Representative Christopher Van Hollen; see also id., 23261 remarks of
      Representative Frank James Sensenbrenner, Jr.
63    151 Cong. Rec. 23,263 (2005), remarks of Representative Christopher Van Hollen.
64    See, e.g., 151 Cong. Rec. 19,131 (2005), remarks of Senator Barbara Boxer; id., 23,278, remarks of Representative
      Rahm Emanuel.
65    See 151 Cong. Rec. 17,372–73 (2005), remarks of Senator John Reed; id., 23,263, remarks of Representative
      Christopher Van Hollen; H.R. Rep. No. 108-59, p. 98 (2003); J. Jiang, “Regulating Litigation Under the Protection of
      Lawful Commerce in Arms Act: Economic Activity or Regulatory Nullity?,” 70 Alb. L. Rev. 537, 539–40 (2007).
66    See, e.g., 151 Cong. Rec. 18,937 (2005), remarks of Senator Larry Edwin Craig (dealer violated federal record keeping
      laws); id., 19,128, remarks of Senator Kathryn Ann Bailey Hutchison (dealer violated laws); id., 23,261, remarks of
      Representative Frank James Sensenbrenner, Jr. (arguing that plaintiffs could have established record keeping violations
      and noting that federal Bureau of Alcohol, Tobacco, Firearms and Explosives report documented more than 300 such
      violations by dealer); see also id., 18,112, remarks of Senator John William Warner (noting that both snipers were legally
      barred from purchasing firearms).
67    See, e.g., 151 Cong. Rec. 23,020 (2005), remarks of Representative Phil Gingrey (“[t]his exception would specifically
      allow lawsuits against firearms dealers such as the dealer whose firearm ended up in the hands of the [Beltway] snipers
      who failed to maintain a required inventory list necessary to ensure that they are alerted to any firearm thefts”); id., 23,273,
      remarks of Representative Frank James Sensenbrenner, Jr. (“this exception would specifically allow lawsuits against
      firearms dealers such as the dealer whose firearm ended up in the hands of the [Beltway] snipers”); see also id., 18,066,
      remarks of Senator Dianne Feinstein (acknowledging that “new modifications” to legislation were directed toward sniper
      case); id., 18,941, remarks of Senator Barbara Ann Mikulski (alluding to Beltway snipers in debating legislation).
68    See, e.g., Ali v. Federal Bureau of Prisons, 552 U.S. 214, 226–27, 128 S.Ct. 831, 169 L.Ed.2d 680 (2008); Watt v.
      Western Nuclear, Inc., 462 U.S. 36, 44 n.5, 103 S.Ct. 2218, 76 L.Ed.2d 400 (1983); Millsap v. Andrus, 717 F.2d 1326,
      1329 n.5 (10th Cir. 1983); United States v. Kaluza, Docket No. 12-265, 2013 WL 6490341, *21–23 (E.D. La. December
      10, 2013), aff'd, 780 F.3d 647 (5th Cir. 2015).
69    We further observe that, during the legislative debates surrounding PLCAA, the author and various cosponsors of the
      proposed legislation repeatedly emphasized that it must be narrowly construed and that it protects only those firearms
      sellers who have not engaged in any illegal or irresponsible conduct. See, e.g., 151 Cong. Rec. 17,371 (2005), remarks of
      Senator Jefferson Beauregard Sessions III, id., 18,044, remarks of Senator Craig; id., 18,911, remarks of Senator Craig;
      id., 19,137, remarks of Senator Craig; id., 23,266, remarks of Representative Clifford Bundy Stearns.
70    See S. 908, 109th Cong. (2005); H.R. 554, 109th Cong. (2005).
71    See 1 N. Singer & J. Singer, Statutes and Statutory Construction (New Ed. 2010) § 11:14, p. 565 (“[committee] report
      is of great significance for purposes of statutory interpretation”); 2A N. Singer & S. Singer, supra, § 48:6, p. 585 (“courts
      generally view committee reports as the ‘most persuasive indicia’ of legislative intent”); 2A N. Singer & S. Singer, supra,
      § 48:6, pp. 588–89 (legislative intent clearly expressed in committee report trumps rules of textual construction, such
      as ejusdem generis).
72    Notably, all but one of the thirty-two sponsors and cosponsors of S. 908 also cosponsored S. 397, 109th Cong. (2005),
      the bill that ultimately became PLCAA, and the sponsor of each bill cosponsored the other.
73    See, e.g., 151 Cong. Rec. 18,099 (2005), remarks of Senator Christopher John Dodd.
74    151 Cong. Rec. 18,058 (2005), remarks of Senator Coburn; id., 18,084, 18,100, 19,135, remarks of Senator Craig; id.,
      18,941–42, remarks of Senator Richard John Santorum; id., 19,118–19, remarks of Senator John Thune; id., 19,119,
      remarks of Senator Jefferson Beauregard Sessions III; id., 23,268, remarks of Representative Robert William Goodlatte;
      id., 23,278, remarks of Representative John J. H. Schwarz; see also Cincinnati v. Beretta U.S.A. Corp., 95 Ohio St. 3d
      416, 417, 768 N.E.2d 1136 (2002) (recognizing “[the] growing number of lawsuits brought by municipalities against gun
      manufacturers and their trade associations to recover damages associated with the costs of firearm violence incurred
      by the municipalities”).
75    The House report on a substantially similar bill introduced during the 107th Congress explained the need for the legislation
      as follows: “There are a number of legal theories under which plaintiffs are arguing [that] the firearms industry should
      be held responsible, including improper or defective distribution, unsafe design or product liability, and public nuisance.
      To date, every case that has been litigated to conclusion has been dismissed ....” H.R. Rep. No. 107-727, pt. 1, p. 4




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      (2002). Notably, wrongful marketing claims are not identified among the category of legal theories that Congress sought
      to preclude.
76    The cosponsors further emphasized that plaintiffs in the cases of concern were seeking legislative type equitable
      remedies, such as purchase limits or restrictions on sales to small gun dealers. See, e.g., 151 Cong. Rec. 18,103 (2005),
      remarks of Senator Baucus; see also id., 18,059, remarks of Senator Coburn.
77    See, e.g., 151 Cong. Rec. 17,370 (2005), remarks of Senator Sessions; id., 18,942, remarks of Senator Richard John
      Santorum; id., 19,119, 19,129, remarks of Senator Orrin Grant Hatch; id., 19,120, remarks of Senator Craig;
78    See, e.g., 151 Cong. Rec. 19,120 (2005), remarks of Senator Craig; id., 23,267, remarks of Representative Mike Pence;
      id., 23,273, remarks of Representative Frank James Sensenbrenner, Jr.
79    We note, however, that there also is ample precedent for recognizing wrongful marketing claims of this sort predicated on
      tort theories of liability. See, e.g., Braun v. Soldier of Fortune Magazine, Inc., 968 F.2d 1110, 1112, 1114, 1122 (11th Cir.
      1992) (affirming judgment for plaintiff under Georgia common law when defendants' published advertisement in which
      “mercenary” offered “[discreet] gun for hire,” resulting in murder of plaintiffs' decedent), cert. denied, 506 U.S. 1071, 113
      S.Ct. 1028, 122 L.Ed.2d 173 (1993); Merrill v. Navegar, Inc., supra, 26 Cal. 4th at 491 and n.9, 110 Cal.Rptr.2d 370, 28
      P.3d 116 (leaving open possibility that California law recognizes cause of action for negligent advertising premised on
      immoral promotion of criminal use of firearms); Bubalo v. Navegar, Inc., Docket No. 96 C 3664, 1997 WL 337218, *9
      (N.D. Ill. June 13, 1997) (determining that Illinois law recognizes cause of action for negligent marketing of assault pistols
      for criminal purposes but holding that plaintiffs had failed to plead sufficient facts to establish causation), modified on
      other grounds, 1998 WL 142359 (N.D. Ill. March 20, 1998); Moning v. Alfono, 400 Mich. 425, 432, 254 N.W.2d 759 (1977)
      (question of whether marketing slingshots directly to children creates unreasonable risk of harm was for jury to resolve).
80    We further observe that, during the legislative debates, supporters of the bill that became PLCAA frequently stated that
      more than one half of the states in the country already had adopted similar laws and that PLCAA was necessary primarily
      to establish uniform national standards and to ensure that frivolous actions were not filed in the minority of jurisdictions that
      had not enacted such protections. See, e.g., 151 Cong. Rec. 17,370 (2005), remarks of Senator Sessions; id., 23,020,
      remarks of Representative Phil Gingrey; id., 23,024, remarks of Representative Charles Foster Bass; id., 23,265, remarks
      of Representative Frederick C. Boucher; see also Ileto v. Glock, Inc., supra, 565 F.3d at 1136 (noting “Congress' intention
      to create national uniformity” in enacting PLCAA). As the author of a virtually identical House bill explained, “[t]he bill we
      are considering today is designed to simply mirror these [s]tates and what they have done to provide a unified system of
      laws ....” 151 Cong. Rec. 23,266, remarks of Representative Clifford Bundy Stearns.
      Notably, most of the state laws to which PLCAA was analogized, by their terms, bar only actions against firearms sellers
      brought by municipalities and other public entities. See H.R. Rep. No. 108-59, p. 16 (2003). Indeed, legislators recognized
      that “[m]any [states'] immunity statutes only limit the ability of cities, counties, and other local governments to sue [gun
      manufacturers and sellers].” Id. Moreover, of the state laws that provide broader immunity to firearms sellers, many govern
      only product liability actions; see, e.g., Idaho Code Ann. § 6-1410 (2004); N.C. Gen. Stat. § 99B-11 (2017); S.C. Code
      Ann. § 15-73-40 (2005); Tex. Civ. Prac. & Rem. Code Ann. § 82.006 (b) (West 2017); Wn. Rev. Code Ann. § 7.72.030
      (1) (a) (West 2017); whereas others permit actions alleging the violation of any state law. See, e.g., Ohio Rev. Code
      Ann. § 2305.401 (B) (3) (West 2017); see also Mich. Comp. Laws Serv. § 28.435 (7) (LexisNexis 2015) (“[a] federally
      licensed firearms dealer is not liable for damages arising from the use or misuse of a firearm if the sale complies with
      this section, any other applicable law of this state, and applicable federal law”). Accordingly, very few of the state laws
      on which legislators purported to model PLCAA would even potentially bar the types of wrongful marketing claims at
      issue in the present action.
81    See, e.g., 151 Cong. Rec. 18,085 (2005), remarks of Senator Craig; id., 18,914, remarks of Senator Kathryn Ann Bailey
      Hutchison; id., 18,942, remarks of Senator Richard John Santorum.
82    See, e.g., 151 Cong. Rec. 17,370–71 (2005), remarks of Senator Sessions (“Why would the manufacturer or seller of a
      gun who is not negligent, who obeys all of the applicable laws—we have a host of them—be held accountable ... ? ... I
      don't understand how ... [a product that is] sold according to the laws of the United States [can create legal liability] for
      an intervening criminal act.”); id., 17,371, remarks of Senator Sessions (“Manufacturers and sellers are still responsible
      for their own negligent or criminal conduct and must operate entirely within the complex [s]tate and [f]ederal laws....
      Plaintiffs can go to court if the gun dealers do not follow the law ....”); id., 17,377, remarks of Senator Sessions (“Under
      this bill, I think it is very important to note that you can sue gun sellers and manufacturers who violate the law. It is
      crystal clear in the statute that this is so.”); id., 17,390, remarks of Senator Orrin Grant Hatch (“This bill is not a license
      for the gun industry to act irresponsibly. If a manufacturer or seller does not operate entirely within [f]ederal or [s]tate
      law, it is not entitled to the protection of this legislation.” [Emphasis added.] ); id., 18,059, remarks of Senator Coburn



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      (“[m]anufacturers and sellers are still responsible for their own negligent or criminal conduct and must operate entirely
      within the [f]ederal and [s]tate laws” [emphasis added] ); id., 18,103, remarks of Senator Baucus (bill confers immunity
      on “[b]usinesses that comply with all applicable [f]ederal and [s]tate laws” [emphasis added] ); id., remarks of Senator
      Baucus (“This bill ... will not shield the industry from its own wrongdoing or from its negligence .... For example, the bill
      will not require dismissal of a lawsuit if a member of the industry breaks the law ....”); id., 18,942, remarks of Senator
      Richard John Santorum (PLCAA is “narrowly crafted” law that continues to hold responsible “individuals and companies
      that knowingly violate the law”); id., 19,118–19, remarks of Senator John Thune (“This bill ... [protects] innocent ... gun
      manufacturers and gun dealers ... who have abided by the law ... [but] allows suits against manufacturers ... for violating
      a law in the production or sale of a firearm .... These are not arbitrary standards .... They are established legal principles
      that apply across the board to all industries.”); id., 23,020, remarks of Representative Phil Gingrey (exception applies
      to violations of “a [s]tate or [f]ederal statute applicable to sales or marketing”); id., 23,265, remarks of Representative
      Frederick C. Boucher (“[t]he bill ... does not affect suits against anyone who has violated other [s]tate or [f]ederal laws”);
      id., 23,266, remarks of Representative Clifford Bundy Stearns (“[T]his legislation is very narrowly tailored to allow suits
      against any bad actors to proceed. It includes carefully crafted exceptions ... for ... criminal behavior by a gun maker or
      seller ....”); id., 23,274, remarks of Representative Frank James Sensenbrenner, Jr. (“This is a carefully crafted bill. It
      provides immunity for people who have not done anything wrong ... but it does allow lawsuits to proceed against the bad
      actors.”); id., remarks of Representative Steny Hamilton Hoyer (bill provides immunity “unless a manufacturer or seller
      of arms acts in some wrongful or criminal way”).
83    See, e.g., 151 Cong. Rec. 2561 (2005) (“These lawsuits are based [on] the notion that even though a business complies
      with all laws and sells a legitimate product, it should be held responsible .... [PLCAA] specifically provides that actions
      based on the wrongful conduct of those involved in the business of manufacturing and selling firearms would not be
      affected by this legislation. The bill is solely directed to stopping abusive, politically driven litigation ....” [Emphasis
      added.] ); id., 18,057 (“[t]his bill gives specific examples of lawsuits not prohibited ... lawsuits based on violations of [state]
      and [f]ederal law”); id., 18,057–58 (“Any manufacturer, distributor, or dealer who knowingly violates any [s]tate or [f]ederal
      law can be held civilly liable under the bill. This bill does not shut the courthouse door.... Current cases [in which] a
      manufacturer, distributor, or dealer knowingly violates a [s]tate or [f]ederal law will not be thrown out.” [Emphasis added.] );
      id., 18,061 (“[This bill] does not protect firearms ... manufacturers, sellers or trade associations from any lawsuits based
      on their own negligence or criminal conduct. The bill gives specific examples of lawsuits not prohibited. Let me repeat,
      not prohibited: Product liability ... [n]egligence or negligent entrustment, breach of contract, lawsuits based on a violation
      of [s]tate and [f]ederal law, it is very straightforward, and we think it is very clear.”); id., 18,085 (“Finally, this bill does not
      protect any member of the gun industry from lawsuits for harm resulting from any illegal actions they have committed.
      Let me repeat it. If a gun dealer or manufacturer violates the law, this bill is not going to protect them ....” [Emphasis
      added.] ); id., 18,096 (“[i]f manufacturers or dealers break the law or commit negligence, they are still liable”); id., 18,911
      (“this legislation [has come] to the floor to limit the ability of junk or abusive kinds of lawsuits in a very narrow and defined
      way, but in no way—and I have said it very clearly—denying the recognition that if a gun dealer or a manufacturer acted
      in an illegal or irresponsible way ... this bill would not preempt or in any way protect them”); id., 19,136–37 (“[t]his bill
      will not prevent a single victim from obtaining relief for wrongs done to them by anyone in the gun industry”); id., 19,137
      (“This bill is intended to do one thing, and that is to end the abuse that is now going on in the court system of America
      against law-abiding American businesses when they violate no law.... But if that law-abiding citizen violates the law ...
      then they are liable.” [Emphasis added.] ).
84    Indeed, Senator Craig suggested during the legislative debates that a law as broadly applicable as a local zoning
      regulation could qualify as a predicate statute. See 151 Cong. Rec. 18,096 (2005).
85    As the amici Newtown Action Alliance and Connecticut Association of Public School Superintendents stated in their
      amicus brief, at the time of the Sandy Hook massacre, Lanza owned a computer game entitled “School Shooting,” in
      which the player enters a school and shoots at students.
1     Section 7901 of title 15 of the United States Code provides: “(a) Findings “Congress finds the following:
      “(1) The Second Amendment to the United States Constitution provides that the right of the people to keep and bear
      arms shall not be infringed.
      “(2) The Second Amendment to the United States Constitution protects the rights of individuals, including those who are
      not members of a militia or engaged in military service or training, to keep and bear arms.
      “(3) Lawsuits have been commenced against manufacturers, distributors, dealers, and importers of firearms that operate
      as designed and intended, which seek money damages and other relief for the harm caused by the misuse of firearms
      by third parties, including criminals.



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      “(4) The manufacture, importation, possession, sale, and use of firearms and ammunition in the United States are heavily
      regulated by Federal, State, and local laws. Such Federal laws include the Gun Control Act of 1968, the National Firearms
      Act [26 U.S.C. § 5801 et seq.], and the Arms Export Control Act [22 U.S.C. § 2751 et seq.].
      “(5) Businesses in the United States that are engaged in interstate and foreign commerce through the lawful design,
      manufacture, marketing, distribution, importation, or sale to the public of firearms or ammunition products that have been
      shipped or transported in interstate or foreign commerce are not, and should not, be liable for the harm caused by those
      who criminally or unlawfully misuse firearm products or ammunition products that function as designed and intended.
      “(6) The possibility of imposing liability on an entire industry for harm that is solely caused by others is an abuse of the
      legal system, erodes public confidence in our Nation's laws, threatens the diminution of a basic constitutional right and
      civil liberty, invites the disassembly and destabilization of other industries and economic sectors lawfully competing in the
      free enterprise system of the United States, and constitutes an unreasonable burden on interstate and foreign commerce
      of the United States.
      “(7) The liability actions commenced or contemplated by the Federal Government, States, municipalities, and private
      interest groups and others are based on theories without foundation in hundreds of years of the common law and
      jurisprudence of the United States and do not represent a bona fide expansion of the common law. The possible sustaining
      of these actions by a maverick judicial officer or petit jury would expand civil liability in a manner never contemplated by
      the framers of the Constitution, by Congress, or by the legislatures of the several States. Such an expansion of liability
      would constitute a deprivation of the rights, privileges, and immunities guaranteed to a citizen of the United States under
      the Fourteenth Amendment to the United States Constitution.
      “(8) The liability actions commenced or contemplated by the Federal Government, States, municipalities, private interest
      groups and others attempt to use the judicial branch to circumvent the Legislative branch of government to regulate
      interstate and foreign commerce through judgments and judicial decrees thereby threatening the Separation of Powers
      doctrine and weakening and undermining important principles of federalism, State sovereignty and comity between the
      sister States.
          “(b) Purposes
          “The purposes of [the arms act] are as follows:
      “(1) To prohibit causes of action against manufacturers, distributors, dealers, and importers of firearms or ammunition
      products, and their trade associations, for the harm solely caused by the criminal or unlawful misuse of firearm products
      or ammunition products by others when the product functioned as designed and intended.
      “(2) To preserve a citizen's access to a supply of firearms and ammunition for all lawful purposes, including hunting, self-
      defense, collecting, and competitive or recreational shooting.
      “(3) To guarantee a citizen's rights, privileges, and immunities, as applied to the States, under the Fourteenth Amendment
      to the United States Constitution, pursuant to section 5 of that Amendment.
      “(4) To prevent the use of such lawsuits to impose unreasonable burdens on interstate and foreign commerce.
      “(5) To protect the right, under the First Amendment to the Constitution, of manufacturers, distributors, dealers, and
      importers of firearms or ammunition products, and trade associations, to speak freely, to assemble peaceably, and to
      petition the Government for a redress of their grievances.
      “(6) To preserve and protect the Separation of Powers doctrine and important principles of federalism, State sovereignty
      and comity between sister States.
      “(7) To exercise congressional power under article IV, section 1 (the Full Faith and Credit Clause) of the United States
      Constitution.”
2     Section 7903 (5) (A) of title 15 of the United States Code provides: “In general
      “The term ‘qualified civil liability action’ means a civil action or proceeding or an administrative proceeding brought by any
      person against a manufacturer or seller of a qualified product, or a trade association, for damages, punitive damages,
      injunctive or declaratory relief, abatement, restitution, fines, or penalties, or other relief, resulting from the criminal or
      unlawful misuse of a qualified product by the person or a third party, but shall not include—
      “(i) an action brought against a transferor convicted under section 924 (h) of title 18, or a comparable or identical State
      felony law, by a party directly harmed by the conduct of which the transferee is so convicted;
      “(ii) an action brought against a seller for negligent entrustment or negligence per se;
      “(iii) an action in which a manufacturer or seller of a qualified product knowingly violated a State or Federal statute
      applicable to the sale or marketing of the product, and the violation was a proximate cause of the harm for which relief
      is sought, including—




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          “(I) any case in which the manufacturer or seller knowingly made any false entry in, or failed to make appropriate entry
          in, any record required to be kept under Federal or State law with respect to the qualified product, or aided, abetted,
          or conspired with any person in making any false or fictitious oral or written statement with respect to any fact material
          to the lawfulness of the sale or other disposition of a qualified product; or
          “(II) any case in which the manufacturer or seller aided, abetted, or conspired with any other person to sell or otherwise
          dispose of a qualified product, knowing, or having reasonable cause to believe, that the actual buyer of the qualified
          product was prohibited from possessing or receiving a firearm or ammunition under subsection (g) or (n) of section
          922 of title 18;
      “(iv) an action for breach of contract or warranty in connection with the purchase of the product;
      “(v) an action for death, physical injuries or property damage resulting directly from a defect in design or manufacture
      of the product, when used as intended or in a reasonably foreseeable manner, except that where the discharge of the
      product was caused by a volitional act that constituted a criminal offense, then such act shall be considered the sole
      proximate cause of any resulting death, personal injuries or property damage; or
      “(vi) an action or proceeding commenced by the Attorney General to enforce the provisions of chapter 44 of title 18 or
      chapter 53 of title 26.”
3     Section 7902 of title 15 of the United States Code provides: “(a) In general “A qualified civil liability action may not be
      brought in any Federal or State court.
          “(b) Dismissal of pending actions
      “A qualified civil liability action that is pending on October 26, 2005, shall be immediately dismissed by the court in which
      the action was brought or is currently pending.”
4     The plaintiffs at issue in the present appeal are as follows: Donna L. Soto, administratrix of the estate of Victoria L. Soto;
      Ian Hockley and Nicole Hockley, coadministrators of the estate of Dylan C. Hockley; William D. Sherlach, executor of
      the estate of Mary Joy Sherlach; Leonard Pozner, administrator of the estate of Noah S. Pozner; Gilles J. Rousseau,
      administrator of the estate of Lauren G. Rousseau; David C. Wheeler, administrator of the estate of Benjamin A. Wheeler;
      Neil Heslin and Scarlett Lewis, coadministrators of the estate of Jesse McCord Lewis; Mark Barden and Jacqueline
      Barden, coadministrators of the estate of Daniel G. Barden; and Mary D'Avino, administratrix of the estate of Rachel M.
      D'Avino. See also footnote 2 of the majority opinion.
5     The defendants' are as follows: Bushmaster Firearms International, LLC; Freedom Group, Inc.; Bushmaster Firearms;
      Bushmaster Firearms, Inc.; Bushmaster Holdings, LLC; Remington Arms Company, LLC; Remington Outdoor Company,
      Inc.; Camfour, Inc.; Camfour Holding, LLP; Riverview Sales, Inc.; and David LaGuercia.
6     It is not disputed that the AR-15 is a “qualified product” under the arms act. See 15 U.S.C. § 7903 (4) (2012) (defining “
      ‘qualified product’ ” as “firearm ... ammunition ... or component part ... that has been shipped or transported in interstate
      or foreign commerce”). For the sake of convenience and clarity, I use the word “firearm” in describing the reach of the
      arms act, understanding that word to be synonymous with the definition of “qualified product” under 15 U.S.C. § 7903 (4).
7     Section 240.45 of New York's Penal Law (McKinney 2008) provided in relevant part: “A person is guilty of criminal
      nuisance in the second degree when:
      “1. By conduct either unlawful in itself or unreasonable under all the circumstances, he knowingly or recklessly creates
      or maintains a condition which endangers the safety or health of a considerable number of persons; or
      “2. He knowingly conducts or maintains any premises, place or resort where persons gather for purposes of engaging
      in unlawful conduct ....”
8     Judge Katzmann also observed that this approach creates a “Catch-22,” insofar as “the apparently insurmountable
      obstacle for the plaintiffs here is that the New York courts have not yet addressed the question—as such, the majority
      feels free to conclude that [the criminal nuisance statute] is not ‘applicable’ to the sale and marketing of firearms. Unlike,
      say, a fruit, which is edible long before someone has eaten it, or gasoline, which is flammable even before someone has
      ignited it, the majority finds that a state law is not applicable until a state court actually applies it.” New York v. Beretta
      U.S.A. Corp., supra, 524 F.3d at 406–407. Judge Katzmann criticized this as inconsistent with the plain meaning of the
      word “applicable,” and observed that it invited forum shopping in order for parties first to obtain a state court interpretation
      of the potentially applicable state law. Id., at 407. Instead, Judge Katzmann would follow what he deemed to be the “plain
      meaning” of the predicate exception, concluding that [the] criminal nuisance statute could be applied to firearms by its
      general terms, and he would have certified to the New York Court of Appeals a question of state law, namely, “whether
      the ... criminal nuisance statute ... is in fact ‘applicable to the sale and marketing of firearms.’ ” (Citation omitted.) Id.
      Although I disagree with Judge Katzmann's ultimate conclusion with respect to the plain meaning of the relevant statutory
      language, I nevertheless share his other concerns with respect to the interpretation of the predicate exception.



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9     I also find unpersuasive the decision of the Indiana Court of Appeals in Smith & Wesson Corp. v. Gary, 875 N.E.2d 422,
      431 (Ind. App. 2007), transfer denied, 915 N.E.2d 978 (Ind. 2009), to the extent that it concluded that the plain language
      of the predicate exception did not bar a city's claim of public nuisance against a gun manufacturer insofar as the nuisance
      statute is “capable of being applied” to the sale and marketing of firearms. I note, however, that the court emphasized that
      the allegations in the complaint satisfied the manufacturers' more restrictive reading of the predicate exception, because
      they claimed numerous violations of “statute[s] directly applicable to the sale or marketing of a firearm ....” Id., at 432.
10    I note that the plaintiffs in the present case have candidly acknowledged that the approach adopted by the Ninth Circuit
      in Ileto v. Glock, Inc., supra, 565 F.3d at 1126, is “more restrictive” than the Second Circuit's approach in New York v.
      Beretta U.S.A. Corp., supra, 524 F.3d at 404.
11    The decision of the Ninth Circuit in Ileto was not unanimous. In dissent, Judge Marsha S. Berzon concluded that the
      plaintiffs' claims alleging violations of the California Civil Code were, in fact, saved by the predicate exception. See Ileto
      v. Glock, Inc., supra, 565 F.3d at 1146–47. Judge Berzon first observed that “the predicate exception cannot possibly
      encompass every statute that might be ‘capable of being applied’ to the sale or manufacture of firearms; if it did, the
      exception would swallow the rule, and no civil lawsuits would ever be subject to dismissal under the [arms act]. I therefore
      agree with the majority that a limiting principle must be found, and that rather than trying to locate it in the word ‘applicable’
      itself, we must look to the predicate exception's surrounding words.” (Emphasis in original.) Id., at 1155. Judge Berzon
      determined that “the key to interpreting the predicate exception is [Congress'] use of the word ‘knowingly’ ”; id.; insofar
      as “[a]pplying the [arms act's] predicate exception as written—that is, as applying to all statutes capable of being applied
      to the sale or marketing of firearms, but imposing an actual knowledge requirement—would prohibit a swath of lawsuits
      against firearms manufacturers and sellers, including those brought by municipalities for violations of no-fault or absolute
      liability statutes or those brought by individuals alleging vicarious liability under state tort law for the conduct of third
      parties of which the gun manufacturers or sellers were not aware.” Id., at 1163. Judge Berzon concluded that the various
      allegations in the plaintiffs' complaint supported their claim that the defendants' “knowingly committed a range of acts in
      violation of California negligence and nuisance law” by engaging in sales and marketing practices that created “distribution
      channels that they know regularly provide guns to criminals and underage end users [and, despite information from
      government crime trace reports,] knowingly supply a range of disreputable distributors, dealers, gun shops, pawnshops,
      gun shows, and telemarketers in the [s]tate of California ....” (Emphasis in original; internal quotation marks omitted.)
      Id., at 1156.
12    The majority states that Congress intended that the arms act itself be narrowly construed, insofar as its proponents
      described it as a “ ‘narrow’ ” exemption intended only to curb “ ‘junk or abusive’ ” lawsuits seeking to charge the firearms
      industry liable for the acts of third parties who are beyond their control. See, e.g., 151 Cong. Rec. 18,084, 18,911, 19,137
      (2005), remarks of Senator Larry Edwin Craig. I disagree with the majority that this generalized legislative history indicates
      any desire by Congress to depart from the usual rules of statutory construction. Indeed, in arguing in support of the arms
      act, Representative Cliff Stearns, its sponsor in the House of Representatives, suggested that it would “eliminate predatory
      lawsuits that would otherwise cripple an entire industry,” and described numerous pending cases against manufacturers
      and dealers arising from criminal shootings, based on theories such as public nuisance and strict liability statutes; he
      emphasized that he “made these remarks to ensure that anyone trying to evade the letter and spirit of this legislation will
      have as little ‘wiggle room’ as possible.” Id., 23,279–80.
      I also note that frivolity remains in the eye of the beholder, and that the proponents of the arms act appear from their
      remarks, discussed in greater detail in part IV of this dissenting opinion, to employ that term in a manner different than
      its well established legal meaning. See, e.g., Schoonmaker v. Lawrence Brunoli, Inc., 265 Conn. 210, 254–55, 828 A.2d
      64 (2003) (“an action is frivolous ... if the client desires to have the action taken primarily for the purpose of harassing
      or maliciously injuring a person or if the lawyer is unable either to make a good faith argument on the merits of the
      action taken or to support the action taken by a good faith argument for an extension, modification or reversal of existing
      law” [emphasis omitted; internal quotation marks omitted] ); cf. Mareno v. Rowe, 910 F.2d 1043, 1047 (2d Cir. 1990)
      (discussing rule 11 of Federal Rules of Civil Procedure), cert. denied, 498 U.S. 1028, 111 S.Ct. 681, 112 L.Ed.2d 673
      (1991). Accordingly, I emphasize that I do not view the plaintiffs' claims in the present case as frivolous in any way.
13    I note that a related canon often applied is “ejusdem generis, or the principle that when a general term follows a specific
      one, the general term should be understood as a reference to subjects akin to the one with specific enumeration.” (Internal
      quotation marks omitted.) Ali v. Federal Bureau of Prisons, 552 U.S. 214, 223, 128 S.Ct. 831, 169 L.Ed.2d 680 (2008).
14    The majority relies on portions of the legislative history as indicating that “the record keeping and unlawful buyer
      illustrations were included in the final version of [the arms act] not in an effort to define, clarify, or narrow the universe
      of laws that qualify as predicate statutes but, rather, simply to stave off the politically potent attack that [the arms act]



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      would have barred lawsuits like the one that had arisen from the widely reported beltway sniper attacks. There is no
      other plausible explanation for why Congress chose to modify the predicate exception language contained in the 2001
      and 2003 bills, which otherwise was ‘virtually identical’ to the language in [the arms act]. 151 Cong. Rec. 2561 (2005),
      remarks of Senator Larry Edwin Craig; see also id., 18,096, remarks of Senator Craig (indicating that bill is same for all
      intents and purposes as version introduced during 108th Congress, with addition of clarifying examples).” The majority
      further notes that this “conclusion is bolstered by the fact that Congress was fully aware that there are many types of
      federal statutes and regulations, filling ‘hundreds of pages,’ that specifically govern the firearms industry. 151 Cong. Rec.
      18,059 (2005), remarks of Senator Thomas Allen Coburn.”
      I respectfully disagree with this reading of the legislative history with respect to the import of the illustrative statutes in the
      predicate exception. Although I agree that the vitality of the beltway sniper lawsuit was a powerful political consideration
      during the enactment of the arms act, I view that action's basis in concrete record keeping and unlawful buyer violations
      simply as an exemplar of what Congress did not intend the arms act to preclude. With those exemplars included in the
      final version of the predicate exception, I am not at liberty simply to ignore their import in the construction of the statute
      as a whole. See, e.g., United States v. Dauray, supra, 215 F.3d at 264 (“our role as a court is to apply the provision as
      written, not as we would write it” [internal quotation marks omitted] ).
15    As a general matter, I also agree with the observation of Judge Marsha S. Berzon, in her dissenting opinion in Ileto
      v. Glock, Inc., supra, 565 F.3d at 1126, that much of the legislative history of the arms act needs to be taken with a
      grain of salt. Judge Berzon aptly observed that “individual legislators at times suggested divergent views of what sorts of
      lawsuits the [arms act] would affect if it were passed into law. Some of those views appear perhaps implausibly narrow or
      implausibly broad, likely because the bill excited strong emotions from both its supporters and its opponents. As courts
      have long cautioned, however, the statements of single lawmakers do not establish congressional intent.” (Footnote
      omitted.) Id., at 1161–62.
16    In contrast, opponents of the arms act roundly criticized it as a gift to the gun lobby that would deprive injured persons
      of the opportunity to hold the firearms industry responsible for turning a blind eye to criminal activity in the name of
      profits. See, e.g., 151 Cong. Rec. 18,065 (2005), remarks of Senator Dianne Feinstein (“[The arms act] has nothing to
      do with protecting lawful commerce; rather, it protects one segment of industry against the lawful interests of our [s]tates
      in remedying and deterring negligent conduct.... Its proponents argue that lawsuits need to be stopped in order to defend
      their view of the [s]econd [a]mendment. But that is pretense. This bill is a simple giveaway to one industry—the gun lobby.
      It is a special interest windfall.”); id., 18,902, remarks of Senator Edward Moore Kennedy (“Instead of addressing the real
      issues that can make our country and our communities safer, we are considering a bill that will close the courthouse door
      to victims of gun crimes and give a free pass to the handful of gun dealers and gun manufacturers who sell firearms to
      terrorists and criminals. We are doing it to appease the special interests of the [National Rifle Association].”); id., 23,021,
      remarks of Representative James P. McGovern (“While the proponents of this bill claim that the intent of this legislation
      is to protect jobs at mom-and-pop gun stores from reckless lawsuits, the truth is that the bill is all about protecting profits
      for the gun industry. Ensuring its yearly profits, not protecting jobs nor safeguarding gun sales, is atop the priorities of
      the gun industry.”); id., 19,217, remarks of Senator Charles Ellis Schumer (“[I]t is shocking that we would spend our
      time giving unwarranted and unprecedented immunity to an industry whose products, when allowed into the hands of
      the wrong people, do incredible harm to innocent Americans. We even put off working on a defense bill to do this favor
      to the gun lobby.”).
17    I disagree with the majority's circular reliance on statements of legislators indicating that the arms act protects “ ‘law-
      abiding’ ” gun dealers and manufacturers, as suggesting that encompasses those who do not engage in violations of
      unfair trade practices acts. See, e.g., 151 Cong. Rec. 18,057 (2005), remarks of Senator Craig (observing that actions
      against firearms industry “all seek the same goal of forcing law-abiding businesses selling a legal product to pay for
      damages from the criminal misuse of that product”); id., 19,137, remarks of Senator Craig (“[w]hat we have crafted is a
      very narrow exemption from predatory lawsuits seeking to hold legitimate, law-abiding people responsible for the harm
      done by the misdeeds of people over whom they have no control”); id., 23,024, remarks of Representative Charles Foster
      Bass (arguing that arms act “protects licensed and law abiding firearms and ammunitions manufacturers and sellers from
      lawsuits that seek to hold them responsible for the crimes that third party criminals commit”). These statements, which
      are ambiguous and no more illuminating than the purpose of eliminating “frivolous” lawsuits, prove too much, as the arms
      act by its very terms shields gun manufacturers and dealers from the consequences of violating numerous laws, both
      common and statutory in nature, such as California's general tort statutes. See Ileto v. Glock, Inc., supra, 565 F.3d at
      1136–38. Put differently, these remarks do nothing to answer the core question in the present appeal, which requires this
      court to consider whether such laws are indeed within the contemplation of the predicate exception.



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18    I recognize that the statements of opponents may be of limited value in discerning legislative intent. See, e.g., National
      Woodwork Manufacturers Assn. v. National Labor Relations Board, 386 U.S. 612, 639–40, 87 S.Ct. 1250, 18 L.Ed.2d
      357 (1967) (“[W]e have often cautioned against the danger, when interpreting a statute, of reliance upon the views of its
      legislative opponents. In their zeal to defeat a bill, they understandably tend to overstate its reach.” [Internal quotation
      marks omitted.] ). I find it telling, however, that Senator Edward Kennedy, in opposing the arms act, expressly recognized
      that it would protect firearms manufacturers who engage in just the kind of advertising that the plaintiffs in the present
      case claim is immoral in violation of CUTPA. Senator Kennedy stated that the “bill will even protect manufacturers that
      promote military-style weapons for use in battle in urban scenarios against any foe at any range. It protects manufacturers
      who brag about their weapons of war and spread them to our streets.” 151 Cong. Rec. 19,121–22; see also id. (“Look
      at this advertisement from Vulcan: ‘Vulcan Armament, the weapons of the special forces. From Afghanistan to Iraq, the
      guns of the special forces are now on sale in America.”).
19    Opponents of the proposed amendment to provide an exception to the arms act for “gross negligence” or “reckless
      conduct” also described it as unnecessary because they viewed such acts as likely to violate an existing federal or
      state statute. See 151 Cong. Rec. 18,919 (2005), remarks of Senator Kyl (“[Firearm manufacture and sale] is a highly
      regulated industry by law, by [f]ederal law and [s]tate law and even some local laws. And most of the acts that would
      meet the definition of gross negligence would already be in violation of law. And if they are in violation of law, they are not
      exempted from this legislation. We don't try to exempt any gun manufacturer for conduct which is in violation of law.”); id.,
      18,922, remarks of Senator Hatch (“[v]irtually any act that would meet the definition of gross negligence referenced in this
      amendment would already be a violation of [f]ederal, [s]tate or local law, and therefore would not receive the protection of
      this law anyway”); id., 19,118, remarks of Senator Craig (discussing rejection of gross negligence exception and arguing
      that arms act “does not take away the standards of law and the specifications within the [f]ederal law today as it relates
      to the responsible and legal operation and performance of a gun manufacturer or a licensed [f]ederal firearms dealer”).
20    My research indicates that the limited academic commentary on this issue also supports this interpretation of the
      predicate exception. See K. Armstrong, “Nigh-Impenetrable: Firearm Manufacturer Liability under the Protection of Lawful
      Commerce in Arms Act in a Post-Heller World,” 28 Geo. Mason U. C.R. L.J. 173, 195 (2018) (“[s]tatutes qualifying for
      the predicate exception must not be of general applicability and cannot be codified general tort claims”); R. Sorensen,
      “The Ninth Circuit Forecloses a Bullet Sized Hole in the PLCAA in Ileto v. Glock, 565 F.3d 1126 (9th Cir. 2009),” 35
      S. Ill. U. L.J. 573, 595 (2011) (“[F]uture courts should only find statutes expressly regulating the firearm industry to be
      ‘applicable to the sale or marketing of firearms.’ It is through this narrow definition that the [arms act's] intended goal is
      realized.”); see also J. Sonner, “A Crack in the Floodgates: New York's Fourth Department, the PLCAA, and the Future
      of Gun Litigation After Williams v. Beemiller,” 61 Buff. L. Rev. 969, 984 (2013) (“The elusive definition remains—a law
      applicable to gun sales or marketing whose violation proximately causes harm for which relief is sought—without any
      clarification of ‘applicable.’ The Second Circuit hinted at a [less strict] approach, but no clear standard has emerged to
      determine whether a law or regulation indirectly concerning the gun industry may serve as a predicate statute.” [Emphasis
      in original; footnote omitted.] ); S. Wagman, “No One Ever Died from Copyright Infringement: The Inducement Doctrine's
      Applicability to Firearms Manufacturer Liability,” 32 Cardozo L. Rev. 689, 720 (2010) (“While it is apparent that the [arms
      act] is meant to protect firearms manufacturers from third party liability in instances of unintentional support of third party
      gun violence, instances in which manufacturers have induced harm should not be barred under [the arms act]. When
      manufacturers either intentionally or recklessly support illegal firearms markets, they are inducing a public nuisance;
      therefore the predicate exception should be triggered and claims should be allowed to proceed.”); but see J. Selkowitz,
      Note, “Guns, Public Nuisance, and the PLCAA: A Public Health-Inspired Legal Analysis of the Predicate Exception,” 83
      Temp. L. Rev. 793, 827–28 (2011) (suggesting that examples in predicate exception are consistent with promotion of
      public health, permitting maintenance of statutory public nuisance action “alleging that the gun industry, in violation of
      statute, created an environment dangerous to the public's health”).
21    I also strongly disagree with the majority's contention that the theory of liability underlying the plaintiffs' CUTPA claims
      “is not novel” and “does [not] sound in tort,” and, therefore, are not within the scope of claims that the arms act seeks
      to preempt. The Second Circuit has aptly observed that “[u]nfair trade practices found their origin in the common law of
      torts ....” United States v. Meldish, 722 F.2d 26, 28 (2d Cir. 1983), cert. denied, 465 U.S. 1101, 104 S.Ct. 1597, 80 L.Ed.2d
      128 (1984); see also, e.g., Kenney v. Independent Order of Foresters, 744 F.3d 901, 907 (4th Cir. 2014) (West Virginia
      unfair trade practices act claim “sounds in tort” given type of relief available under statute and sought in complaint); Ins.
      Co. of North America v. Della Industries, Inc., 998 F.Supp. 159, 164 (D. Conn. 1998) (CUTPA is tort claim for purposes
      of assignment under Uniform Commercial Code), vacated on other grounds, 229 F.3d 1135 (2d Cir. 1999); R. Langer
      et al., 12 Connecticut Practice Series: Connecticut Unfair Trade Practices, Business Torts and Antitrust (2018) § 2.1,



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      p. 13 (noting that CUTPA “has brought both expanded remedies and broad and indefinite substantive standards to the
      law of business torts”).
      Given the potential for liability and remedy available under CUTPA, which is broader than that available at common law;
      see, e.g., Associated Investment Co. Ltd. Partnership v. Williams Associates IV, 230 Conn. 148, 159, 645 A.2d 505
      (1994); I disagree with the logic behind the majority's premise that Congress intended the arms act to preempt state
      common-law claims, but leave undisturbed even broader sources of liability under state unfair trade practice statutes like
      CUTPA. See District of Columbia v. Beretta U.S.A. Corp., supra, 940 A.2d at 171 n.6 (court relied on findings in 15 U.S.C.
      § 7901 [a] [3] and [7], and rejected plaintiffs' reliance on congressional expression of “concern with liability actions ‘without
      foundation in hundreds of years of the common law’ and that ‘do not represent a bona fide expansion of the common law’
      ” as standing for proposition that “Congress was substantially less troubled by the existence of statutory liability actions
      reflecting judgments ‘by the legislatures of the several [s]tates’ ” because “[n]o such distinction ... is reflected either in
      the definition of a ‘qualified civil liability action’ or in the enumerated actions excluded therefrom, including the predicate
      exception; and to posit one all the same would ignore [Congress'] objection to ‘[l]awsuits” as a class [unless excepted]
      that ‘seek money damages and other relief [against manufacturers and sellers] for the harm caused by the misuse of
      firearms by third parties, including criminals’ ” [emphasis omitted] ).
22    I disagree with the majority's argument that the sponsors of the arms act “emphasized that their primary concern was
      not with lawsuits such as the present action, in which individual plaintiffs who have been harmed in a specific incident of
      gun violence seek to hold the sellers responsible for their specific misconduct in selling the weapons involved.... Many
      proponents indicated that their intent was to preclude the rising number of instances in which municipalities and ‘anti-
      gun activists’ filed ‘junk’ or ‘frivolous’ lawsuits targeting the entire firearms industry.” (Citation omitted; emphasis added.)
      The majority's assertion that the sponsors of the arms act did not desire to foreclose claims by individual plaintiffs who
      had suffered specific harm from an instance of gun violence is an overly generous reading of the legislative history. The
      legislative history indeed indicates that Congress specifically rejected proposed amendments that would have provided
      two groups of politically sympathetic individual plaintiffs, namely children and law enforcement officers injured in the
      line of duty, with relief from the strictures of the arms act. See 151 Cong. Rec. 19,116–17 (2005), remarks of Senator
      Frank Raleigh Lautenberg (proposing exception for children); id., 19,125–26, remarks of Senator Jon Stevens Corzine
      (proposing law enforcement exception); H.R. Rep. No. 109-124, supra, pp. 64–65, remarks of Representative Sheila
      Jackson Lee (proposing exemption for children); H.R. Rep. No. 109-124, supra, pp. 110–11, remarks of Representative
      Zoe Lofgren (describing potential effect of arms act on case of New Jersey police officers who brought action against
      gun dealer who sold weapons to straw buyer despite his suspicions).
23    I agree with the majority that the “regulation of advertising that threatens the public health, safety, and morals has long
      been considered a core exercise of the states' police powers.” See, e.g., Lorillard Tobacco Co. v. Reilly, 533 U.S. 525,
      541–42, 121 S.Ct. 2404, 150 L.Ed.2d 532 (2001). Nevertheless, I find overbroad the majority's reliance on the well
      established presumption that “Congress does not intend to supersede the historic police powers of the [s]tates absent
      clear intent ....” (Internal quotation marks omitted.) Federal Housing Finance Agency v. Nomura Holding America, Inc.,
      873 F.3d 85, 112 n.30 (2d Cir. 2017); see also, e.g., Altria Group, Inc. v. Good, 555 U.S. 70, 77, 129 S.Ct. 538, 172
      L.Ed.2d 398 (2008); Medtronic, Inc. v. Lohr, 518 U.S. 470, 485, 116 S.Ct. 2240, 135 L.Ed.2d 700 (1996). The majority's
      heavy reliance on this presumption elevates it beyond the more holistic preemption inquiry undertaken when the statutory
      language is ambiguous, as we consider the statute's “structure and purpose ... as a whole ... as revealed not only in
      the text, but through the reviewing court's reasoned understanding of the way in which Congress intended the statute
      and its surrounding regulatory scheme to affect business, consumers, and the law.” (Citation omitted; internal quotation
      marks omitted.) Medtronic, Inc. v. Lohr, supra, at 486, 116 S.Ct. 2240. In contrast, my review of the legislative history,
      and particularly the remarks of members of Congress expressing their concerns over the breadth of a gross negligence
      exception and the potential for vague standards of liability, indicates that Congress would not have contemplated letting
      a broadly worded state unfair trade practice statute like CUTPA be used to eviscerate its intent to protect firearms
      manufacturers and dealers from litigation arising from shootings perpetrated by third parties. See part IV of this dissenting
      opinion.
24    I also note that the majority observes that certain members of Congress “were committed to Americans' second
      amendment freedoms and sought to secure those freedoms by immunizing firearms companies from frivolous lawsuits.”
      Citing recent federal cases considering the constitutionality of bans on “assault weapons” and “high capacity magazines,”
      the majority also notes, however, that “[i]t is not at all clear ... that the second amendment's protections even extend to the
      types of quasi-military, semiautomatic assault rifles at issue in the present case.” See, e.g., Kolbe v. Hogan, 849 F.3d 114,
      136 (4th Cir.) (AR-15 with high capacity magazine is “weapon of war” excluded from second amendment coverage), cert.



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      denied, ––– U.S. ––––, 138 S.Ct. 469, 199 L.Ed.2d 374 (2017); New York State Rifle & Pistol Assn., Inc. v. Cuomo, 804
      F.3d 242, 257–61 (2d Cir. 2015) (assuming, arguendo, that second amendment protections extend to assault rifles, but
      concluding that ban on such weapons survives intermediate scrutiny). My review of the legislative history and statutory
      text does not indicate any intent by Congress to identify predicate statutes by examining various nuances of second
      amendment law. Because the degree to which the second amendment protects the AR-15 is, therefore, not at issue in
      this appeal, I do not consider that question further.
25    The majority states that it “must [be] presum[ed] that Congress was aware, when it enacted [the arms act], that both
      the [Federal Trade Commission] Act and state analogues such as CUTPA have long been among the primary vehicles
      for litigating claims that sellers of potentially dangerous products such as firearms have marketed those products in an
      unsafe and unscrupulous manner.” The majority then cites cases from this state for the proposition that “CUTPA ... has
      been applied to the sale of firearms,” and decisions from other jurisdictions for the proposition that “regulation of firearms
      advertising in our sister states frequently has been accomplished under the auspices of state consumer protection and
      unfair trade practice laws.” In my view, these decisions stand only for the proposition that wide reaching unfair trade
      practice statutes are as applicable to the firearms industry as they are to any other business; they have nothing at all to
      do with the arms act or the predicate exception. See Melton v. Century Arms, Inc., 243 F.Supp.3d 1290, 1296–97, 1305–
      1306 (S.D. Fla. 2017) (rifle owners brought, inter alia, Florida unfair trade practices act claim arising from advertising
      and sale of AK-47 rifles with known design defect that allows accidental discharge); FN Herstal, S.A. v. Clyde Armory,
      Inc., 123 F.Supp.3d 1356, 1375–76 and n.105 (M.D. Ga. 2015) (firearms manufacturer brought trademark infringement
      claims against firearms distributor and retailer under federal Lanham Act and Georgia deceptive trade practices law),
      aff'd, 838 F.3d 1071 (11th Cir. 2016), cert. denied, ––– U.S. ––––, 137 S.Ct. 1436, 197 L.Ed.2d 649 (2017); Beretta
      U.S.A. Corp. v. Federal Ins. Co., 117 F.Supp.2d 489, 492 (D. Md. 2000) (whether products hazard liability exclusion in
      commercial general liability policy relieved insurer of duty to defend and indemnify firearms manufacturer against claims
      of violations of state unfair trade practices statutes arising from “deceptive marketing and advertising of its products,
      by promoting the false notion that gun ownership and possession of handguns in the home increases one's security”),
      aff'd, 17 Fed. Appx. 250 (4th Cir. 2001); People v. Arcadia Machine & Tool, Inc., Docket No. 4095 (VPD), 2003 WL
      21184117, *26 (Cal. Super. April 10, 2003) (denying summary judgment in pre-arms act case on claim that Ohio gun
      distributor engaged in deceptive advertising “by advertising banned assault weapons in a manner that is likely to mislead
      potential California purchasers to believe that purchase and possession of such weapons is lawful, thereby creating an
      illegal market for such firearms in California”), aff'd sub nom. In re Firearm Cases, 126 Cal. App. 4th 959, 24 Cal.Rptr.3d
      659 (2005); American Shooting Sports Council, Inc. v. Attorney General, 429 Mass. 871, 882, 711 N.E.2d 899 (1999)
      (“[T]he Attorney General's regulatory authority under [state unfair trade practices act] regarding defective products is
      not limited to marketing and disclosure issues as the plaintiffs contend. His authority properly extends to regulating the
      sale of a product as unfair or deceptive when the product is defective in ways which a purchaser would not anticipate
      or the product is not as warranted, and to regulating in a manner which coordinates [unfair trade practices] liability with
      legislation declaring certain acts unlawful.”); Opinions, N.M. Atty. Gen. No. 77-23 (July 19, 1977) p. 149 (“There is nothing
      in [statute prohibiting carrying of firearms in liquor establishment] which makes it unlawful to advertise the sale of firearms
      in a liquor establishment, but since the liquor establishment cannot sell firearms, the advertising of the sale of firearms
      in the liquor establishment would constitute false advertising and an unfair or deceptive trade practice.... Of course, this
      is not intended to mean that the advertising of firearms as a general principle is forbidden in liquor establishments, but
      that any business establishment could not advertise something that it does not sell since that would be in violation of
      the statutes cited.” [Citations omitted.] ).
      The majority's reliance on two Connecticut cases, namely, Ganim v. Smith & Wesson Corp., 258 Conn. 313, 780 A.2d
      98 (2001), and Salomonson v. Billistics, Inc., Superior Court, judicial district of New London, Docket No. CV-88-508292,
      1991 WL 204385 (September 27, 1991), for the proposition that CUTPA has been previously applied to the sale and
      marketing of firearms is similarly unavailing. As the majority recognizes, this court's decision in Ganim was limited to
      a conclusion that municipalities lacked standing to pursue claims against firearms manufacturers and sellers for harms
      arising from gun violence. Ganim v. Smith & Wesson Corp., at 365, 780 A.2d 98. Indeed, the court specifically declined
      to address the substantive legal issues presented in that case, including whether firearms manufacturers and sellers
      may be held liable under CUTPA for “unfair and deceptive advertising” and “unfair and deceptive sales practices,” as
      supported by allegations that the firearms manufacturers and dealers “marketed and sold their handguns in a manner that
      causes harm to individuals, especially young children in Bridgeport; marketed and sold their handguns in a manner that
      contributes to homicides, suicides and accidental deaths in Bridgeport; and engaged in a campaign of misrepresentation
      concerning the dangers of their handguns” and that they “sell excessive numbers of guns to individual buyers, knowing



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Soto v. Bushmaster Firearms International, LLC, 331 Conn. 53 (2019)
202 A.3d 262, 364 Ed. Law Rep. 430

      or having reason to know that some or all of those guns are not for personal use, and are likely to be resold illegally
      and used to commit crimes; and sell guns that fail to incorporate feasible safety devices that would prevent misuse
      by unauthorized and unintended users.” Id., at 334–36. Accordingly, this court's decision in Ganim about the plaintiffs'
      standing in that case has absolutely no precedential value with respect to the viability of a CUTPA claim founded on the
      “immoral advertising” of firearms.
      The Superior Court's decision in Salomonson is even more inapposite than Ganim. Salomonson, which is a report of an
      attorney trial referee rather than a decision of a judge of the Superior Court, does not involve crime or victims of crime, but
      instead is a routine business dispute, in which the court held that a gun fabricator violated CUTPA by failing to perform
      under a contract to convert three semi-automatic rifles to fully automatic weapons, including by obtaining necessary
      federal regulatory approvals. See Salomonson v. Billistics, Inc., supra, Superior Court, Docket No. CV-88-508292.
26    The majority speculates about what Congress would have intended with respect to preemption in relation to an elaborate
      hypothetical about a “terrible crime like the ones involved in the Sandy Hook massacre” perpetrated by a “troubled young
      man” who had watched a firearms seller's “explicit advertisements depicting and glorifying school shootings, and pro-
      mot[ing] its products in video games, such as ‘School Shooting,’ that glorify and reward such unlawful conduct.” The
      majority posits that “even the most ardent sponsors of [the arms act] would not have wanted to bar a consumer protection
      lawsuit seeking to hold the supplier accountable for the injuries wrought by such unscrupulous marketing practices.” The
      majority then observes “that is not this case, and yet the underlying legal principles are no different. Once we accept
      the premise that Congress did not intend to immunize firearms suppliers who engage in truly unethical and irresponsible
      marketing practices promoting criminal conduct, and given that statutes such as CUTPA are the only means available to
      address those types of wrongs, it falls to a jury to decide whether the promotional schemes alleged in the present case
      rise to the level of illegal trade practices and whether fault for the tragedy can be laid at their feet.” I do not share the
      majority's apparent optimism about the 109th Congress, which passed the arms act; specifically, until those who ply their
      judicial craft at One First Street tell me differently, I do not believe that they would have been inclined to allow the use
      of a broadly drafted statute like CUTPA to hold a firearm manufacturer or seller involved in such a hypothetical liable for
      anything more than thoughts and prayers. Put differently, the arms act would preempt recourse unless the immoral and
      repugnant practices described by the majority violated a statute or regulation specifically governing the manner in which
      firearms may be advertised or marketed, as opposed to a more broadly applicable statute like CUTPA.
27    I emphasize that my conclusion is limited to CUTPA claims that do not rely on firearms-specific statutes as their source
      of public policy, insofar as I conclude only that CUTPA itself is not a predicate statute. Put differently, I do not conclude
      that the arms act preempts all CUTPA causes of action, but only that the predicate exception does not save those that
      do not allege the violation of a firearms-specific regulation or statute. See Ileto v. Glock, Inc., supra, 565 F.3d at 1133
      (noting distinction between right of action and predicate statute for purposes of arms act); cf. Sturm v. Harb Development,
      LLC, 298 Conn. 124, 139, 2 A.3d 859 (2010) (“[a]lthough CUTPA is primarily a statutory cause of action ... it equally is
      recognized that CUTPA claims may arise from underlying causes of action, such as contract violations or torts, provided
      the additional CUTPA elements are pleaded” [citation omitted] ).


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                                  Exhibit 2




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NO.    X06 CV15 6050025 S                           :             SUPERIOR COURT
                                                    :
DONNA L. SOTO, ADMINISTRATRIX                       :
OF THE ESTATE OF                                    :             COMPLEX LITIGATION
VICTORIA L. SOTO, ET AL.                            :             DOCKET
                                                    :
V.                                                  :             AT WATERBURY
                                                    :
BUSHMASTER FIREARMS                                 :
INTERNATIONAL, LLC, ET AL.                          :             MAY 19, 2020

                       REVISED SECOND AMENDED COMPLAINT

          COUNT ONE: § 52-555 Wrongful Death/Violation of Connecticut Unfair
                                 Trade Practices Act
                      (Estate of Victoria L. Soto v. Remington)

       1.    This is a civil action for damages and injunctive relief stemming from the shooting
at Sandy Hook Elementary School on December 14, 2012.

       2.      Defendant Bushmaster Firearms, also known as B.F.I. and B.F.I., Inc., was a Maine
corporation created in 1973 and located in Windham, Maine. At all relevant times, Bushmaster
Firearms manufactured, marketed and sold AR-15s.

      3.      Defendant Bushmaster Firearms, Inc. was another Maine corporation that
manufactured, marketed and sold AR-15s. Upon information and belief, Bushmaster Firearms, Inc.
manufactured, marketed and sold AR-15s.

       4.     Defendant Bushmaster Firearms International, LLC was a Delaware corporation that
was formed in 2006. (When originally created, it was named Rambo Acquisition, LLC.)
According to corporate filings, Bushmaster Firearms International, LLC was merged into
Remington Arms Company, LLC in 2011.

       5.     At all relevant times, Bushmaster Firearms International, LLC manufactured,
marketed and sold AR-15s.

      6.      Upon information and belief, Bushmaster Firearms International, LLC
manufactured the XM15-E2S that was used in the shooting at Sandy Hook Elementary School on
December 14, 2012.

       7.     Defendant Remington Arms Company, LLC is a Delaware limited liability
corporation. Defendant Bushmaster Firearms International, LLC was merged into Defendant
Remington Arms Company, LLC in 2011. At all relevant times, Remington Arms Company, LLC
manufactured, marketed and sold AR-15s.




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        8.    Defendant Bushmaster Holdings, LLC was incorporated in 2006 and operated as a
holding company for Bushmaster Firearms International, Inc. Bushmaster Holdings, LLC merged
into Freedom Group, Inc. in 2009.

       9.    Defendant Freedom Group, Inc., which is also sometimes called Freedom Group
and Freedom Group, LLC is a Delaware corporation originally formed under another name in
2007. Freedom Group, Inc. is one of the world’s largest manufacturers and dealers in firearms,
ammunition, and related accessories.

       10.    Upon information and belief, from 2006 on, Freedom Group, Inc. controlled,
marketed and sold the Bushmaster brand. Upon information and belief, during this time period
Freedom Group, Inc. sold Bushmaster brand products directly to retail stores.

       11.     Defendant Remington Outdoor Company, Inc. is a corporation formed in 2009 that
is engaged in the business of manufacturing, marketing and selling AR-15s. Freedom Group, Inc.,
which upon information and belief at all relevant times controlled the Bushmaster brand, was
renamed Remington Outdoor Company, Inc.

       12.      Upon information and belief, Defendants Bushmaster Firearms; Bushmaster
Firearms, Inc.; Bushmaster Firearms International, LLC; Remington Arms Company, LLC;
Bushmaster Holdings, LLC; Freedom Group, Inc.; and Remington Outdoor Company, Inc. are
functionally one entity and are hereinafter referred to as “Remington.”

     13.      Remington manufactured, marketed and sold firearms and ammunition under the
Bushmaster brand name.

       14.     Remington manufactured, marketed and sold the Bushmaster XM15-E2S rifle that
was used in the shooting at Sandy Hook Elementary School on December 14, 2012.

        15.    On February 7, 2013, Plaintiff Donna L. Soto was appointed Administratrix of the
Estate of Victoria Leigh Soto. A copy of the fiduciary certificate is attached hereto as Plaintiffs’
Exhibit A.

        16.      On December 3, 2014, Plaintiffs Ian and Nicole Hockley were appointed Co-
Administrators of the Estate of Dylan Christopher Jack Hockley. A copy of the fiduciary
certificate is attached hereto as Plaintiffs’ Exhibit B.

        17.    On December 4, 2014, Plaintiff David C. Wheeler was appointed Administrator of
the Estate of Benjamin A. Wheeler. A copy of the fiduciary certificate is attached hereto as
Plaintiffs’ Exhibit C.

        18.     On January 22, 2013, Plaintiff Mary A. D’Avino was appointed Administratrix of
the Estate of Rachel Marie D’Avino a/k/a Rachel M. D’Avino. A copy of the fiduciary certificate
is attached hereto as Plaintiffs’ Exhibit D.




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        19.    On December 8, 2014, Plaintiffs Mark and Jacqueline Barden were appointed Co-
Administrators of the Estate of Daniel G. Barden. A copy of the fiduciary certificate is attached
hereto as Plaintiffs’ Exhibit E.

        20.   On March 7, 2013, Plaintiff William D. Sherlach was appointed Executor of the
Estate of Mary Joy Sherlach. A copy of the fiduciary certificate is attached hereto as Plaintiffs’
Exhibit F. Mr. Sherlach also brings this action in his individual capacity for loss of consortium.

        21.    On December 9, 2014, Plaintiffs Neil Heslin and Scarlett Lewis were appointed Co-
Administrators of the Estate of Jesse McCord Lewis. A copy of the fiduciary certificate is attached
hereto as Plaintiffs’ Exhibit G.

        22.    On December 10, 2014, Plaintiff Leonard Pozner was appointed Administrator of
the Estate of Noah Samuel Pozner. A copy of the fiduciary certificate is attached hereto as
Plaintiffs’ Exhibit H.

        23.    On January 3, 2013, Plaintiff Gilles J. Rousseau was appointed Administrator of the
Estate of Lauren G. Rousseau. A copy of the fiduciary certificate is attached hereto as Plaintiffs’
Exhibit I.

         REMINGTON’S MARKETING AND PROMOTION OF ITS AR-15S VIOLATED
                THE CONNECTICUT UNFAIR TRADE PRACTICES ACT

       24.    Born out of the exigencies of modern combat, the AR-15 was designed for the
United States Military to be used in combat.

       25.     The AR-15 was designed with features that were chosen to maximize casualties and
engineered to deliver maximum carnage with extreme efficiency on the battlefield.

       26.     The AR-15’s combination of features resulted in a weapon so lethal that the United
States Military adopted the AR-15 as its standard-issue service rifle, renaming it the M16.

       27.     The AR-15 remains the United States Military’s weapon of choice today.

       28.     Remington is the largest purveyor of AR-15s to the civilian market.

       29.     Remington’s AR-15s, including the Bushmaster XM15-E2S, maintain the design,
functionality and appearance of its military counterpart, the M16.

       30.     AR-15s have become the weapon of choice for mass shooters.

        31.     Remington marketed its AR-15s, including the XM15-E2S, by promoting their
militaristic and assaultive uses.

      32.     Remington’s militaristic marketing promoted the image of its AR-15s as combat
weapons used for the purpose of waging war and killing human beings.


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      33.    Remington marketed its sporting and competition rifles with five- and ten-round
magazines while marketing its AR-15 rifles with thirty-round magazines.

       34.     Remington’s marketing glorified the lone gunman.

       35.     Remington’s marketing promoted lone gunman assaults.

        36.    Remington’s marketing glorified the military design, functionality and appearance
of its AR-15s.

       37.     Remington’s marketing promoted its AR-15s for mass casualty assaults.

       38.     Remington’s marketing promoted criminal use of its AR-15s by its target market.

       39.     Remington’s marketing targeted high-risk users.

       40.    Remington marketed its AR-15s knowing that they would be accessed by
unscreened consumers.

        41.    Remington continued to market AR-15s in the manner set forth in this complaint
despite evidence of their increasing use in mass shootings.

       42.     Remington marketed its AR-15s without regard for public safety.

       43.     Remington’s marketing was unethical.

       44.     Remington’s marketing was immoral.

       45.     Remington’s marketing was unscrupulous.

       46.     Remington’s marketing was oppressive.

       47.     Remington’s marketing was reckless.

       48.     Remington marketed in the above manner directly and through third parties.

     49.     Remington’s conduct, as set forth above, occurred prior to and continued through
December 14, 2012, and after.

       50.    Remington’s conduct as previously alleged, in whole or in part, constituted a
knowing violation of the Connecticut Unfair Trade Practices Act, Connecticut General Statutes
Section 42-110a et seq.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering and death of Victoria Soto.



                                                  4

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          52.   On December 14, 2012, Victoria Soto suffered the following injuries and losses:

                 a.    Terror;
                 b.    ante-mortem pain and suffering;
                 c.    destruction of the ability to enjoy life’s activities;
                 d.    destruction of earning capacity; and
                 e.    death.

       53.     As a result of the injuries and death of Victoria Soto, the Estate of Victoria Soto
incurred funeral expenses to its financial loss.

          COUNT TWO: § 52-555 Wrongful Death/Violation of Connecticut Unfair Trade
                                       Practices Act
                        (Estate of Dylan C. Hockley v. Remington)

       1.-50. Plaintiffs hereby incorporate and reallege as if fully set forth herein Paragraphs 1-
50 of Count One.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering and death of Dylan C. Hockley.

          52.   On December 14, 2012, Dylan C. Hockley suffered the following injuries and
losses:

                a.    Terror;
                b.    ante-mortem pain and suffering;
                c.    destruction of the ability to enjoy life’s activities;
                d.    destruction of earning capacity; and
                e.    death.

      53.     As a result of the injuries and death of Dylan C. Hockley, the Estate of Dylan C.
Hockley incurred funeral expenses to its financial loss.

     COUNT THREE: § 52-555 Wrongful Death/Violation of Connecticut Unfair Trade
                                  Practices Act
                   (Estate of Mary Joy Sherlach v. Remington)

       1.-50. Plaintiffs hereby incorporate and reallege as if fully set forth herein Paragraphs 1-
50 of Count One.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering and death of Mary Joy Sherlach.

          52.   On December 14, 2012, Mary Joy Sherlach suffered the following injuries and
losses:



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               a.   Terror;
               b.   ante-mortem pain and suffering;
               c.   destruction of the ability to enjoy life’s activities;
               d.   destruction of earning capacity; and
               e.   death.

       53.     As a result of the injuries and death of Mary Joy Sherlach, the Estate Mary Joy
Sherlach incurred funeral expenses to its financial loss.

                                COUNT FOUR: Loss of Consortium
                                (William D. Sherlach v. Remington)

       1.-50. Plaintiffs hereby incorporate and reallege as if fully set forth herein Paragraphs 1-
50 of Count One.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering, and death of Mary Joy Sherlach.

      52.    At all times mentioned herein, the plaintiff William D. Sherlach was the husband of
Mary Joy Sherlach.

       53.    As a result of the aforesaid occurrences to Mary Joy Sherlach, the plaintiff William
Sherlach has been deprived of the companionship and society of his wife, all to his damage.

       COUNT FIVE: § 52-555 Wrongful Death/Violation of Connecticut Unfair Trade
                                    Practices Act
                       (Estate of Noah S. Pozner v. Remington)

       1.-50. Plaintiffs hereby incorporate and reallege as if fully set forth herein Paragraphs 1-
50 of Count One.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering and death of Noah S. Pozner.

       52.     On December 14, 2012, Noah Pozner suffered the following injuries and losses:

               a.   Terror;
               b.   ante-mortem pain and suffering;
               c.   destruction of the ability to enjoy life’s activities;
               d.   destruction of earning capacity; and
               e.   death.

       53.     As a result of the injuries and death of Noah S. Pozner, the Estate of Noah S. Pozner
incurred funeral expenses to its financial loss.




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          COUNT SIX: § 52-555 Wrongful Death/Violation of Connecticut Unfair Trade
                                        Practices Act
                        (Estate of Lauren E. Rousseau v. Remington)

       1.-50. Plaintiffs hereby incorporate and reallege as if fully set forth herein Paragraphs 1-
50 of Count One.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering and death of Lauren E. Rousseau.

          52.   On December 14, 2012, Lauren E. Rousseau suffered the following injuries and
losses:

                a.   Terror;
                b.   ante-mortem pain and suffering;
                c.   destruction of the ability to enjoy life’s activities;
                d.   destruction of earning capacity; and
                e.   death.

      53.     As a result of the injuries and death of Lauren E. Rousseau, the Estate of Lauren E.
Rousseau incurred funeral expenses to its financial loss.

      COUNT SEVEN: § 52-555 Wrongful Death/Violation of Connecticut Unfair Trade
                                   Practices Act
                   (Estate of Benjamin A. Wheeler v. Remington)

       1.-50. Plaintiffs hereby incorporate and reallege as if fully set forth herein Paragraphs 1-
50 of Count One.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering and death of Benjamin A. Wheeler.

          52.   On December 14, 2012, Benjamin A. Wheeler suffered the following injuries and
losses:

                a.   Terror;
                b.   ante-mortem pain and suffering;
                c.   destruction of the ability to enjoy life’s activities;
                d.   destruction of earning capacity; and
                e.   death.

      53.     As a result of the injuries and death of Benjamin A. Wheeler, the Estate of Benjamin
A. Wheeler incurred funeral expenses to its financial loss.




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      COUNT EIGHT: § 52-555 Wrongful Death/Violation of Connecticut Unfair Trade
                                    Practices Act
                   (Estate of Jesse McCord Lewis v. Remington)

       1.-50. Plaintiffs hereby incorporate and reallege as if fully set forth herein Paragraphs 1-
50 of Count One.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering and death of Jesse McCord Lewis.

          52.   On December 14, 2012, Jesse McCord Lewis suffered the following injuries and
losses:

                a.   Terror;
                b.   ante-mortem pain and suffering;
                c.   destruction of the ability to enjoy life’s activities;
                d.   destruction of earning capacity; and
                e.   death.

     53.    As a result of the injuries and death of Jesse McCord Lewis, the Estate of Jesse
McCord Lewis incurred funeral expenses to its financial loss.

          COUNT NINE: § 52-555 Wrongful Death/Violation of Connecticut Unfair Trade
                                       Practices Act
                         (Estate of Daniel G. Barden v. Remington)

       1.-50. Plaintiffs hereby incorporate and reallege as if fully set forth herein Paragraphs 1-
50 of Count One.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering and death of Daniel G. Barden.

          52.   On December 14, 2012, Daniel G. Barden suffered the following injuries and losses:

                a.   Terror;
                b.   ante-mortem pain and suffering;
                c.   destruction of the ability to enjoy life’s activities;
                d.   destruction of earning capacity; and
                e.   death.

      53.     As a result of the injuries and death of Daniel G. Barden, the Estate of Daniel G.
Barden incurred funeral expenses to its financial loss.




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          COUNT TEN: § 52-555 Wrongful Death/Violation of Connecticut Unfair Trade
                                       Practices Act
                        (Estate of Rachel M. D’Avino v. Remington)

       1.-50. Plaintiffs hereby incorporate and reallege as if fully set forth herein Paragraphs 1-
50 of Count One.

        51.      Remington’s conduct as previously alleged was a substantial factor resulting in the
injuries, suffering and death of Rachel M. D’Avino.

          52.   On December 14, 2012, Rachel M. D’Avino suffered the following injuries and
losses:

                a.   Terror;
                b.   ante-mortem pain and suffering;
                c.   destruction of the ability to enjoy life’s activities;
                d.   destruction of earning capacity; and
                e.   death.

      53.    As a result of the injuries and death of Rachel M. D’Avino, the Estate of Rachel M.
D’Avino incurred funeral expenses to its financial loss.




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WHEREFORE, THE PLAINTIFFS CLAIM DAMAGES IN EXCESS OF FIFTEEN THOUSAND

DOLLARS AND THE FOLLOWING RELIEF AS FURTHER SET FORTH BELOW:

     Plaintiffs seek relief as follows:

             A.      Monetary damages;

             B.      Punitive damages;

             C.      Attorneys’ fees;

             D.      Costs.

     This matter is within the jurisdiction of this court.




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Dated at Bridgeport, Connecticut, this 19th day of May, 2020.



                                            THE PLAINTIFFS,


                                            By:        /s/ Joshua D. Koskoff
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                                                       jschutte@paulweiss.com

                                                       Their Attorneys




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                               CERTIFICATION OF SERVICE

       This is to certify that a copy of the foregoing has been emailed this day to all counsel of
record as follows:

COUNSEL FOR:

BUSHMASTER FIREARMS INTERNATIONAL LLC, A/K/A;
FREEDOM GROUP, INC., A/K/A;
BUSHMASTER FIREARMS, A/K/A;
BUSHMASTER FIREARMS, INC., A/K/A;
BUSHMASTER HOLDINGS, INC., A/K/A
REMINGTON ARMS COMPANY, LLC, A/K/A;
REMINGTON OUTDOOR COMPANY, INC., A/K/A


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                                              /s/ Joshua D. Koskoff
                                              Joshua D. Koskoff
                                              Alinor C. Sterling
                                              Jeffrey W. Wisner




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No. X06-UWY-CV15-6050025-S             :                SUPERIOR COURT
                                       :
DONNA L. SOTO, ADMINISTRATRIX OF       :                COMPLEX LITIGATION DOCKET
THE ESTATE OF VICTORIA L. SOTO, ET AL. :
                                       :                AT WATERBURY
V.                                     :
                                       :
BUSHMASTER FIREARMS                    :                JUNE 17, 2020
INTERNATIONAL, LLC, ET AL.             :

DEFENDANTS’ MOTION TO STRIKE REVISED SECOND AMENDED COMPLAINT

       Pursuant to Connecticut Practice Book § 10-39 (2020), Defendants Remington Arms

Company, LLC and Remington Outdoor Company, Inc. (collectively, “Remington”) hereby

move to strike the Revised Second Amended Complaint filed by Plaintiffs on May 19, 2020 (the

“Revised SAC”) (Entry No. 301.00).

       As set forth more fully in the accompanying Memorandum of Law in support of this

motion, the Revised SAC must be stricken because it violates the law of the case set forth in the

Connecticut Supreme Court’s decision in this action and fails to plead facts necessary to allege

an essential element of Plaintiffs’ claim—causation. Specifically, the Revised SAC fails to

allege any facts necessary to establish that Remington’s alleged conduct was both (1) the cause

in fact (or but for cause) and (2) the proximate cause of the harm suffered by Plaintiffs.

       WHEREFORE, the Court should grant Remington’s motion to strike the Revised SAC.




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                                       DEFENDANTS REMINGTON ARMS
                                       COMPANY LLC AND REMINGTON
                                       OUTDOOR COMPANY, INC.

                                       By: /s/ Jeffrey P. Mueller
                                       Jeffrey P. Mueller
                                       Paul D. Williams
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                                       Juris No. 14229

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                                       Their Attorneys




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                              CERTIFICATION OF SERVICE

       This is to certify that a copy of the foregoing has been emailed this day to all counsel of
record as follows:

Joshua D. Koskoff
Alinor C. Sterling
Jeffrey W. Wisner
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No. X06-UWY-CV15-6050025-S             :   SUPERIOR COURT
                                       :
DONNA L. SOTO, ADMINISTRATRIX OF       :   COMPLEX LITIGATION DOCKET
THE ESTATE OF VICTORIA L. SOTO, ET AL. :
                                       :   AT WATERBURY
V.                                     :
                                       :
BUSHMASTER FIREARMS                    :   JUNE 17, 2020
INTERNATIONAL, LLC, ET AL.             :



         DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
       MOTION TO STRIKE REVISED SECOND AMENDED COMPLAINT




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       Defendants Remington Arms Company, LLC and Remington Outdoor Company, Inc.

(collectively, “Remington”) respectfully submit this memorandum of law in support of their

motion to strike the Revised Second Amended Complaint filed by Plaintiffs on May 19, 2020

(the “Revised SAC”) (Entry No. 301.00).

                                PRELIMINARY STATEMENT

       The Revised SAC should be stricken because it fails to plead facts necessary to establish

an essential element of Plaintiffs’ CUTPA claim—a causal link between Remington’s alleged

conduct in advertising the rifle used in the shooting and Plaintiffs’ damages.

       The Connecticut Supreme Court allowed Plaintiffs to proceed with a CUTPA claim based

on the “narrow” and “limited” theory that Remington wrongfully marketed the rifle used in the

Sandy Hook Elementary School shooting by promoting its use by civilians for criminal purposes

(offensive, military style attack missions) and that such marketing motivated Adam Lanza to

commit his crimes. The Court affirmed dismissal of their claim that Remington violated CUTPA

by merely marketing and selling the rifle for civilian use. Soto v. Bushmaster Firearms Int'l,

LLC, 331 Conn. 53, 65-66, 69-70, 74-75, 87 (2019). Thus, Plaintiffs’ remaining claim is focused

narrowly on the specific content of any advertisement for the rifle that was seen by Lanza and

whether any such advertisement in fact caused him to commit his horrific criminal acts.

       In allowing the narrow CUTPA claim to proceed, the Court considered Plaintiffs’

allegations in the First Amended Complaint (“FAC”) that certain specifically described firearm

advertisement slogans and images inspired Lanza’s criminal acts. But the Revised SAC fails to

identify any advertisements at all and, importantly, fails to plead the essential factual allegations

that (1) Lanza saw an offending advertisement and (2) but for seeing the advertisement, he would

not have planned and carried out his crimes. Plaintiffs’ lone allegation touching on causation is a




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conclusory claim that Remington’s marketing conduct was a “substantial factor” in their

resulting injuries. But that allegation is plainly insufficient under the law of causation. To

adequately allege and prove causation under CUTPA and Connecticut law generally, Plaintiffs

must plead and prove facts to establish both “cause in fact” and “proximate cause.” Abrahams v.

Young & Rubicam, Inc., 240 Conn. 300, 306-309 (1997). The Revised SAC fails to plead facts

to support either causation element.

       First, Plaintiffs have not even attempted to allege in a conclusory way that Remington’s

conduct was the cause in fact (or but for cause) of their damages—much less plead facts to

support such an allegation. The Revised SAC does not allege that Plaintiffs’ decedents would

not been murdered by Lanza but for Remington’s publication of advertisements for the rifle. It

contains no factual allegations that Remington’s advertisements in fact motivated Lanza to

commit his crimes or that he even viewed Remington advertisements. Indeed, Lanza is not even

mentioned in the Revised SAC.

       Second, Plaintiffs have failed to plead any facts necessary to support a finding that

Remington’s conduct was the proximate cause of their damages. The Revised SAC merely

states the legal conclusion that Remington’s conduct was a “substantial factor” in their resulting

injuries. But mere legal conclusions are insufficient to satisfy Plaintiffs’ obligation to plead facts

to support proximate cause, and no such facts are included in the Revised SAC. 1

       Accordingly, the Court should grant Remington’s motion to strike the Revised SAC.



       1
        It is now clear that Plaintiffs lacked a good-faith factual basis to assert their claim that
Remington’s advertisements caused their losses. Plaintiffs have admitted in their responses to
Remington’s discovery requests that they do not have any evidence that Lanza even saw
Remington’s advertisements or marketing materials—much less was inspired by them to commit
murder. (See Ex. A.)




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                                   STATEMENT OF FACTS

I.       The Connecticut Supreme Court’s Decision

         On March 19, 2019, the Connecticut Supreme Court issued its decision in this case

affirming in part and reversing in part this Court’s decision striking Plaintiffs’ FAC. The

Connecticut Supreme Court recognized that “[t]here is no doubt that Lanza was directly and

primarily responsible for this appalling series of crimes.” Soto, 331 Conn. at 65. The Court

nevertheless permitted Plaintiffs to proceed with a CUTPA claim based solely on the single

“narrow” and “limited” theory that Remington wrongfully advertised the rifle used in the

shooting by promoting its criminal use by civilians to commit assaults and that such advertising

was the cause of the shooting. Id. at 65-66, 69-70, 74-75, 87. The Court repeatedly emphasized

that its decision to allow Plaintiffs to proceed with this theory was expressly based on Plaintiffs’

allegations in the FAC that Remington’s marketing of the rifle used in the shooting caused or

motivated Lanza to commit his crimes. Id. at 74-75, 98-100.

         After reviewing Plaintiffs’ allegations in the FAC of Remington’s alleged “unethical”

promotion of the rifle with certain slogans and images, the Court observed that Plaintiffs had

alleged that Remington’s “wrongful marketing” of the rifle promoted the rifle’s use by civilians

“for offensive assault missions” and that the marketing of the rifle “was a substantial factor in

causing plaintiffs’ injuries.” Id. at 74. The Court made clear that the FAC’s allegations

concerning the effect of Remington’s advertisements on Lanza were necessary to plead causation

on this theory and to assert a viable wrongful marketing claim:

        The Court emphasized that Plaintiffs could only establish a causal link between
         Remington’s conduct and the alleged harm “[i]f defendants’ marketing materials did in
         fact inspire or intensify the massacre” or if the “individuals who engage in inappropriate
         conduct [were] inspired by the advertisements.” Id. at 99-100.




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         The Court distinguished one of its own cases that held that the causal link between the
          allegedly wrongful conduct by the defendant and the injuries suffered by the plaintiffs
          was too attenuated by concluding that “[i]n the present case, by contrast,” Plaintiffs had
          alleged that Remington’s advertising “inspir[ed] Lanza” to commit his crimes. Id. at 98
          (distinguishing Ganim v. Smith & Wesson Corp, 258 Conn. 313 (2001)).

         The Court also distinguished a California Supreme Court decision dismissing a case by
          noting that the plaintiffs there “expressly disavowed any claims based on the specific
          content of [the defendant’s] advertising” and that “there was no evidence that the shooter
          in that case ever had seen, let alone had been inspired by, any of [the defendant’s]
          allegedly inappropriate promotional materials.” Id. at 108-109 (distinguishing Merrill v.
          Navegar, Inc., 26 Cal. 4th 465 (2001)).

         The Court also cited a federal court decision holding that “a party’s reliance on or
          inducement by the allegedly negligent marketing techniques is the only rational means on
          establishing a causal connection” for a wrongful marketing claim. Bubalo v. Navegar,
          Inc., No. 96C3664, 1997 WL 337218, at *9 (N.D. Ill. June 13, 1997) (cited by Soto, 331
          Conn. at 98 n.29).

          Thus, the Connecticut Supreme Court allowed Plaintiffs’ narrow “wrongful marketing”

claim to proceed as alleged in the FAC and clearly recognized that Plaintiffs would be required

to allege and prove that Lanza was exposed to a Remington advertisement for the rifle, the

advertisement seen by Lanza promoted criminal use of the rifle, and the advertisement Lanza

saw motivated him to carry out an offensive assault at Sandy Hook Elementary School.

II.       Plaintiffs’ Revised Second Amended Complaint

          On May 19, 2020, Plaintiffs filed the Revised SAC, deleting essential factual allegations

that were necessary to plead causation under the Connecticut Supreme Court’s decision. (Entry

No. 301.00.)      The Revised SAC merely alleges in conclusory fashion that Remington’s

advertisements of the Bushmaster XM15-E2S rifle that was used in the shooting violated

CUTPA and that “Remington’s conduct as previously alleged was a substantial factor resulting

in the injuries, suffering, and death of [decedents].” (Id. ¶¶ 14, 31-51) The Revised SAC does

not identify any such advertisements, does not allege that Lanza saw a Remington advertisement,




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and does not allege that any Remington’s advertisement in fact caused or motivated Lanza to

commit his crimes. Indeed, Lanza is not even mentioned in the Revised SAC.2

                                      LEGAL STANDARD

       A motion to strike tests the legal sufficiency of a pleading “to state a claim upon which

relief can be granted.” Practice Book § 10-39(a). To survive a motion to strike, a pleading must

set forth a “plain and concise statement of the material facts” to support the elements of the

claims asserted. Id. § 10-1. “A motion to strike admits all facts well pleaded; it does not admit

legal conclusions or the truth or accuracy of opinions stated in the pleadings.” Faulkner v.

United Techs. Corp., 240 Conn. 576, 588 (1997) (internal quotation marks omitted). “A motion

to strike is properly granted if the complaint alleges mere conclusions of law that are

unsupported by the facts alleged.” Fort Trumbull Conservancy, LLC v. Alves, 262 Conn. 480

(2003) (internal quotation marks omitted).

                                          ARGUMENT

I.     The Revised SAC Must Be Stricken Because It Violates the Law of the Case

       As an initial matter, the Revised SAC must be stricken because it violates the law of the

case set forth in the Connecticut Supreme Court decision. The Connecticut Supreme Court’s

decision allowing Plaintiffs’ CUTPA claim to survive was premised on the existence of factual

allegations necessary to establish causation, and those essential allegations are entirely missing

from the Revised SAC.



       2
         Plaintiffs’ failure to plead factual allegations necessary to causation in the Revised SAC
is no coincidence. After this Court overruled their objections and Plaintiffs were compelled to
respond to Remington’s interrogatories and requests for production, Plaintiffs acknowledged that
they had no factual basis to allege that Lanza viewed any Remington advertisements in the first
place. (Ex. A.) As a logical corollary, Plaintiff had no factual basis to allege that but for Lanza’s
exposure to Remington’s advertisements, he would not have committed his crimes.




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       The Connecticut Supreme Court’s decision constitutes the law of the case and binds both

the parties and the trial court on remand. See Detar v. Coast Venture XXVX, Inc., 91 Conn. App.

263, 267 (2005) (holding that “the court, on remand, was bound by the law of the case doctrine”

and that “the opinion of an appellate court, so far as it is applicable, establishes the law of the

case upon a retrial, and is equally obligatory upon the parties to the action and upon the trial

court”) (internal quotations marks omitted).

       The Connecticut Supreme Court allowed Plaintiffs to proceed with their CUTPA claim

based on the factual allegations in the FAC that Remington’s advertisements were causally

related to the shooting because their content motivated or inspired Lanza to commit his crimes.

The Connecticut Supreme Court expressly relied on the FAC’s allegations concerning the effect

of Remington’s advertisements on Lanza in finding that Plaintiffs had alleged a viable CUTPA

claim. See Soto, 331 Conn. at 74-75, 98-100. Yet Plaintiffs have stripped the Revised SAC of

the essential factual allegations on which the Court relied in allowing that narrow remaining

claim to survive. (See Entry No. 276, Redlined FAC ¶¶ 184-91.)

       In contrast to the FAC, the Revised SAC is entirely devoid of any allegations that Lanza

even saw Remington’s advertisements—much less was inspired by them to commit murder.

Because Plaintiffs have replaced the FAC with an improper Revised SAC that omits the factual

allegations necessary to state a viable CUTPA claim under the Connecticut Supreme Court’s

decision, it violates the law of the case and must be stricken. See Perugini v. Giuliano, 148

Conn. App. 861, 877 n.10 (2014) (“Our Supreme Court has found it appropriate for a defendant

to file either a motion to strike or a request to revise when an allegedly improper revised

complaint replaces a stricken complaint.”).


Accordingly, Plaintiffs never had a good faith basis to plead the very allegations that persuaded




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II.    The Revised SAC Must Be Stricken Because It Fails to State a Claim

       Even apart from the law of the case doctrine, the Revised SAC fails to state a viable

cause of action because it does not plead any facts necessary to establish causation—an essential

element of Plaintiffs’ CUTPA claim.

       A.      Connecticut Is a Fact Pleading State

       “Connecticut is a fact pleading state.” Bridgeport Harbour Place I, LLC v. Ganim, 303

Conn. 205, 213 n.7 (2011); accord Pike v. Bugbee, 115 Conn. App. 820, 828 n.5 (2009) (“It is a

well established principle that Connecticut is a fact pleading jurisdiction.”). “Each pleading shall

contain a plain and concise statement of the material facts on which the pleader relies.” Practice

Book § 10-1.

       Because Connecticut is a fact pleading state, Connecticut courts have relied upon federal

standards requiring plaintiffs to plead sufficient facts to state a plausible claim for relief.    See

Bridgeport Harbour Place I, LLC, 303 Conn. at 213 & n.7 (reciting federal standards that “a

formulaic recitation of the elements of a cause of action will not do” and “[f]actual allegations

must be enough to raise a right to relief above the speculative level” and recognizing their

pertinence to a motion to strike “because Connecticut is a fact pleading state”) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)); Coleman v. Comm’r of Corr., 137 Conn. App. 51,

57 & n.2 (2012) (stating that “[e]ven under our permissive reading of the petition, we cannot

conclude, absent speculation, that the petitioner has plausibly alleged” an entitlement to relief)

(citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)); Edelman v. Laux, No. CV115005710, 2013

WL 4504793, at *20 (Conn. Super. Ct. July 26, 2013) (applying federal plausibility standard to

motion to strike because “[o]ur Supreme Court has recognized that a motion to strike is similar in


the Connecticut Supreme Court to allow their sole remaining claim to survive.




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purpose and in practice to the federal dismissal rule” and “the motion therefore benefits from

being considered according to the same standards”); Bonner v. City of New Haven, No.

CV156058987S, 2017 WL 6030702, at *4 n.3 (Conn. Super. Ct. Nov. 16, 2017) (striking

complaint because the plaintiff’s allegations, “as stated in Iqbal, are no ‘more than an unadorned,

the-defendant-unlawfully-harmed-me accusation’” and “‘naked assertion[s]’ devoid of ‘further

factual enhancement’”) (quoting Iqbal, 556 U.S. at 678) (alteration in original).

       In considering a motion to strike a complaint, the Court “cannot read additional

allegations into the pleading.”      Pike, 115 Conn. App. at 828 n.5.           Moreover, “essential

allegations may not be supplied by conjecture or remote implication.” Cahill v. Bd. of Educ. of

City of Stamford, 198 Conn. 229, 236 (1985) (internal quotation marks omitted).

       B.      Plaintiffs Must Plead Facts to Support Causation

       Causation is a necessary element of Plaintiffs’ claims under CUTPA. See Ward v.

Greene, 267 Conn. 539, 546–47 (2004) (“A causal relation between the defendant’s wrongful

conduct and the plaintiff's injuries is a fundamental element without which a plaintiff has no

case.”) (internal quotation marks omitted); Abrahams, 240 Conn. at 306 (“[I]n order to prevail in

a CUTPA action, a plaintiff must establish both that the defendant has engaged in a prohibited

act and that, ‘as a result of’ this act, the plaintiff suffered an injury. The language ‘as a result of’

requires a showing that the prohibited act was the proximate cause of a harm to the plaintiff.”);

Haesche v. Kissner, 229 Conn. 213, 223-24 (1994) (stating that CUTPA requires that “the

plaintiff suffer an ascertainable loss that was caused by the alleged unfair trade practice”).

       To plead causation, Plaintiffs must allege facts to establish that Remington’s alleged

conduct was both (1) the cause in fact (or but for cause) and (2) the proximate cause of the harm

suffered by Plaintiffs. See Abrahams, 240 Conn. at 306–09 (holding that plaintiffs must allege




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both “but for causation” and proximate causation in order to state a CUTPA claim); Coste v.

Riverside Motors, Inc., 24 Conn. App. 109, 113 (1991) (“In order for legal causation to exist,

actual cause or cause in fact, as well as proximate cause, must be present.”); Boehm v. Kish, 201

Conn. 385, 390 (1986) (“A prerequisite to a determination of proximate causation is a finding of

causation in fact.”); Builes v. Kashinevsky, No. CV095022520S, 2009 WL 3366265, at *4 (Conn.

Super. Ct. Sept. 15, 2009) (recognizing the requirement of pleading facts to establish proximate

causation when asserting a CUTPA claim) (Bellis, J.).

       C.      Plaintiffs Fail to Allege Causation-In-Fact

       “The first component of legal cause is causation in fact. Causation in fact is the purest

legal application of legal cause.” See Paige v. Saint Andrew’s Roman Catholic Church Corp.,

250 Conn. 14, 24-25 (1999) (internal quotation marks and alteration omitted). “Cause in fact,

occasionally referred to as actual cause, asks whether the defendant's conduct ‘caused’ the

plaintiff's injury.” Stewart v. Federated Dep’t Stores, Inc., 234 Conn. 597, 605 (1995).

        Causation in fact, “or ‘but for’ causation, explores whether the injury would have

occurred in the absence of the defendants’ negligent act or omission.” Alexander v. Town of

Vernon, 101 Conn. App. 477, 488 (2007). “The test for cause in fact is, simply, would the injury

have occurred were it not for the actor’s conduct.” Paige, 250 Conn. at 25. “[I]f the plaintiff’s

injury would not have occurred ‘but for’ the defendant's conduct, then the defendant’s conduct is

a cause in fact of the plaintiff's injury. Conversely, if the plaintiff’s injury would have occurred

regardless of the defendant’s conduct, then the defendant’s conduct was not a cause in fact of the

plaintiff’s injury.” Stewart, 234 Conn. at 605; accord Comcast Corp. v. Nat'l Ass'n of African

Am.-Owned Media, 140 S. Ct. 1009, 1014 (2020) (“It is ‘textbook tort law’ that a plaintiff

seeking redress for a defendant’s legal wrong typically must prove but-for causation. Under this




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standard, a plaintiff must demonstrate that, but for the defendant’s unlawful conduct, its alleged

injury would not have occurred.”) (internal citation omitted).3

       A plaintiff’s failure to plead and establish that it would not have suffered the alleged

injury but for the defendant’s conduct is therefore fatal to a CUTPA claim. See Haesche, 229

Conn. at 222, 224 (holding that defendant gun manufacturer was entitled to judgment as a matter

of law on CUTPA claim because “the alleged failure to warn that the plaintiff claims is an unfair

trade practice was not the cause of his injuries” and “a fair and reasonable person could not

conclude that a warning would have altered [his] behavior”); Stevenson Lumber Co.-Suffield,

Inc. v. Chase Assocs., Inc., 284 Conn. 205, 214–15 (2007) (holding that trial court improperly

found that defendant violated CUTPA because plaintiff failed to present any evidence its loss

would not have occurred “but for” defendant’s conduct); Calandro v. Allstate Ins. Co., 63 Conn.

App. 602, 612 (2001) (finding that alleged unfair trade practice did not cause any injury because

plaintiffs failed to prove that its losses would not have occurred “but for” defendant’s conduct).4



       3
          Pleading and proving cause in fact in most personal injury cases is not typically difficult
because in most cases a defendant’s alleged tortious conduct—such as improperly maintaining
premises, providing negligent medical care, or driving a car dangerously—is obviously linked to
a plaintiff’s injury. But in other cases, where alleged causal connections are attenuated, as is the
alleged connection between an advertisement and Lanza’s decision to kill and injure innocent
persons, Plaintiffs must be held to their burden of pleading facts demonstrating that their injuries
would not have occurred “but for” a Remington advertisement. See Stewart, 234 Conn. at 605.
Pleading and establishing cause-in-fact is not merely a hyper-technical requirement. Indeed, a
trial court must inform “the jury of its duty to find that the defendant's actions were a ‘cause in
fact’ of the plaintiff's injury” in order to impose liability and instruct the jury that “it could not
find that the defendant's actions were a cause in fact of the plaintiff's injury, unless it found that,
in the absence of the defendant's conduct, the injury would not have occurred.” Id. at 607.
       4
         Any suggestion that the Connecticut Supreme Court in Soto determined that Plaintiffs
need not plead cause in fact in this case based on its observation that Plaintiffs had alleged that
Remington’s wrongful marketing was a substantial factor in their injuries would be misplaced.
The Court in Soto did not fundamentally change the law of causation and eliminate the burden to
plead and prove cause in fact. Indeed, the Court has continued to recognize cause in fact as an




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       Here, Plaintiffs do not even attempt to plead cause in fact in the Revised SAC. Nowhere

do Plaintiffs allege that their injuries would not have occurred but for a Remington

advertisement. They do not even allege that Lanza saw a Remington advertisement, and thus

they cannot allege that his exposure to advertisements inspired him to commit his crimes.

Indeed, Plaintiffs have acknowledged they lack a good-faith factual basis to make such

allegations. And Plaintiffs cannot meet their burden of pleading causation in fact based solely on

speculation or conjecture.    See Alexander, 101 Conn. App. at 490-91 (affirming entry of

judgment in favor of defendant for failure to establish causation because “there are too many

variables involved to state with any degree of certainty that the victim’s murder would not have

occurred in the absence of the officers’ alleged negligence or recklessness” and “a determination

of causation on the basis of conjecture or speculation is precisely what we cannot permit”).5

       Indeed, this Court in Carter v. Edge Fitness Gym, No. CV165031410S, 2017 WL 951676

(Conn. Super. Ct. Feb. 16, 2017) granted a motion to strike for precisely the same reason—the

failure of the plaintiff to plead facts to support but for causation. This Court held that the

plaintiff’s conclusory allegation that it suffered harm “as a direct result” of the defendant’s

conduct was insufficient to allege causation in fact:

       Notwithstanding the plaintiff’s conclusory allegations that the police officer
       violated his rights by unlawfully entering his residence without a warrant ‘as a

essential element of causation. See Snell v. Norwalk Yellow Cab, Inc. 332 Conn. 720, 743 (Aug.
13, 2019); see also Barnes v. Conn. Podiatry Grp., P.C., 195 Conn. App. 212, 241 (2020).
       5
         Even if Plaintiffs had made factual allegations demonstrating cause in fact, their
problem proving causation would remain, and it cannot be solved with expert opinion testimony
unsupported by factual evidence that Lanza saw an offending advertisement and that but for the
advertisement, Lanza would not have acted criminally. See Aspiazu v. Orgera, 205 Conn. 623,
632 (1987) (stating that an expert opinion cannot be based on conjecture or surmise); Klein v.
Norwalk Hosp., 299 Conn. 241, 262-63 (2010) (rejecting expert witness testimony as nothing
more than his own ipse dixit—an assertion made but not proven).




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       direct result’ of the personal information obtained from the defendant, the plaintiff
       has not alleged any facts in support of this allegation. The facts alleged do not
       support an inference that, but for the defendant’s employee’s disclosure of the
       plaintiff's personal information, the plaintiff would not have been arrested and
       subsequently incarcerated for his conduct. No facts are alleged to demonstrate
       either but-for causation or proximate causation between the defendant's alleged
       disclosure and the alleged harm suffered.

Id. at *6. (emphasis added) (Bellis, J.).      Here, Plaintiffs have not even made conclusory

allegations of but for causation—much less allege facts in support of that required element of

their claim. Indeed, not only have Plaintiffs failed to allege facts to support causation-in-fact,

they have expressly disavowed any obligation to plead them. (See Entry No. 292.00, Objections

to Request to Revise at 24 n.8 (admitting that such allegations are not in the complaint and

claiming that “there is no requirement to allege them”)).6




       6
          Although this Court previously denied Remington’s request to revise Plaintiffs’ SAC
based on Plaintiffs’ failure to plead causation, the denial of a request to revise has no bearing on
a court’s consideration of a motion to strike attacking the legal sufficiency of allegations in a
complaint. See Melfi v. City of Danbury, 70 Conn. App. 679, 684 (2002) (“Although the request
to revise may not ordinarily be used to substantively challenge a pleading, it may be used to
delete otherwise improper allegations from a complaint. The motion to strike, on the other hand,
challenges the legal sufficiency of the pleading by testing whether the complaint states a cause of
action on which relief can be granted.”) (internal quotation marks and ellipses omitted); Martinez
v. Oliphant-Hines, No. CV166009002S, 2018 WL 1474960, at *1 n.1 (Conn. Super. Ct. Feb. 26,
2018) (noting “[t]he disposition of the request to revise has no bearing on the present motion to
strike attacking the legal sufficiency of the allegations the plaintiff was not required to remove”);
Rosenlicht v. Bradley, No. HHBCV054003001S, 2006 WL 1461096, at *4 (Conn. Super. Ct.
May 8, 2006) (holding that ruling on request to revise was not the law of the case and proceeding
to address the merits of a motion to strike because a “motion to strike is the proper method to
challenge the legal sufficiency of a complaint” and a “request to revise is not the procedural
vehicle by which to mount such a challenge”); Ruther v. Cont'l Ins. Co., No. CV 960155186,
1998 WL 211953, at *1 (Conn. Super. Ct. Apr. 23, 1998) (“The court’s decision regarding the
request to revise the amended complaint did not address the legal sufficiency of the complaint.
This court is now faced with a motion to strike which does contest the legal sufficiency of the
complaint. The decision on the request to revise, therefore, has no bearing on this court.”)
(internal citations omitted)).




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       D.      Plaintiffs Fail to Allege Facts In Support of Proximate Causation

       “The second component of legal cause is proximate cause.” Paige, 250 Conn. at 25

(1999) (internal quotation marks omitted). “[T]he legal construct of proximate cause serves to

establish how far down the causal continuum tortfeasors will be held liable for the consequences

of their actions.” Snell v. Norwalk Yellow Cab, Inc., 332 Conn. 720, 744 (2019) (internal

quotation marks omitted). “Proximate cause establishes a reasonable connection between an act

or omission of a defendant and the harm suffered by a plaintiff.” Stewart, 234 Conn. at 606.

“[P]roximate cause results from a sequence of events unbroken by a superseding cause, so that

its causal viability continued until the moment of injury or at least until the advent of the

immediate injurious force.” Snell, 332 Conn. at 744–45 (internal quotation marks omitted).

       “[P]roximate cause is an actual cause that is a substantial factor in the resulting harm.”

Abrahams, 240 Conn. at 306 (internal quotation marks omitted). “The question to be asked in

ascertaining whether proximate cause exists is whether the harm which occurred was of the same

general nature as the foreseeable risk created by the defendant’s act.” Id. (internal quotation

marks omitted). “Yet, more than abstract foresee-ability is necessary to justify imposing liability

on the defendants for their acts and omissions. Satisfaction of the proximate cause element

requires proof that the harm which occurred was of the same general nature as the foreseeable

risk created by the defendant’s negligence.”       Alexander, 101 Conn. App. at 486 (internal

quotation marks omitted). “As a general rule, the act of a third person in committing an

intentional act or crime is a superseding cause of harm to another resulting therefrom. In such a

case, the third person has deliberately assumed control of the situation, and all responsibility for

the consequences of his act is shifted to him.” Suarez v. Sordo, 43 Conn. App. 756, 762–63

(1996) (internal quotation marks and citations omitted). “[A] finding that conduct constitutes a




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superseding cause renders the original negligence so insignificant in relation to that superseding

cause that the original negligence cannot be deemed to be a proximate cause of the injuries.”

Snell, 332 Conn. at 754 n.11.

       Allegations of proximate cause “must be based upon more than conjecture and surmise.”

Paige, 250 Conn. at 26 (1999) (internal quotation marks omitted); accord Kumah v. Brown, 130

Conn. App. 343, 351–53 (2011) (holding that plaintiff could not establish proximate cause

because “connecting [defendant’s] alleged negligent acts to the harm suffered by the plaintiffs

would require similar conjecture”); D'Angelo Dev. & Constr. Corp. v. Cordovano, 121 Conn.

App. 165, 181–84 (2010) (finding that “CUTPA violation was not the proximate cause of any

ascertainable loss to the [plaintiffs]” because that determination “would require speculation”);

Coste., 24 Conn. App. at 114–15 (“The allegations of the complaint must equate to a damage to

the plaintiff that is not overly remote to the conduct of the defendant and establishes a causal

relationship between the harm and the conduct that is not conjectural.”).

       Even assuming that Plaintiffs have alleged causation in fact in the Revised SAC (they do

not), their conclusory allegation that Remington’s conduct was a “substantial factor” in the

resulting harm to Plaintiffs is plainly insufficient to plead proximate cause. (See Entry No.

301.00, Revised SAC ¶ 51.) Pleading that Remington’s conduct was a substantial factor in the

harm suffered by Plaintiffs harm is a legal conclusion that is unsupported by facts or an

explanation of how Remington’s conducted contributed to Plaintiffs’ harm. Without pleading

such facts, Plaintiffs cannot establish the necessary causal connection between Remington’s

alleged conduct and Plaintiffs’ injuries. Indeed, there can be no plausible causal connection

between the publication of an advertisement and the deaths of Plaintiffs’ decedents in the

absence of such factual allegations.




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       The Connecticut Supreme Court has held that conclusory allegations similar to those

found in the Revised SAC are insufficient to survive a motion to strike a CUTPA claim. In

Abrahams, the Connecticut Supreme Court concluded that the plaintiff could not state a cause of

action under CUTPA because it failed to allege facts to support proximate causation:

       The plaintiff has not alleged, nor can it be reasonably inferred from the plaintiff's
       allegations, that [the defendant] either intended or could have foreseen that, as a
       result of its attempt to bribe the plaintiff, he would be injured by an erroneous
       indictment for bribery or by publication of the incorrect accusations therein. In
       other words, [the defendant’s] conduct in attempting to bribe the plaintiff was not
       a substantial factor reasonably foreseeable as likely to bring about the plaintiff's
       indictment on false charges and his resulting damages. The plaintiff was neither
       the intended target nor victim of [defendant’s] illegal activities.

240 Conn. at 307 (emphasis added) (internal quotation marks omitted).                Similarly, the

Connecticut Appellate Court has concluded that a complaint should be stricken where “[t]he

plaintiff’s complaint is riddled with proximate cause gaps because the allegations of the

complaint leave breaks in the chain of causation” and “[t]he defendant’s conduct is too

inconsequential to the ultimate harm to the plaintiff, considering the many other variables, to rise

to the level of proximate cause.” Coste, 24 Conn. App. at 115.

       Many courts have similarly held that the bare legal conclusions of the Revised SAC are

insufficient to allege the causation element of a CUTPA claim. See Travelers Indem. Co. v.

Cephalon, Inc., 620 F. App’x 82, 87 (3d Cir. 2015) (“Here, the allegations in the Amended

Complaint fail to establish proximate cause. Indeed, Plaintiffs did not allege that any doctor

relied on Defendants’ alleged misrepresentations in prescribing [medications], or that these

prescriptions would not have been written if these physicians had not received the allegedly

fraudulent information from [defendant].        Thus, Plaintiffs have not sufficiently pleaded

causation, as required by CUTPA, and we will affirm the District Court’s dismissal of the

CUTPA claims.”); Nwachukwu v. Liberty Bank, 257 F. Supp. 3d 280, 303 (D. Conn. 2017)




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(holding that an allegation that plaintiff suffered economic loss “as a result” of the bank

account’s closing was insufficient to state a CUTPA claim because “[t]he proposed pleading

contains no allegations describing how the bank’s conduct caused Plaintiff an economic loss”)

(internal quotation marks omitted)); Von Pein v. Magic Bristles, LLC, No. CV126008266S, 2013

WL 453048, at *7 (Conn. Super. Ct. Jan. 8. 2013) (holding that plaintiffs “merely state the legal

conclusion that this violation caused their injury” and failed to “allege facts demonstrating any

type of causal relationship between this violation of the Home Improvement Act” and their

alleged injury); Patterson v. Sullo, No. CV116008633S, 2012 WL 4040259, at *6 (Conn. Super.

Ct. Aug. 20, 2012) (holding that “[t]he allegation that the plaintiffs suffered monetary losses and

damages ‘as a direct and proximate result of the defendant’s acts’ is a legal conclusion that lacks

the factual support to establish an ascertainable loss by or as a result of the alleged

misrepresentation itself”); Buchanan v. Greenwich Hosp., No. X06CV106007415S, 2011 WL

7064250, at *3 (Conn. Super. Ct. Dec. 28, 2011) (granting motion to strike CUTPA claim

because the acts “alleged in the complaint lack any causal connection between the hospital’s

alleged wrongdoing and any resulting harm, beyond pure speculation”); Podesser v. Lambert &

Barr, LLC, No. CV065000689S, 2007 WL 2363310, at *1–2 (Conn. Super. Ct. July 25, 2007)

(concluding that “the plaintiff has failed to plead sufficient facts to support the causation element

of her claims that the defendants violated CUTPA”); Hull v. Nicholas, No. FSTCV030194538,

2005 WL 2741845, at *2 (Conn. Super. Ct. Oct. 7, 2005) (striking CUTPA claim because

plaintiffs “have not alleged facts to establish a causal link between Coldwell Banker’s action or

inaction and the plaintiff's failure to be compensated”); Heath v. Micropatent, No. CV 97401481,

1999 WL 1328140, at *3 (Conn. Super. Ct. Dec.30, 1999) (holding that plaintiffs failed to allege

specific facts showing a causal nexus between defendant’s conduct and their alleged economic




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injuries); Kent v. Sartiano, No. 386702, 1998 WL 661520, at *6 (Conn. Super. Ct. Sept. 11,

1998) (granting motion to strike CUTPA claim because “the proximate cause of the plaintiff's

losses was not [defendant’s] fraud and illegal insurance practices”).

       Plaintiffs’ conclusory “substantial factor” allegation therefore is not a sufficient substitute

for factual allegations and subsequent proof that a Remington advertisement was the proximate

cause of their damages. This Court, however, need not even consider the adequacy of Plaintiffs’

proximate cause allegation because Plaintiffs have completely failed to make any allegation—

conclusory or factual—supporting their initial burden of pleading that but for a Remington

advertisement that was seen by Lanza, the shooting would not have occurred.

                                         CONCLUSION

       For the reasons set forth above, the Court should grant Remington’s motion to strike the

Revised SAC in its entirety.




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                              CERTIFICATION OF SERVICE

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                           EXHIBIT A




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 NO. UWY-CV15 6050025 S                              :       SUPERIOR COURT
                                                     :
 DONNA L. SOTO, ADMINISTRATRIX                       :
 OF THE ESTATE OF                                    :       COMPLEX LITIGATION
 VICTORIA L. SOTO, ET AL                             :       DOCKET
                                                     :
 V.                                                  :       AT WATERBURY
                                                     :
 BUSHMASTER FIREARMS                                 :       MAY 26, 2020
 INTERNATIONAL, LLC, ET AL                           :

                PLAINTIFFS’ RESPONSES TO DEFENDANTS’
        INTERROGATORIES AND SECOND REQUESTS FOR PRODUCTION

       Pursuant to Practice Book §§ 13-7 and 13-10, plaintiffs hereby respond to defendants’

Interrogatories and Second Requests for Production of Documents dated December 11, 2019.

                                    INTERROGATORIES

3.     Identify each Bushmaster advertisement, marketing activity and promotional activity that
       was seen by Adam Lanza. With respect to each such advertisement, marketing activity
       and promotional activity, identify the following:

       (a)    When did Adam Lanza see the advertisement, marketing activity and
              promotional activity; and
       (b)    Where, how or in what medium did Adam Lanza see the advertisement,
              marketing activity and promotional activity.

COURT’S RULING:              “[Plaintiffs’ Objections to] #3 and 7 overruled in part; they
                             must be responded to for those documents that are not part of
                             the shared, governmental agency documents.”

ANSWER:       Interrogatory #3 asks plaintiffs to identify when and how the shooter saw the
              Remington defendants’ “advertisement[s], marketing activity and
              promotional activity.” The Court’s order limits this Interrogatory to
              documents that are “not part of the shared, governmental agency
              documents.” Plaintiffs are unable to identify any such documents at this
              time.

7.     Identify each document demonstrating that Adam Lanza saw a Bushmaster advertisement,
       marketing activity and promotional activity.

COURT’S RULING:              “[Plaintiffs’ Objections to] #3 and 7 overruled in part; they
                             must be responded to for those documents that are not part of
                             the shared, governmental agency documents.”


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ANSWER:      Interrogatory #7 asks plaintiffs to identify documents demonstrating the
             shooter “saw a Bushmaster advertisement, marketing activity and
             promotional activity.” The Court’s order limits this Interrogatory to
             documents that are “not part of the shared, governmental agency
             documents.” Plaintiffs are unable to identify any such documents at this
             time.

                             REQUESTS FOR PRODUCTION

3.    Each Bushmaster advertisement, marketing activity and promotional activity that was
      seen by Adam Lanza.

COURT’S RULING: “See rulings above.”

ANSWER: Not applicable.


                                          THE PLAINTIFFS,


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                                CERTIFICATION OF SERVICE

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